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                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY



 CIGNA CORPORATION
                        Plaintiff,     Case No. 2:21-cv-11686


        v.
                                       AMENDED COMPLAINT

 CELGENE CORPORATION AND               JURY TRIAL DEMANDED
 BRISTOL-MYERS SQUIBB COMPANY



                        Defendants.
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       Plaintiff Cigna Corporation (“Cigna”) hereby sues Defendant Celgene Corporation

(“Celgene”) and Defendant Bristol-Myers Squibb Company (“Bristol-Myers Squibb”). Based on

personal knowledge as to facts pertaining to it, and upon information and belief as to all other

matters, Cigna alleges as follows:

                              I.      NATURE OF THE CASE

       1.      This case arises from Defendants’ anticompetitive scheme to monopolize the

markets for Thalomid and Revlimid by successfully interfering with competitors’ efforts to

develop and/or obtain U.S. Food and Drug Administration (“FDA”) approval for generic

versions of Revlimid and/or Thalomid at each progressive step of development, before paying

rivals to delay market entry and allocate markets. As part of this anticompetitive scheme, Cigna

alleges that Celgene:

       (1) manipulated the safety program designed to protect patients from thalidomide’s and

lenalidomide’s teratogenic properties to refuse samples to would-be generic competitors;

       (2) prevented ingredient suppliers from supplying active pharmaceutical ingredient

(“API”) to would-be generic competitors;

       (3) fraudulently obtained various patents from the U.S. Patent and Trademark Office

(“USPTO”) for Revlimid and Thalomid and their associated safety distribution protocols;

       (4) filed baseless citizen petitions with FDA to stymie generic approvals;

       (5) serially commenced “sham” patent infringement lawsuits; and

       (6) resolved those lawsuits by entering into anticompetitive reverse payment agreements

that delayed the entry of lenalidomide, allocated the lenalidomide market among itself and its




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generic competitors, and delayed robust generic competition for at least four-and-a-half years,

until January 21, 2026.1

          2.        When Celgene’s efforts failed to prevent (but which still substantially delayed) a

would-be competitor from prosecuting an Abbreviated New Drug Application (“ANDA”), and

FDA approval of an ANDA for a generic version of Revlimid or Thalomid became possible,

Celgene further delayed generic competition by executing an anticompetitive reverse payment

settlement agreement with Natco, the first-filer on Revlimid, whose terms were shored up by

settling with several later-filing generic companies.2

          3.        The unlawful “reverse payment” to Natco, and its marketing partner Teva,3

comprised a two-pronged in-kind payment: (1) a volume limited, royalty-free generic license

before full generic competition began, amounting to hundreds of millions of dollars in payment

to Natco; and (2) acceleration or most-favored entry clauses (“MFE clauses”) that both deterred

later-filing generics from challenging Celgene’s patents through judgment and induced Natco to

accept a later entry date by eliminating the risk that Natco loses its lucrative exclusivity period.

These MFE clauses, furthermore, laid the foundation for a series of market allocations with the

later-filing generics. Celgene settled these later suits on terms that served to shore up the

anticompetitive terms (and the attendant windfall of profits) of the reverse payment Natco

agreement settlement.


    1
      This action is an opt-out direct action of a class case in which this Court sustained allegations regarding the
exact same overall monopolistic scheme here detailed. See Opinion, In re Thalomid and Revlimid Antitrust
Litigation, 2:14-cv-06997, ECF No. 68 (D.N.J. Oct. 29, 2015).
    2
        Copies of the later settlement agreements, or fulsome descriptions of their terms, are not publicly available.
    3
       For clarity, this Complaint refers to Natco and the partnering companies that developed and now market the
related Revlimid ANDA product collectively as “Natco.” Natco originally partnered with Watson Pharmaceuticals,
Inc., and then with Arrow. Following a series of corporate acquisitions, Teva is the current successor to, or
beneficiary from, the settlement agreement between Celgene, Natco, Arrow, and Watson, and markets the ANDA
product under the Teva brand name.




                                                            2
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         4.       In 1998, Celgene obtained FDA approval to market Thalomid® (thalidomide) for

a leprosy complication known as erythema nodosum leprosum (“ENL”). In 2005, Celgene

successfully developed a thalidomide analog, Revlimid® (lenalidomide), and obtained FDA

approval to market it for a specific chromosomal variant of myelodysplastic syndromes

(“MDS”). Celgene would go on to obtain FDA approvals for additional Revlimid indications,

including for a subset of multiple myeloma (“MM”) patients in 2006,4 and later for a subset of

mantle cell lymphoma (“MCL”) patients in 2013.

         5.       However, thalidomide, the chemical composition essential to Thalomid and

Revlimid, itself dates back to the 1950s and 1960s, when it was banned for decades due to its

role in causing severe birth defects.5 Despite its invention decades before, Celgene has

successfully conspired to insulate Revlimid and Thalomid from competition, allowing it to

charge supracompetitive prices since 2006.6

         6.       In fact, Celgene has routinely increased its price either once or twice per year. A

recent congressional report examining Celgene’s pricing practices observed that “[s]ince

launching Revlimid in 2005, Celgene raised the price of the drug 22 times, from $215 per pill to

$719 per pill. After Bristol-Myers Squibb obtained the rights to Revlimid [in] November [2019],



    4
      Under FDA’s orphan drug exclusivity program, 21 U.S.C. §§ 360aa-cc, FDA may not approve a generic
equivalent for a specific indication or “rare disease” that a brand drug is FDA-approved to treat for a period of seven
(7) years. MM is such a “rare disease.” Therefore, until May 25, 2013, FDA could not approve a generic
thalidomide for the treatment of MM. It could, nevertheless, approve generic thalidomide for the treatment of other
indications. This is known as a “skinny label,” which allows for market entry prior to the expiration of all
exclusivities related to a drug.
    5
       Amanda Schaffer, Thalidomide’s Comeback, SLATE, Jan. 10, 2011,
http://www.slate.com/articles/double_x/doublex/2011/01/thalidomides_comeback.html.
    6
       See U.S. House Committee on Oversight and Reform, Staff Report, Drug Pricing Investigation: Celgene and
Bristol-Myers Squibb—Revlimid (Sept. 30, 2020), at p. 17, available at
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Celgene%20BMS%20Staff%20Report%2009-
30-2020.pdf (accessed Apr. 8, 2020) (“Oversight Committee Revlimid Report”) (“Celgene uses a series of
anticompetitive tactics to suppress generic competition and maintain its high price of Revlimid.”)




                                                          3
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it raised the price of Revlimid again, to $763 per pill.”7 As Celgene’s former Senior Vice

President of Sales and Marketing testified, Celgene’s tactics allowed it to raise prices “at any

time.”8

           7.           In 2006, a month’s supply of Revlimid cost $6,195.9 In 2010, the price was about

$8,000 for a one-month supply. When Thalomid first entered the market, it cost approximately

$6 per capsule. In 2014, its price soared to as much as $357 per capsule, and today, a twenty-

eight-day supply of Thalomid costs patients and their health insurers as much as $24,000.

           8.           In spite of these price increases, Celgene never saw a decrease in quantity

demanded for the two branded drugs because Celgene illegally blocked and continues to block

generic competition.

           9.           Celgene’s monopolistic efforts with respect to Revlimid have been enormously

profitable. Since 2014 alone, Celgene has sold over $40 billion worth of Revlimid in the U.S.:

                                                     Revlimid

                                        Year                 Approximate U.S. Sales

                                        2014                      $ 2.9 billion

                                        2015                      $ 3.5 billion

                                        2016                      $ 4.4 billion

                                        2017                      $ 5.4 billion

                                        2018                      $ 6.5 billion

                                        2019                      $ 7.2 billion

    7
        Id., at p. i.
    8
        Id., at p. 4.
    9
     Katherine Streeter, How A Drugmaker Gamed The System to Keep Generic Competition Away (May 17,
2018), https://www.npr.org/sections/health-shots/2018/05/17/571986468/how-a-drugmaker-gamed-the-system-to-
keep-generic-competition-away.




                                                         4
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                                        2020                        $ 8.3 billion

                                        2021                        $ 8.7 billion


          10.     After Celgene executed an anticompetitive reverse payment agreement with first

 filer Natco in January 2016, Celgene’s consistent and egregious price hikes exploded Revlimid’s

 monopoly profits. U.S. revenue skyrocketed from $3.5 billion10 in 2016 to $8.7 billion in 2021 –

 the last year before (delayed) generic entry.11 Revlimid is now the second-highest grossing drug

 worldwide,12 and is projected to reach nearly $14 billion in worldwide sales by 2022.13

          11.     Celgene’s anticompetitive tactics to block and delay generic entry have caused

 Cigna to pay supracompetitive prices for these drugs in violation of federal antitrust laws, and

 states’ antitrust, consumer protection, and trade practices laws. Cigna seeks civil damages it has

 incurred and injunctive relief.

                                  II.      JURISDICTION AND VENUE

          12.     This Court has jurisdiction over this action pursuant to 15 U.S.C. §§ 15 and 26,

 and 28 U.S.C. §§ 1331, 1332 and 1337. Cigna asserts federal claims for treble damages,

 injunctive relief, and costs of suit, including reasonable attorneys’ fees, against Defendants under




     10
         Celgene Corporation Annual Report, 2016
 https://s24.q4cdn.com/483522778/files/doc_news/archive/CELG_News_2017_1_26_General_Releases.pdf.
     11
        Bristol Myers Squib Annual Report, 2021 https://annual-report.bms.com/assets/bms-ar/documents/2021-
 annual-report.pdf.
     12
       Amy Brown, EP Vantage 2017 Preview (Dec. 2016), http://info.evaluategroup.com/rs/607-YGS-
 364/images/EPV2017Prev.pdf.
     13
         Evaluate Ltd., EvaluatePharma Orphan Drug Report 2017 (Feb. 2017),
 http://info.evaluategroup.com/rs/607-YGS-364/images/EPOD17.pdf. Not surprisingly, Revlimid was the top-selling
 “orphan drug” in the United States in 2016. Id. “An orphan drug is a pharmaceutical product aimed at rare diseases
 or disorders.” Id.




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 Sections 1 and 2 of the Sherman Act, 15 U.S.C. §§ 1, 2, and Sections 4 and 16 of the Clayton

 Act, 15 U.S.C. §§ 15 and 26.

         13.     This Court has supplemental jurisdiction over Cigna’s pendent state law claims

 pursuant to 28 U.S.C. § 1367, as the state law claims are so related as to form part of the same

 case or controversy. Such supplemental or pendant jurisdiction will also avoid unnecessary

 duplication and multiplicity of actions and should be exercised in the interests of judicial

 economy, convenience, and fairness.

         14.     This Court has personal jurisdiction over Defendants because Defendants are

 present in the United States, do business in the United States, have registered agents in the

 United States, may be found in the United States, and are otherwise subject to the service of

 process provisions of 15 U.S.C. § 22.

         15.     Venue is appropriate within this district under Section 12 of the Clayton Act, 15

 U.S.C. § 22, and 28 U.S.C. §§ 1391(b) and (c). Defendants transact business within this district,

 have agents and can be found in this district, and the relevant interstate trade and commerce is

 carried out, in substantial part, in this district.

                                             III.      PARTIES

         16.     Cigna Corp. is a corporation organized under the laws of the State of Delaware,

 with its principal place of business in Bloomfield, Connecticut and a principal office location at

 Two Liberty Plaza located at 1601 Chestnut Street in Philadelphia, Pennsylvania.

         17.     Cigna is the parent company, or otherwise affiliated/related company, to

 businesses that operate specialty pharmacies. During the relevant period, certain of these

 assignor subsidiaries and/or affiliates operated under Express Scripts banners, and certain of

 these assignor subsidiaries and/or affiliates operated under Cigna banners. Cigna became the

 corporate parent of Express Scripts Holding Company (“Express Scripts”) in or about December



                                                       6
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 2018, when it acquired Express Scripts and all of its subsidiaries (the “Acquisition”). Through

 Express Scripts, Cigna is the parent company, or otherwise affiliated/related company, to

 assignor subsidiaries and/or affiliates that operated as Express Scripts entities prior to the

 Acquisition, including: Express Scripts, Inc., Accredo Health Group, Inc., and CuraScript, Inc.

 (collectively, “Express Scripts Direct Purchasers”). During the relevant time period, Express

 Scripts Direct Purchasers purchased Revlimid and Thalomid directly from Celgene for the

 purpose of dispensation as specialty mail order pharmacies. Cigna is also the parent company, or

 otherwise affiliated/related company, to assignor subsidiaries and/or affiliates that operated as

 Cigna entities prior to the Acquisition, including: Tel-Drug, Inc. and Tel-Drug of Pennsylvania,

 LLC (collectively, “Cigna Direct Purchasers”). Cigna Direct Purchasers purchased Revlimid

 and Thalomid directly from Celgene for the purpose of dispensation as specialty mail order

 pharmacies. Through Express Scripts Direct Purchasers and Cigna Direct Purchasers, Cigna has

 purchased Revlimid and Thalomid from Celgene directly pursuant to various contractual

 arrangements. Express Scripts Direct Purchasers and Cigna Direct Purchasers have assigned

 their claims based on these direct purchases to Cigna Corp.

        18.     Cigna is the parent company, or otherwise affiliated/related company, to various

 health insurance plans and prescription drug plans (collectively, “Cigna Plans”). Cigna, either

 directly or through its subsidiaries, insures and/or administers health and prescription drug plan

 benefits for its members and group customers, including self-funded group customers that

 contract with Cigna to administer claims on their behalf and pursue recoveries related to those

 claims. Many of these health plan benefits provide members with prescription drug coverage

 under which claims for Revlimid and Thalomid manufactured by Celgene were submitted and

 paid. Cigna is pursuing recovery related to those claims. The Cigna Plans issue insurance and/or




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 administrative services covering prescription drugs in the form of: (1) fully insured commercial

 (“Commercial”) health plans; (2) self-funded administrative services only (“ASO”) health plans;

 (3) hybrid-funded health plans; (4) Medicare Advantage plans; (5) Medicare Prescription Drug

 Plans; and (6) Medicaid Plans. Cigna’s subsidiaries provide these benefits to Cigna insureds and

 clients nationwide. These assignor subsidiaries and/or affiliates include: Bravo Health

 Pennsylvania Inc., Bravo Health Mid-Atlantic Inc., Cigna Health and Life Insurance Company,

 Cigna HealthCare of Arizona, Inc., Cigna HealthCare of California, Inc., Cigna HealthCare of

 Colorado, Inc., Cigna HealthCare of Connecticut, Inc., Cigna HealthCare of Florida, Inc., Cigna

 HealthCare of Georgia, Inc., Cigna HealthCare of Illinois, Inc., Cigna HealthCare of Indiana,

 Inc., Cigna HealthCare of Maine, Inc., Cigna HealthCare of Massachusetts, Inc., Cigna

 HealthCare of Mid-Atlantic, Inc., Cigna HealthCare of New Hampshire, Inc., Cigna HealthCare

 of New Jersey, Inc., Cigna HealthCare of North Carolina, Inc., Cigna HealthCare of

 Pennsylvania, Inc., Cigna HealthCare of South Carolina, Inc., Cigna HealthCare of St. Louis,

 Inc., Cigna HealthCare of Tennessee, Inc., Cigna HealthCare of Texas, Inc., Cigna HealthCare of

 Utah, Inc., HealthSpring of Florida, Inc., HealthSpring Life & Health Insurance Company, Inc.,

 Medco Containment Insurance Company of NY, and Medco Containment Life Insurance

 Company. The Cigna Plans have assigned their claims based on these indirect purchases to

 Cigna Corp.

        19.     Cigna’s Complaint seeks recovery for unlawful overcharges incurred in

 connection with direct purchases of Revlimid and Thalomid made by Express Scripts Direct

 Purchasers and Cigna Direct Purchasers.

        20.     Cigna’s Complaint also seeks recovery for unlawful overcharges incurred in

 connection with indirect purchases of Revlimid and Thalomid dispensed to Cigna insureds,




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 including all those receiving insurance, administrative services, or prescription drug benefits

 from any of the Cigna Plans (or their predecessors or successors).

           21.      Defendant Celgene Corporation is a drug manufacturer, incorporated in Delaware

 and headquartered at 86 Morris Avenue, Summit, New Jersey. Celgene manufactures and

 markets Thalomid and Revlimid.

           22.      Defendant Bristol-Myers Squibb Company is a biopharmaceutical drug company

 incorporated under the laws of Delaware with its principal executive offices located at 430 E.

 29th Street, 14 FL, New York, NY 10016. Bristol-Myers Squibb is a publicly-traded corporation

 registered on the New York Stock Exchange under the symbol “BMY.”

           23.      Bristol-Myers Squibb Company wholly owns Celgene Corporation as its

 subsidiary. Bristol-Myers Squibb completed the acquisition of Celgene in November 2019 after

 the companies had executed a merger agreement in January 2019. “The companies’ public

 statements and filings with the Securities and Exchange Commission make clear that Revlimid,

 which had nearly $10 billion in annual revenue, was a key asset in the transaction. [¶] The

 companies’ joint SEC filings for the merger acknowledge that Revlimid revenue was so critical

 that any expiration of its patent protection sooner than anticipated ‘would be harmful to the

 combined company and could have a material adverse effect on its business, financial condition

 or results of operations.’”14 In the first full year after the acquisition (2020), Bristol-Myers

 Squibb reported more than $12.1 billion in Revlimid revenue.15




     14
          Oversight Committee Revlimid Report, at p. 2 (footnote omitted).
     15
         Bristol-Myers Squibb Company, Form 10-K 2020, at p. 46, available at
 https://www.sec.gov/ix?doc=/Archives/edgar/data/14272/000001427221000066/bmy-
 20201231.htm#i41f64878d2784d5ea6ffaae4477d4823_97.




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                                   IV.      ECONOMIC BACKGROUND

           24.      For most consumer products, the person responsible for paying for them is also

 the person selecting them. The pharmaceutical marketplace departs from this norm.

           25.      Prescription drugs may only be dispensed pursuant to a doctor’s prescription, and

 a licensed pharmacist may dispense only the brand-name drug named in the prescription or its

 AB-rated,16 FDA-approved generic equivalent.17

           26.      In most instances, the patient and his or her health insurer pay for the prescription

 drug that a doctor has prescribed. Therefore, the doctor’s prescription defines the relevant

 product market because it limits the patients’ (and pharmacist’s) choice to the drug named

 therein.

           27.      When there is no generic competition for a brand-name drug, the brand

 manufacturer can set and maintain prices without losing sales. The ability to do this is the result

 of the brand name drug company’s monopoly power over the market for that drug in both its

 brand-name and generic form. When an AB-rated generic is available, price competition is

 introduced. Formulary design and state generic substitution laws give purchasers a chance to

 substitute on the basis of price, and they do, as price is the only material difference between a

 brand and AB-rated generic version.

           28.      Typically, AB-rated generic versions of brand-name drugs are priced significantly

 below their brand-name counterparts. When multiple generic manufacturers enter the market,

 prices for generic versions of a brand-name drug predictably decrease, sometimes as much as by




     16
          FDA grants an AB-rating to generic drugs that meet necessary bioequivalence requirements.
     17
       In many states, pharmacists must substitute an AB-rated generic for a brand-name drug without seeking
 permission from the prescribing doctor.




                                                         10
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 90%, because of price competition among generic manufacturers.18 FDA reports that one year

 after entry, a generic drug takes over 90% of the corresponding brand-name drug’s sales at 15%

 of the price. Generic drug entry, therefore, is a huge threat to the continued profitability of a

 branded drug. Much lower brand drug profits translate to benefits to purchasers.

          29.     According to the IQVIA Institute—the leading provider of data in the healthcare

 sector—since 2013, for drugs where a generic is available, consumers purchase the generic 97%

 of the time.19 The Federal Trade Commission (“FTC”) has found that on average, within a year

 of generic entry, prices had dropped 85%.20 As a result, competition from generics is viewed by

 brand manufacturers as a serious threat to their bottom line.

          30.     In sum, generic competition enables purchasers of a drug to: (i) purchase generic

 versions of the drug at substantially lower prices, and/or (ii) purchase the brand at a reduced

 price.

          31.     For every rung in the prescription drug ladder, except for the brand-name drug

 manufacturer, there is a financial benefit to choosing the generic drug. Pharmacies normally

 earn a higher markup on generic drugs because of pricing structure and federal reimbursement

 rules and private health insurers typically offer incentives to pharmacies and members to fill

 prescriptions with generics such as lower copays for generic drugs than for brand-name drugs.



     18
         See, e.g., Jon Leibowitz, “Pay for Delay” Settlements in the Pharmaceutical Industry: How Congress Can
 Stop Anticompetitive Conduct, Protect Consumers’ Wallets, and Help Pay for Health Care Reform (June 23, 2009),
 http://www.ftc.gov/sites/default/files/documents/public_statements/pay-delay-settlements-pharmaceutical-industry-
 how-congress-can-stop-anticompetitive-conduct-protect/090623payfordelayspeech.pdf.
     19
        IQVIA Institute, Medicine Use and Spending in the U.S.: A Review of 2017 and Outlook to 2022 at 14
 (2018), available at https://www.iqvia.com/insights/the-iqvia-institute/reports/medicine-use-and-spending-in-the-us-
 review-of-2017-outlook-to-2022.
     20
         FTC, Pay-for-Delay: How Drug Company Pay-Offs Cost Consumers Billions 8 (2010),
 https://www.ftc.gov/sites/default/files/documents/reports/pay-delay-how-drug-company-pay-offs-cost-consumers-
 billions-federal-trade-commission-staff-study/100112payfordelayrpt.pdf (“FTC Pay-for-Delay Study”).




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            32.      Generic competition enables third party payers like Plaintiff to purchase a generic

 version of a brand-name drug at substantially lower prices. However, until generic

 manufacturers enter the market with an AB-rated generic, there is no generic drug which

 competes effectively with the brand-name drug, and therefore, the brand-name manufacturer can

 charge supracompetitive prices without losing sales. Given their acute knowledge of the effects

 of generic entry into a market, brand-name manufacturers like Celgene have a strong incentive to

 delay such entry through various means, including by serially filing frivolous patent

 infringement lawsuits and entering illegal “pay for delay” settlement agreements.

                                              V.       BACKGROUND

 A.         The Regulatory Structure for Brand and Generic Drugs

            1.       The Hatch-Waxman Act and NDA Approval Process

            33.      Under the Federal Food, Drug and Cosmetics Act (21 U.S.C. §§ 301-392)

 (“FDCA”), a manufacturer that creates a new, pioneer drug must obtain FDA approval to sell the

 drug by filing a New Drug Application (“NDA”). An NDA must include submission of specific

 data concerning the safety and efficacy of the drug and identify any patents claiming the drug. 21

 U.S.C. § 355(b).

            34.      When FDA approves a brand-name manufacturer’s NDA, it lists in a publication

 entitled the “Approved Drug Products with Therapeutic Equivalence Evaluations” (known as the

 “Orange Book”) any patents which, according to the information supplied to FDA by the brand-

 name manufacturer: (1) claim the approved drug or its approved uses; and (2) for which a “claim

 of patent infringement could reasonably be asserted if a person is not licensed by the owner

 engaged in the manufacture, use, or sale of the drug.”21



      21
           21 U.S.C. § 355(b)(1); 21 U.S.C. § 355(g)(7)(A)(iii).




                                                            12
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         35.     FDA does not investigate the patents or verify the NDA sponsor’s representations

 for accuracy or trustworthiness prior to listing patents in the Orange Book. Listing such a patent

 is a purely ministerial act.

         36.     Once a brand manufacturer lists a patent in the Orange Book, it creates the

 possibility for the brand company to later sue a generic competitor for infringing the listed patent

 before the competitor has launched its product and, in doing so, trigger an automatic 30-month

 stay of FDA approval. The 30-month stay is the benefit to the brand. The benefit to the generic

 is having some information about which patents the brand company believes claims the drug and

 could reasonably be asserted in litigation (per the two-part statutory test above).

         37.     Not all patents that may claim or cover aspects of a drug product or its

 manufacture may be listed in the Orange Book; for example, patents that claim a process of

 making a drug, product packaging, aspects of a device used to deliver a pharmaceutical

 composition, and REMS programs do not meet the statutory and regulatory standard and cannot

 be properly submitted for listing in the FDA’s Orange Book.

         38.     The Orange Book is not the only means for generics to understand the relevant

 patent coverage for the brand products. Generic companies routinely dedicate significant

 resources to surveying the patent landscape (including hiring consultants) to understand what

 other unlisted patents exist that may, arguably, cover the brand drug. Having done the work to

 understand the brand’s patent coverage, generic companies then routinely develop their product

 by designing around the brand’s existing patent coverage (even going so far as to design around

 patents that the generic has reason to believe are invalid and/or unenforceable).

         2.      The Hatch-Waxman Act and ANDA Approval Process

         39.     In 1984, Congress amended the FDCA with the enactment of the Hatch-Waxman

 Act (“Hatch-Waxman”). Congress’ principal intent was for Hatch-Waxman to simplify and



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 reduce the regulatory hurdles for prospective generic manufacturers, by replacing the lengthy

 and costly NDA approval process with an expedited ANDA review process.22 Under Hatch-

 Waxman, an ANDA applicant may rely on the safety and efficacy findings of the NDA for the

 referenced brand-name drug if the ANDA demonstrates the proposed generic drug is

 therapeutically equivalent and “bioequivalent,” (“BE”) i.e., it contains the same active

 ingredient(s), dosage form, route of administration, and strength as the brand-name drug, and is

 absorbed at the same rate, and to the same extent, as the brand-name drug. For ANDAs that pass

 this test, FDA assigns an “AB” rating to the generic drug.

           40.       BE is generally demonstrated via studies in which the proposed generic is

 compared to the Reference Listed Drug (“RLD,” which is, in this instance, the brand-name drug)

 in either in vivo or in vitro studies.23 These studies require the ANDA applicant to have access to

 sufficient samples of the RLD to conduct the necessary comparisons. Without RLD samples, it

 is impossible to complete and file an ANDA application.

           41.       FDA illuminates the issue:

                     To obtain approval for a generic drug, the generic company needs
                     to show, among other things, that its version of the product is
                     bioequivalent to the RLD [i.e. the brand drug, or reference listed
                     drug]. This usually requires the generic company to conduct
                     bioequivalence studies comparing its product to the RLD, and to
                     retain samples of the RLD used in testing after a study is complete.
                     To conduct these kinds of bioequivalence studies, the generic
                     company needs to obtain samples (generally between 1,500 and
                     5,000 units) of the RLD.24



     22
     Drug Price Competition and Patent Term Restoration Act, Pub. L. No. 98-417, 98 Stat. 1585 (1984) (“Hatch-
 Waxman”).
     23
          In vivo studies are studies conducted on live subjects. In vitro studies are conducted in a laboratory.
     24
         FDA, Reference Listed Drug (RLD) Access Inquiries,
 https://www.fda.gov/Drugs/DevelopmentApprovalProcess/HowDrugsareDevelopedandApproved/ApprovalApplicat
 ions/AbbreviatedNewDrugApplicationANDAGenerics/ucm607738.htm (last visited Feb. 26, 2019).




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          42.     Only samples of the RLD approved by FDA and marketed in the United States

 may be used for BE testing purposes. In the ordinary course, a prospective ANDA sponsor

 obtains samples by buying them, at market price, from a drug wholesaler or distributor.

 Wholesalers and distributors are large companies that buy drugs from manufacturers for the

 purpose of re-selling them to pharmacies or other entities. Generic companies are authorized to

 buy prescription drugs from distributors for BE testing purposes.

          43.     Celgene’s own former senior vice president of global regulatory affairs, drug

 safety, risk management, and quality assurance Graham Burton testified that Celgene is the only

 source from which a generic company could obtain Revlimid or Thalomid for purposes of BE

 testing.25

          3.      The Hatch-Waxman’s Balancing Act

          44.     As a counterbalance to Hatch-Waxman’s simplified ANDA process, Hatch-

 Waxman also provides brand manufacturers with the ability—merely by filing a patent

 infringement lawsuit—to easily obtain what is essentially a preliminary injunction, in the form of

 an automatic stay of up to thirty months, of FDA’s ability to approve a generic manufacturer’s

 ANDA.

          45.     To obtain FDA approval of an ANDA, the generic manufacturer must certify that

 it will infringe no patent listed in the Orange Book claiming the brand drug, because either:

                      a. No patent for the brand-name drug has been filed with FDA (a “Paragraph
                         I Certification”);
                      b. The patent for the brand-name drug has expired (a “Paragraph II
                         Certification”);




     25
        Exhibit to Brief in Opposition to Motion for Summary Judgment, Mylan Pharmaceuticals, Inc. v. Celgene
 Corp., No. 2:14-cv-02095-ES-MAH (D.N.J. Mar. 20, 2018) (“MSJ Opp.”), Dkt. No. 285-15 at 69-70.




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                        c. The patent for the brand-name drug will expire on a particular date and the
                           generic company does not seek to market its generic product before that
                           date (a “Paragraph III Certification”); or
                        d. The patent for the brand-name drug is invalid or will not be infringed by
                           the generic manufacturer’s proposed product (a “Paragraph IV
                           Certification”).26
          46.       When a generic manufacturer files a Paragraph IV Certification, it must notify the

 brand manufacturer and patent owner. The ANDA filing itself becomes an artificial act of patent

 infringement, entitling the patent holder to sue for injunctive relief, according to Hatch-Waxman.

          47.       If the patent holder sues the ANDA filer within forty-five days of receiving the

 Paragraph IV Certification, Hatch-Waxman prevents FDA from granting final approval to the

 ANDA until the earlier of (a) thirty months after the lawsuit is commenced, or (b) the court

 presiding over the patent infringement action rules that the patent is invalid or not infringed by

 the ANDA.27 It is almost always the case that the 30-month period expires before the court

 rules, resulting in a 30-month statutory stay.

          48.       However, during the 30-month stay, FDA may grant “tentative approval” to an

 ANDA applicant if the agency determines that the ANDA would qualify for final approval, but

 for the 30-month stay.

          4.        The first filer’s 180-day exclusivity period.

          49.       Generics may be classified as: (i) first-filer generics, (ii) later generic filers, or

 (iii) authorized generics.

          50.       To encourage manufacturers to seek approval of generic versions of brand drugs,

 the Hatch-Waxman Amendments grant the first Paragraph IV generic manufacturer ANDA filer

 (“first-filer”) a 180-day exclusivity period to market the generic version of the drug, during


    26
         21 U.S.C. § 355(g)(2)(A)(vii).
    27
         21 U.S.C. § 355(j)(5)(B)(iii).




                                                       16
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 which the FDA may not grant final approval to any other generic manufacturer’s ANDA for the

 same brand drug. That is, when a first filer submits a substantially complete ANDA with the

 FDA and certifies that the unexpired patents listed in the Orange Book as covering the brand are

 either invalid or not infringed by the generic, the FDA cannot approve a later generic

 manufacturer’s ANDA until that first-filing generic has been on the market for 180 days.

          51.    The 180-day window is often referred to as the first-filer’s six-month or 180-day

 “exclusivity”; this is a bit of a misnomer because a brand manufacturer (such as Celgene) can

 launch an authorized generic (“AG”) at any time, even prior to first-filer generic entry. An AG is

 an approved brand name drug, like Revlimid, that although marketed without the brand name on

 its label, is the exact same drug product as the branded product. Through an AG, brand

 manufacturers can enjoy the competitive benefits of marketing both their branded and a

 “generic” drug, capturing sales from customers interested in either.28 Thus, brand manufacturers

 frequently launch AGs in response to generic entry in order to recoup some of the sales (from the

 branded product to a generic/AG product) they would otherwise lose entirely to the generic

 entrant.

          52.    The Supreme Court has recognized that “this 180-day period of exclusivity can

 prove valuable, possibly ‘worth several hundred million dollars’” to the first-filer.

          53.    A first-filer that informs the FDA it intends to wait until all Orange Book-listed

 patents expire before marketing its generic does not get a 180-day exclusivity period. Congress

 created this 180-day period to incentivize generic manufacturers to challenge weak or invalid

 patents or to invent around such patents by creating non-infringing forms of generics.




     28
          An AG thus does not need to go through the Abbreviated New Drug Application (“ANDA”) process because
 it is the exact same drug product as the branded product.




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        5.      Patents are subject to judicial and administrative scrutiny.

        54.     A patent may be valid or invalid, infringed or not infringed, and enforceable or

 unenforceable. Simply owning a patent does not entitle the patent owner to exclude others.

 Patents are routinely invalidated or held unenforceable, either upon reexamination or inter partes

 proceedings by the Patent and Trademark Office (“PTO”), by court decision, or by jury verdict.

        55.     A patent holder at all times bears the burden of proving infringement. One way

 that a generic can prevail in patent infringement litigation is to show that its product does not

 infringe the patent (and/or that the patent holder cannot meet its burden to prove infringement).

 Another is to show that the patent is invalid or unenforceable.

        56.     A patent is invalid or unenforceable when: (i) the disclosed invention is obvious

 in light of earlier prior art; (ii) when an inventor, an inventor’s attorney, or another person

 involved with the application, with intent to mislead or deceive the PTO, fails to disclose

 material information known to that person to be material or submits materially false information

 to the PTO during prosecution; and/or (iii) when a later acquired patent is not patentably distinct

 from the invention claimed in an earlier patent (and no exception, such as the safe harbor,

 applies).

        57.     In these circumstances, the PTO’s decision to issue a patent does not substitute for

 a fact-specific assessment of: (i) whether the applicant made intentional misrepresentations or

 omissions on which the PTO relied in issuing the patent, and (ii) whether a reasonable

 manufacturer in the patent holder’s position would have a realistic likelihood of succeeding on

 the merits of a patent infringement suit.

        58.     In practice, if the parties litigate a pharmaceutical patent infringement suit to a

 decision on the merits, it is more likely that a challenged patent will be found invalid or not

 infringed than upheld. The FTC reports that generics prevailed in 73% of Hatch-Waxman patent



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 litigation cases resolved on the merits between 1992 and 2002. An empirical study of all

 substantive decisions rendered in every patent case filed in 2008 and 2009 similarly reports that

 when a generic challenger stays the course until a decision on the merits, the generic wins 74%

 of the time.

          6.       FDA Can Impose REMS

          59.      Since at least the 1960s, FDA has examined and implemented various methods

 for managing risks related to pharmaceutical products. Methods have included disclosure and

 labelling requirements. The Controlled Substances Act of 1970 saw the regulation of

 manufacturers, prescribers, dispensers, and labels, and permitted FDA to require warnings on

 packages.29

          60.      In the 1990s, FDA began to work with manufacturers to develop risk management

 programs for drugs with dangerous side effects. Then, in the 2000s, FDA established Risk

 Minimization Action Plans (“RiskMAPs”), in which manufacturers voluntarily instituted risk

 minimizing plans.

          61.      In 2007, Congress passed the Food and Drug Administration Amendments Act

 (“FDAAA”), which codified the Risk Evaluation and Mitigation Strategies (“REMS”) to be

 implemented with respect to certain pharmaceutical products “that have already been approved”

 and directed the Secretary of Health and Human Services (“HHS”) to establish an active post-

 market drug surveillance infrastructure.30

          62.      A REMS can include, inter alia, a medication guide, patient package inserts,

 and/or restrictions on the distribution of the drug.



    29
         21 U.S.C. § 801, et seq. (2002).
    30
         21 U.S.C. § 355-1(f)(8).




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          63.     Since their enactment in 2007, REMS have been increasingly common in FDA’s

 approval process; roughly 40% of new drugs have REMS programs.

          64.     REMS are intended to give FDA authority to condition drug approval on the

 implementation of a program designed to address serious risks associated with particular

 pharmaceutical products. The intention is not to make drugs, or drug samples, less available for

 appropriate use. In fact, §505-1(f)(8) of the FDAAA explicitly prohibits brand manufacturers

 from using REMS to “block or delay approval of” an ANDA. The FDAAA does not prohibit the

 sale of REMS-subject drugs to generic manufacturers that will use those drugs in controlled BE

 testing, nor does it give an NDA holder the right to interfere with a competitors’ ability to

 purchase necessary drug samples.

          7.      Brand Manufacturers Have Abused REMS to Block Generic Competition,
                  Prompting Congressional Action

          65.     REMS abuse is anticompetitive behavior that unlawfully excludes market entry

 by generic competitors, costing the U.S. healthcare system more than $5 billion annually.31 In

 2016, Janet Woodcock, the Director of FDA’s Center for Drug Evaluation and Research

 (“CDER”), testified that brand companies often use REMS programs “as an excuse to not give

 the drug to the generics so they can compare it to their drug.” This behavior, she noted, causes

 “barriers and delays in getting generics on the market.”32

          66.     On December 20, 2019, Congress enacted material portions of the “Creating and

 Restoring Equal Access to Equivalent Samples Act of 2016” (commonly known as




     31
         Association for Accessible Medicines, Increase Competition & Access – Support CREATES Act,
 https://accessiblemeds.org/campaign/increase-competition-and-access-rems (last visited Feb. 26, 2019).
     32
        Generic Drug User Fee Amendments: Accelerating Patient Access to Generic Drugs: Hearing Before the S.
 Comm. on Health, Educ., Labor & Pensions, 114th Cong. 31 (2016) (testimony of Janet Woodcock, Director,
 Center for Drug Evaluation & Research).




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 “CREATES”) to combat REMS abuse.33 CREATES establishes a standalone private right of

 action for qualifying developers of generic drugs to sue branded drug manufacturers that refuse

 “to provide sufficient quantities of the covered product to the eligible product developer on

 commercially reasonable, market-based terms.”34 Available remedies include immediate

 provision of sufficient quantities of samples of the drug on commercially reasonable terms,

 attorneys’ fees and costs, and civil fines “sufficient to deter” a defendant brand manufacturer

 from withholding samples to other companies developing generics in the future.35

           67.      CREATES establishes a prospective counterbalance to monopolistic schemes by

 brand manufacturers who abuse the REMS process to unlawfully monopolize the market for a

 drug by excluding generic competition beyond the period and scope afforded by a lawfully

 obtained patent, but it does not provide a remedy for past REMS abuse.36

           8.       Citizen Petitions

           68.      Section 505(j) of the FDCA creates a mechanism that allows a person to file a

 petition with FDA requesting that the agency take, or refrain from taking, any form of

 administrative action. Known as a “citizen petition,” this regulatory mechanism has also been

 used by brand manufacturers to unlawfully delay generics.


     33
        Material portions of CREATES were incorporated into the Further Consolidated Appropriations Act, 2020,
 Pub. L. 116-94.
     34
          21 U.S.C. § 355-2(b)(1).
     35
          21 U.S.C. § 355-2(b)(4).
     36
         Senator Patrick Leahy’s (D-VT) committee comments echo the misconduct alleged against Celgene’s here:
 “The first delay tactic addressed by the CREATES Act involves withholding of drug samples that generic
 manufacturers need to gain regulatory approval. Federal law requires generic competitors to prove that their low-
 cost alternative is equally safe and effective as the brand-name drug with which they wish to compete.
 Unfortunately, some brand-name companies are refusing to provide samples of their product to generic companies
 for them to make the necessary comparison. This simple delay tactic uses regulatory safeguards as a weapon to
 block competition.” Hearing Before the Senate Judiciary Committee Subcommittee on Antitrust, Competition Policy
 and Consumer Rights on “The CREATES Act: Ending Regulatory Abuse, Protecting Consumers, and Ensuring
 Drug Price Competition,” Statement of Senator Patrick Leahy (June 21, 2016),
 https://www.judiciary.senate.gov/download/06-21-16-leahy-statement-2.




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         69.     A citizen petition allows a citizen to notify FDA of its genuine concerns about

 safety, scientific, or legal issues regarding a product at any time before or after it enters the

 market.

         70.     Pursuant to FDA regulations, FDA must respond to a citizen petition within 180

 days of receipt with a grant in whole or in part, or a denial of the petition. FDA can provide a

 tentative response with an estimate on a time for a full response.

         71.     Gary Buehler, R.Ph., former Director of the Office of Generic Drugs (“OGD”), at

 CDER, noted that of 42 citizen petitions raising issues about the approvability of generic

 products, “very few . . . have presented data or analysis that significantly altered FDA’s

 policies.” Despite this, it is standard practice for FDA to withhold ANDA approval until it has

 completed its research into and response to a citizen petition.

         72.     Responding to a citizen petition strains FDA’s limited resources. Regardless of

 how frivolous a petition may be, FDA must expend considerable resources researching the

 petition’s scientific, medical, legal, and economic issues, and delaying ANDA approval, even if a

 petition is later found to be baseless.

         73.     Frivolous petitions sponsored by branded manufacturers have become an

 increasingly common tactic to delay generic competition.

 B.      The competitive effects of AB-rated generic and authorized generic competition.

         74.     Generic versions of brand name pharmaceutical drugs contain the same active

 ingredient(s) as the brand name drug and are determined by the FDA to be just as safe and

 effective as their brand counterparts. The only material difference between generics and their

 corresponding brand versions is the price. Because generics are essentially commodities that

 cannot be therapeutically differentiated, the primary basis for competition between a branded

 product and its generic version, or among generic versions, is price. Typically, generics are 50%



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 to 80% (or more) less expensive than their brand counterparts when there are multiple generic

 competitors on the market for a given brand. Consequently, the launch of a generic usually

 results in significant cost savings for drug purchasers.

          75.     Since the passage of the Hatch-Waxman Amendments, every state has adopted

 drug product selection laws that either require or permit pharmacies to substitute AB-rated

 generic equivalents for brand prescriptions (unless the prescribing physician specifically directs

 that substitution is not permitted). Substitution laws and other institutional features of

 pharmaceutical distribution and health insurance create the economic dynamic such that the

 launch of AB-rated generics results both in rapid price decline and rapid sales shift from brand to

 generic purchasing. Once a generic hits the market, it quickly captures sales of the corresponding

 brand drug, often 80% or more of the market, within the first six months after entry.

          1.      The first AB-rated generic is priced below the brand.

          76.     Experience and economic research show that the first generic manufacturer to

 market its product prices it below the prices of its brand counterpart.37 Every state either

 requires or permits that a prescription written for the brand be filled with an AB-rated generic.

 Thus, the first generic manufacturer almost always captures a large share of sales from the brand.

 Generic sales at lower prices drive a reduction in the average price paid for the drug at issue

 (brand and AB-rated generic combined).

          77.     During the 180-day exclusivity period, the first filer is the only ANDA-approved

 generic manufacturer on the market (though the brand’s AG can be, and often is, on the market

 during the 180-day exclusivity period). In the absence of competition from other generics,


     37
         FTC, Authorized Generic Drugs: Short-Term Effects and Long-Term Impact ii-iii, vi, 34 (2011),
 https://www.ftc.gov/sites/default/files/documents/reports/authorized-generic-drugs-short-term-effects-and-long-
 term-impact-report-federal-trade-commission/authorized-generic-drugs-short-term-effects-and-long-term-impact-
 report-federal-trade-commission.pdf (“FTC 2011 AG Study”); FTC Pay-for-Delay Study at 1.




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 during the 180-day exclusivity period, a first-filer generic manufacturer generally makes about

 80% of all of the profits that it will ever make on the product.

           2.      Later generics drive prices down further.

           78.     Once generic competitors enter the market, the competitive process accelerates,

 and multiple generic manufacturers typically compete vigorously with each other over price,

 driving prices down toward marginal manufacturing costs.38

           79.     In a report by the FTC issued at the request of Congress in 2011, the FTC found

 that generics captured 80% or more of sales in the first six months (this percentage erosion of

 brand sales holds regardless of the number of generic entrants.).39 In the end, the brand

 manufacturer’s sales decline to a small fraction of their level before generic entry. This is so

 because, “[a]lthough generic drugs are chemically identical to their branded counterparts, they

 are typically sold at substantial discounts from the branded price. According to the Congressional

 Budget Office, generic drugs save consumers an estimated $8 to $10 billion a year at retail

 pharmacies. Even more billions are saved when hospitals use generics.”40

           3.      Authorized generics, like other generics, compete on price.

           80.     Any 180-day exclusivity period applies to a first-filer ANDA, not to products sold

 under the authority of the original NDA. As a result, the 180-day exclusivity does not prevent a

 brand manufacturer from marketing and selling an AG at any time or from licensing another

 company to do so.


     38
       See, e.g., Tracy Regan, Generic Entry, Price Competition, and Market Segmentation in the Prescription Drug
 Market, 26 INT’L J. INDUS. ORG. 930 (2008); Richard G. Frank, The Ongoing Regulation of Generic Drugs, 357
 NEW ENG. J. MED. 1993 (2007); Patricia M. Danzon & Li-Wei Chao, Does Regulation Drive Out Competition in
 Pharmaceutical Markets?, 43 J.L. & ECON. 311 (2000).
     39
          FTC 2011 AG Study at 66-67.
     40
       See FDA, What Are Generic Drugs?, https://www.fda.gov/drugs/generic-drugs/what-are-generic-drugs (last
 updated Aug. 24, 2017).




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            81.        The FDA determined that allowing brand manufacturers to introduce AGs during

 the 180-day exclusivity period is consistent with the “fundamental objective of the Hatch-

 Waxman [A]mendments” to encourage competition and, as a result, “lower prices in the

 pharmaceutical market.”41 The FDA reasoned that if a brand releases an AG at a reduced price

 during the 180-day exclusivity period, “this might reasonably be expected to diminish the

 economic benefit” to the generic first-filer by increasing competition and causing the generic to

 “reduc[e] the substantial ‘mark-up’ [generics] can often apply during the [180-day] period.”42

 Such competition, and the resulting price decreases, work to benefit drug purchasers.

            82.        Brand manufacturers recognize the significant economic advantages of releasing

 their AGs to compete with the first-filer generic during the 180-day exclusivity period. One

 study noted that “pharmaceutical developers facing competition from generics have large

 incentives to compete with their own or licensed ‘authorized generics.’”43

            83.        Competition from an AG substantially reduces drug prices and the revenues of the

 first-filer generic (especially during the 180-day exclusivity period).

            84.        A study analyzing three examples of AGs found that “[f]or all three products,

 authorized generics competed aggressively against independent generics on price, and both the

 authorized and independent generics captured substantial market share from the brand.”44




     41
       FDA Response to Mylan and Teva Citizen Petitions at 11-12, Docket Nos. FDA-2004-P-0400 (formerly
 2004P-0075) and FDA-2004-P-0146 (formerly 2004P-0261) (July 2, 2004).
     42
          Id. at 12.
     43
         Kevin A. Hassett & Robert J. Shapiro, Sonecon, The Impact of Authorized Generic Pharmaceuticals on the
 Introduction of Other Generic Pharmaceuticals 3 (2007),
 http://www.sonecon.com/docs/studies/050207_authorizedgenerics.pdf.
     44
        Ernst R. Berndt et al., Authorized Generic Drugs, Price Competition, and Consumers’ Welfare, 26 Health
 Affairs 790, 796 (2007).




                                                        25
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            85.     The FTC similarly found that AGs capture a significant portion of sales, reducing

 the first-filer generic’s revenues by about 50% on average.45 The first-filer generic makes much

 less money when it faces competition from an AG because: (i) the AG takes a large share of unit

 sales away from the first filer; and (ii) the presence of the AG causes prices, particularly generic

 prices, to decrease.

            86.     Authorized generics are therefore a significant source of price competition. In

 fact, they are the only potential source of generic price competition during the first-to-file

 generic manufacturer’s 180-day exclusivity period. All drug industry participants recognize this.

 Brand industry group PhRMA sponsored a study that concludes that the presence of an

 authorized generic causes generic prices to be more than 15% lower as compared to when there

 is no authorized generic.46 Generic companies recognize it.47 Brand companies recognize it.48

 C.         Manipulation of the regulatory structure to impair competition.

            87.     The brand manufacturer of a pharmaceutical product without generic competition

 gets all of the profits on all of the unit sales. In this circumstance, brand manufacturers can



      45
           FTC 2011 AG Study at 139.
      46
         IMS Consulting, Assessment of Authorized Generics in the U.S. (2006),
 http://208.106.226.207/downloads/IMSAuthorizedGenericsReport_6-22-06.pdf.
      47
        One generic stated that “[d]ue to market share and pricing erosion at the hands of the authorized [generic],
 we estimate that the profits for the ‘pure’ generic during the exclusivity period could be reduced by approximately
 60% in a typical scenario.” See FTC 2011 AG Study at 81. Another generic manufacturer quantified the fiscal
 consequences of competing with an authorized generic and determined that the authorized generic reduced its first
 generic’s revenues by two-thirds, or by approximately $400 million. Comment of Apotex Corp. in Support of Mylan
 Citizen Petition at 4, Docket No. 2004P-0075 (Mar. 24, 2004), https://web.archive.org/web/
 20041216115511/http://www.fda.gov/ohrms/dockets/dailys/04/apr04/040204/04P-0075-emc00001.pdf.
      48
         Commenting on an FDA petition by drug manufacturer Teva Pharmaceuticals, Pfizer stated: “Teva’s petition
 [to prevent the launch of an authorized generic] is a flagrant effort to stifle price competition – to Teva’s benefit and
 the public’s detriment.” Comment of Pfizer at 6-7, Docket No. 2004P-0261 (June 23, 2004),
 https://web.archive.org/web/20050601041653/http://www.fda.gov/ohrms/dockets/dailys/04/June04/062904/04p-
 0261-cr00001-01-vol2.pdf; Comment of Johnson & Johnson at 1, FDA Docket No. 2004P-0075 (May 11, 2004),
 https://web.archive.org/web/20041227172543/http://www.fda.gov/ohrms/dockets/dailys/04/June04/060404/04p-
 0075-c00002-vol1.pdf.




                                                            26
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 usually sell their drug for far more than the marginal cost of production, generating profit

 margins of 70% or more, while making hundreds of millions of dollars in profits. The ability to

 set price so much above cost is one indication that the brand firm is exercising market power.

        88.     Competition from generic firms constricts the brand manufacturer’s market power

 and delivers enormous savings to drug purchasers. Competition converts what formerly were

 monopoly profits into purchaser savings.

        89.     While brand manufacturers and first-filer generic manufacturers are typically

 marketplace competitors, they have a collective interest in preventing robust competition from

 other generic manufacturers—competition that severely depresses prices—from breaking out. If

 the brand and first-filer generic work together to prevent or delay such competition, they can

 keep the profit margins high and split the resulting excess profits between themselves. In other

 words, by stifling competition, the brand manufacturer and first-filer generic manufacturer can

 maintain high prices, protect their profits, and split between themselves the enormous savings

 that increased generic competition would have delivered to drug purchasers.




                                                 27
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         90.      Figure 1 compares the impact on a brand manufacturer’s profits between: (i) a

 situation where it settles a patent lawsuit on the merits (i.e., with only an agreed entry date and

 without a pay-off to the generic company); and (ii) a situation where it settles the lawsuit with a

 large, unjustified payment to the generic manufacturer. In the former situation, the agreed entry

 date for the generic is earlier and the brand manufacturer’s profits are thus greatly reduced. In

 the latter situation, the agreed entry date is later and the brand manufacturer’s profits increase

 significantly.

         91.      In order for such an anticompetitive pact to work, brand and generic

 manufacturers need a means by which to divide between them the ill-gotten gains—the increased

                     Figure 1. Impact of Generic Delay on Brand Profits




 profit to the detriment of drug purchasers—that delayed competition makes possible. The generic

 manufacturer has no incentive to refrain from competing unless it shares in the brand profits

 from delay. To make this happen requires some form of pay offs from the brand manufacturer,

 resulting in deals that are referred to as “pay-for-delay,” “exclusion payment,” or “reverse

 payment” agreements.




                                                  28
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        92.     In the presence of a first filer’s 180-day exclusivity period, the brand

 manufacturer’s (unlaw) pay off to the first filer also delays other generic manufacturers from

 marketing their products: none of the later filers can enter until the first-filer’s 180-day

 exclusivity period has run.

        93.     Later ANDA filers can expect lower profits than a first filer because they may

 have little or no expectation of any form of market exclusivity. By the time they enter the

 market, there is at least the brand and one other generic on the market (and often a second

 generic in the form of an AG) and, thus, the drug has already been, or is on its way to being,

 commoditized. As a result, in a pay-for-delay agreement, later-filing generics may require less of

 a pay not to compete. Under these unlawful arrangements, the brand shares some of its

 supracompetitive profits with the later-filing generics, and in exchange the later-filing generics to

 drop their patent challenges and accept a late agreed entry date.

        94.     Pay-for-delay agreements are fundamentally anticompetitive and contrary to the

 goals of the Hatch-Waxman statutory scheme. They extend the brand manufacturer’s monopoly

 by blocking access to more affordable generic drugs, forcing purchasers to buy expensive brands

 instead.

        1.      Manufacturers also use anticompetitive “acceleration” or “most-favored
                entry” clauses to delay competition.

        95.     Another weapon in the pharmaceutical monopolist’s arsenal is “acceleration”

 clauses, which often takes the form of a “most-favored entry” (MFE) clause which allows a

 settling generic to move an entry date earlier based on an agreed-upon or actual date of entry of

 another generic. When used in settling Hatch-Waxman litigation, MFE clauses dis-incentivize

 later generic filers from entering the market by eliminating the possibility of a later filer entering

 prior to any generic (such as but not necessarily the first filer) which has already settled.




                                                   29
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 Furthermore, an acceleration clause transfers value to the settling generic in two ways: the

 privilege of accelerating based on some contingency increases expected profits, and any

 deterrent effect on later filers protects the settling generic’s market position. Because an

 acceleration clause creates value for the settling generic, it can be used to induce the settling

 generic to accept a later entry date.

          96.    The purpose and effect of an “acceleration” or MFE clause is to dramatically

 reduce any other generic manufacturer’s incentive to try to enter the market as quickly as they

 can. Absent the “acceleration” clause, other generic manufacturers would have an incentive to

 enter the market as soon as they were able, thereby enjoying a substantial period as the only

 ANDA-based generic product on the market. By eliminating this possibility, an “acceleration”

 clause results in delayed generic entry by, inter alia, disincentivizing generics that would

 otherwise be willing and able to come to market from doing so because of the knowledge that

 other generics would immediately flood the market.

          97.    The Chairman and CEO of Apotex, Inc.—one of the largest generic

 manufacturers in the world—twice testified to Congress that “acceleration” clauses represent

 “the primary anticompetitive aspects of settlements” because they “eliminate any incentive for a

 subsequent filer to continue to litigate for earlier market entry.”49 The clauses both induce

 prospective generic competitors to accept later entry dates and deter others from challenging

 weak patents:

                 “[N]o subsequent filer is going to take up the patent fight knowing
                 it will get nothing if it wins. Consumers are the biggest losers
                 under this system. If subsequent filers do not have the incentive to
                 take on the cost of multimillion patent challenges these challenges
     49
        Protecting Consumer Access to Generic Drugs Act of 2007: Hearing on H.R. 1902 Before the Subcomm. On
 Commerce, Trade, and Consumer Protection of the H. Comm. on Energy & Commerce, 110th Cong., at 65, 67
 (2007) (statement of Bernard Sherman, CEO, Apotex, Inc.), http://www.gpo.gov/fdsys/pkg/CHRG-
 110hhrg38992/pdf/CHRG-110hhrg38992.pdf.




                                                     30
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                   will not occur. Weak patents that should be knocked out will
                   remain in place, unduly blocking consumer access to generics. The
                   challenges to brand patents by generic companies that Hatch-
                   Waxman was designed to generate will decrease. And settlements
                   that delay consumer access to the generic will, in turn, increase.”50

           98.     Contrary to what their name suggests, in practice, “acceleration” clauses do not

 accelerate generic entry—they delay it. The evidence for this is conclusive. A recently

 published study analyzing empirical pharmaceutical settlement data concluded that “[a]n

 acceleration clause paired with the 180-day exclusivity period appears to effectively deter other

 generics and, at least in the instances we observed, never to have resulted in an actual

 ‘accelerated’ entry.” Not once, in cases like this one (Revlimid) where the first-filer retained its

 180-day exclusivity, had “acceleration” promoted earlier generic entry. “Among the 54 cases in

 which the first filer retained sole rights to the 180-day exclusivity period, there were no cases of

 early generic entry. In other words, there were no cases in which the first filer’s entry was

 accelerated, and there were no cases in which a different generic entered before the entry date set

 in the first filer’s settlement.”51

     VI.         FDA REGULATION OF THALOMID AND REVLIMID AND CELGENE’S
                    PATENT PROSECUTION HISTORY RELATED TO THE DRUGS

           99.     In the mid-20th Century, thalidomide was marketed as a sleeping pill and anti-

 morning sickness pill for pregnant women. Devastatingly, when consumed by pregnant women,

 thalidomide caused life-threatening fetal deformities and birth defects. Adverse effects also

 included nerve damage.


     50
          Protecting Consumer Access to Generic Drugs Act of 2009: Hearing on H.R. 1706 Before the Subcomm.
 On Commerce, Trade, and Consumer Protection of the H. Comm. on Energy & Commerce, 111th Cong., at 218
 (2009) (statement of Bernard Sherman, CEO, Apotex, Inc.) (hereinafter “Apotex 2009 Statement”),
 http://www.gpo.gov/fdsys/pkg/CHRG-111hhrg67822/pdf/CHRG-111hhrg67822.pdf. Apotex addressed acceleration
 clauses in the context in which, as here, the first-filing generic retained the 180-day exclusivity.
     51
        Keith M. Drake & Thomas G. McGuire, Generic Entry Before the Agreed-Upon Date in Pharmaceutical
 Patent Settlements, Journal of Competition Law & Economics, (2020), 16(2), 188-219, 194.




                                                    31
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          100.    Thalidomide was thereafter banned worldwide. The U.S. ban was in place until

 July 16, 1998, when FDA approved Celgene’s December 20, 1996 NDA 20-785 for Thalomid,

 its branded version of thalidomide. FDA approved Thalomid only as a treatment for ENL, a

 form of leprosy.52 To mitigate fetal exposure to the drug, FDA conditioned its Thalomid

 approval on Celgene’s use of the System for Thalidomide Education and Prescribing Safety

 (“S.T.E.P.S.”) distribution program, in which patients were required to review educational

 materials, register with the program, and agree to program restrictions. FDA noted in its

 Thalomid NDA approval “[t]hat current restrictions strike a balance between the need to prevent

 fetal exposure to the drug and the need to make the drug available without extraordinary burdens

 on patients and prescribers.”

          101.    After FDA codified its REMS distribution program, FDA approved Celgene’s

 supplemental NDA containing a proposed REMS program for Thalomid on August 3, 2010.

          102.    Celgene filed, prosecuted, and listed in the Orange Book one patent for the

 Composition of Matter for Thalomid: the ’012 Patent, which was first filed with the USPTO in

 June 2003. Celgene filed, prosecuted and listed a total of fourteen patents in relation to the

 S.T.E.P.S. and/or REMS programs for controlling Thalomid, and later Revlimid, distribution: the

 ’501 Patent, the ’976 Patent, the ’432 Patent, the ’984 Patent, the ’763 Patent, the ’188 Patent,

 the ’720 Patent, the ’977 Patent, the ’784 Patent, the ’399 Patent, the ’018 Patent, the ’566

 Patent, the ’886 Patent, and the ’531 Patent, all of which were filed with the USPTO between

 August 1998 and August 2012.




     52
         Thalomid was later approved in 2006 to treat Multiple Myeloma (“MM”), subject again to Celgene’s
 restricted distribution system.




                                                       32
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        103.    Revlimid is an immunomodulatory drug that works against cancer cells by

 affecting the immune system. It is a thalidomide analogue manufactured and marketed by

 Celgene. On April 7, 2005, Celgene submitted NDA 21-880 to FDA, which provides for the use

 of Revlimid to treat patients with transfusion dependent anemia due to low or intermediate-1 risk

 myelodysplastic syndromes associated with a deletion 5 q cytogenetic abnormality with or

 without additional cytogenetic abnormalities. On December 27, 2005, FDA approved Revlimid

 for this indication. FDA granted Celgene market exclusivity for Revlimid as a new chemical

 entity (“NCE”) until December 27, 2010.

        104.    Revlimid is subject to a REMS distribution program, RevAssist. The primary

 goal of the RevAssist program is to prevent fetal exposure to Revlimid. FDA noted in its

 December 27, 2005 letter to Celgene that RevAssist is “an important part of the post-marketing

 risk management for Revlimid®.”

        105.    All told, Celgene filed, prosecuted, and listed 30 patents in FDA Orange Book as

 claiming Revlimid.

        106.    The Orange Book listed patents included the ‘517 Patent, which was first filed

 with the USPTO in July 1996 (the “’517 patent”), and the two polymorph patents, the ’800

 Patent and the ’217 Patent, first filed with the USPTO in September 2004 and December 2008,

 respectively (the “Polymorph Patents”).

        107.    Celgene also filed, prosecuted, and listed patents in relation to the RevAssist

 program for controlling Revlimid distribution: the ’501 Patent, the ’976 Patent, the ’432 Patent,

 the ’763 Patent, the ’188 Patent, the ’720 Patent, the ’977 Patent, the ’784 Patent, the ’886

 Patent, and the ’531 Patent, all of which were filed with the USPTO between August 1998 and

 August 2012.




                                                 33
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        108.    Celgene also filed, prosecuted, and listed ten patents related to the dosage and

 methods-of-use for Revlimid: the ’740 Patent, the ’569 Patent, the ’363 Patent, the ’929 Patent,

 the ’717 Patent, the ’095 Patent, the ’120 Patent, the ’498 Patent, the ’621 Patent, and the ’622

 Patent, all filed with the USPTO between April 2003 and September 2014.

        109.    In 2006, Celgene filed yet another patent, the ’745 Patent, in furtherance of its

 pattern of erecting an impenetrable “patent fortress” around its Revlimid and Thalomid

 monopolies.

 Below is a chart of Celgene’s patent protection web:

                                              Date     Expiration
     Patent       Number      Date Filed                                   Description             Drugs
                                             Issued      Date
                                              Composition
                                                    of
                                                 Matter
                                                                      Method of reducing
                                                                      TNF.alpha. levels
                                                                      with amino
  ’517 Patent    5,635,517    24-Jul-96     3-Jun-97      4-Oct-19    substituted 2-(2,6-      Revlimid
                                                                      dioxopiperidin-3-
                                                                      yl)-1-oxo-and 1,3-
                                                                      dioxoisoindolines
                                                                      Pharmaceutical
                                                                      compositions and
  ’012 Patent    7,230,012 30-Jun-03       12-Jun-07     9-Dec-23                             Thalomid
                                                                      dosage forms of
                                                                      thalidomide
                                               Polymorph

                                                                   Polymorphic forms
                                                                   of 3-(4-amino-1-
  ’800 Patent    7,465,800     3-Sep-04    16-Dec-08     27-Apr-27 oxo-1,3 dihydro-            Revlimid
                                                                   isoindol-2-yl)-
                                                                   piperidine-2,6-dione
                                                                      Polymorphic forms
                                                                      of 3-(4-amino-1-
                               15-Dec-                    24-Nov-
  ’217 Patent    7,855,217                 21-Dec-10                  oxo-1,3 dihydro-         Revlimid
                                 08                          24
                                                                      isoindol-2-yl)-
                                                                      piperidine-2,6-dione




                                                 34
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                                            REMS
                                                            Methods for
                                                            delivering a drug to a
                                                            patient while            Thalomid
                            28-Aug-               28-Aug-   preventing the            Revlimid
  ’501 Patent   6,045,501             4-Apr-00
                               98                    18     exposure of a foetus     (Pomalyst
                                                            or other                     )
                                                            contraindicated
                                                            individual to the drug
                                                            Methods for
                                                            delivering a drug to a
                                                            patient while            Thalomid
                            26-Sep-   13-May-     28-Aug-   preventing the            Revlimid
  ’976 Patent   6,561,976
                              01         03          18     exposure of a foetus     (Pomalyst
                                                            or other                     )
                                                            contraindicated
                                                            individual to the drug
                                                            Methods for
                                                            delivering a drug to a
                                                            patient while            Thalomid
                            22-Jan-               28-Aug-   preventing the            Revlimid
  ’432 Patent   6,908,432             21-Jun-05
                              04                     18     exposure of a foetus     (Pomalyst
                                                            or other                     )
                                                            contraindicated
                                                            individual to the drug
                                                            Methods for
                                                            delivering a drug to a
                                                            patient while
                            12-Apr-               28-Aug-   preventing the
  ’984 Patent   7,874,984             25-Jan-11                                      Thalomid
                              05                     18     exposure of a foetus
                                                            or other
                                                            contraindicated
                                                            individual to the drug
                                                            Methods for
                                                            delivering a drug to a
                                                            patient while            Thalomid
                            13-Dec-               28-Aug-   preventing the            Revlimid
  ’763 Patent   8,204,763             19-Jun-12
                              10                     18     exposure of a foetus     (Pomalyst
                                                            or other                     )
                                                            contraindicated
                                                            individual to the drug




                                           35
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                                                              Methods for
                                                              delivering a drug to a
                                                              patient while            Thalomid
                            17-May-   19-Nov-     28-Aug-     preventing the            Revlimid
  ’188 Patent   8,589,188
                               12        13          18       exposure of a foetus     (Pomalyst
                                                              or other                     )
                                                              contraindicated
                                                              individual to the drug
                                                              Methods for
                                                              delivering a drug to a
                                                              patient while
                                                              avoiding the              Thalomid
                            23-Oct-   13-Nov-
  ’720 Patent   6,315,720                         23-Oct-20   occurrence of an          Revlimid
                              00         01
                                                              adverse side effect      (Pomalyst)
                                                              known or suspected
                                                              of being caused by
                                                              the drug
                                                              Methods for
                                                              delivering a drug to a
                                                              patient while
                                                                                        Thalomid
                            27-Sep-   13-May-                 restricting access to
  ’977 Patent   6,561,977                         23-Oct-20                             Revlimid
                              01         03                   the drug by patients
                                                                                       (Pomalyst)
                                                              for whom the drug
                                                              may be
                                                              contraindicated
                                                              Methods for
                                                              delivering a drug to a
                                                              patient while
                                                                                        Thalomid
                            7-Mar-                            restricting access to
  ’784 Patent   6,755,784             29-Jun-04   23-Oct-20                             Revlimid
                              03                              the drug by patients
                                                                                       (Pomalyst)
                                                              for whom the drug
                                                              may be
                                                              contraindicated
                                                              Methods for
                                                              delivering a drug to a
                                                              patient while
                            22-Jan-                           restricting access to
  ’399 Patent   6,869,399             22-Mar-05   23-Oct-20                            Thalomid
                              04                              the drug by patients
                                                              for whom the drug
                                                              may be
                                                              contraindicated




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                                                               Methods for
                                                               delivering a drug to a
                                                               patient while
                                       28-Nov-                 restricting access to
  ’018 Patent   7,141,018   3-Jan-05               23-Oct-20                            Thalomid
                                          06                   the drug by patients
                                                               for whom the drug
                                                               may be
                                                               contraindicated
                                                               Methods for
                                                               delivering a drug to a
                                                               patient while
                            19-May-                            restricting access to
  ’566 Patent   7,959,566              14-Jun-11   23-Oct-20                            Thalomid
                               06                              the drug by patients
                                                               for whom the drug
                                                               may be
                                                               contraindicated
                                                               Methods for
                                                               delivering a drug to a
                                                               patient while
                                                                                         Thalomid
                            13-Dec-    20-Nov-                 restricting access to
  ’886 Patent   8,315,886                          23-Oct-20                             Revlimid
                              10          12                   the drug by patients
                                                                                        (Pomalyst)
                                                               for whom the drug
                                                               may be
                                                               contraindicated
                                                               Methods for
                                                               delivering a drug to a
                                                               patient while
                                                                                         Thalomid
                            22-Aug-                            restricting access to
  ’531 Patent   8,626,531              7-Jan-14    23-Oct-20                             Revlimid
                               12                              the drug by patients
                                                                                        (Pomalyst)
                                                               for whom the drug
                                                               may be
                                                               contraindicated
                                             Dosing
                                                           Methods of using 3-
                                                           (4-amino-oxo-1,3-
                                                           dihydro-isoindol-2-
                                                           yl)-piperidine-2,6-
                            11-Apr-
  ’740 Patent   7,189,740              13-Mar-07 11-Apr-23 dione for the                Revlimid
                              03
                                                           treatment and
                                                           management of
                                                           myelodysplastic
                                                           syndromes




                                            37
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                                                              Methods for
                                                              treatment of multiple
                                                              myeloma using 3-(4-
                            15-May-
  ’569 Patent   7,968,569              28-Jun-11   7-Oct-23   amino-1-oxo-1,3-         Revlimid
                               03
                                                              dihydro-isoindol-2-
                                                              yl)-piperidine-2,6-
                                                              dione
                                                              Methods for
                                                              treatment of cancers
                            8-Apr-                            using 3-(4-amino-1-
  ’363 Patent   7,468,363              23-Dec-08   7-Oct-23                            Revlimid
                              05                              oxo-1,3-dihydro-
                                                              isoindol-2-yl)-
                                                              piperidine-2,6-dione
                                                              Methods using 3-(4-
                                                              amino-1-oxo-1,3-
                                                              dihydro-isoindol-2-
                            19-Nov-
  ’929 Patent   8,741,929              3-Jun-14    8-Mar-28   yl)-piperidine-2,6-      Revlimid
                               09
                                                              dione for treatment of
                                                              mantle cell
                                                              lymphomas
                                                           Methods of treating
                            24-Mar-                        myelodysplastic
  ’717 Patent   8,404,717              26-Mar-13 11-Apr-23                             Revlimid
                              11                           syndromes using
                                                           lenalidomide
                                                              Methods for treating
                                                              multiple myeloma
                                                              using 3-(4-amino-1-
                                                              oxo-1,3-
                                                   15-May-
  ’095 Patent   8,648,095   5-Jun-12   11-Feb-14              dihydroisoindol-2-       Revlimid
                                                      23
                                                              yl)-piperidine-2,6-
                                                              dione in combination
                                                              with proteasome
                                                              inhibitor
                                                             Methods of treating
                                                             myelodysplastic
                            13-Mar-                          syndromes with a
  ’120 Patent   9,056,120              16-Jun-15   11-Apr-23                           Revlimid
                              13                             combination therapy
                                                             using lenalidomide
                                                             and azacitidine




                                            38
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                                                                                 Methods for treating
                                                                                 multiple myeloma
                                                                                 with 3-(4-amino-1-
                                     8-Apr-                       15-May-
  ’498 Patent       8,530,498                    10-Sep-13                       oxo-1,3-                      Revlimid
                                       13                            23
                                                                                 dihydroisoindol-2-
                                                                                 yl)piperidine-2,6-
                                                                                 dione
                                                                                 Methods for treating
                                                                                 multiple myeloma
                                                                                 with 3-(4-amino-1-
                                    17-Apr-        11-Aug-        15-May-        oxo-1,3-dihydro-
  ’621 Patent       9,101,621                                                                                  Revlimid
                                      14              15             23          isoindol-2-yl)-
                                                                                 piperidine-2,6-dione
                                                                                 after stem cell
                                                                                 transplantation
                                                                                 Methods for treating
                                                                                 newly diagnosed
                                                                                 multiple myeloma 3-
                                    10-Sep-        11-Aug-        15-May-        (4-amino-1-oxo-1,3-
  ’622 Patent       9,101,622                                                                                  Revlimid
                                      14              15             23          dihydro-isoindol-2-
                                                                                 yl)-piperidine-2,6-
                                                                                 dione in combination
                                                                                 with dexamethasone


                                                                            Methods and                        Thalomid
                                    26-Apr-                      31-Jul-19 compositions for                   (Not listed
  ’745 Patent       7,435,745                    14-Oct-08
                                      06                         (Estimate) inhibition of                     in Orange
                                                                            angiogenesis                        Book)




          110.     Celgene obtained other patents related to thalidomide and its analogs, but did not

 list them in the Orange Book.53 Unlisted patents are not meaningful barriers to generic entry. A

 brand company does not have standing to sue (and litigate on the merits) a would-be competitor

 for allegedly infringing an unlisted patent before the competitor has actually sold its generic



     53
        That Celgene did not submit these patents for listing in the Orange Book is a concession that they did not
 meet the statutory standard for listing in the Orange Book or for asserting against a generic company in paragraph
 IV Hatch Waxman litigation (which triggers the powerfully anticompetitive thirty-month stay).




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 product. Nor do unlisted patents trigger an automatic thirty-month stay of FDA approval for the

 competitor’s ANDA.54 Celgene ultimately made frivolous infringement claims for unlisted

 patents in response to ANDAs for lenalidomide, as discussed below.

   VII.         CELGENE’S ANTICOMPETITIVE SCHEME ILLEGALLY MONOPOLIZED
                         THE MARKET FOR REVLIMID AND THALOMID

 A.        Celgene Manipulated FDA’s REMS Program as a Pretextual Justification to Refuse
           Samples Needed to Prosecute ANDAs to Would-Be Competitors

           111.    Central to Celgene’s multi-faceted and decades long scheme to unlawfully

 monopolize the markets for Revlimid and Thalomid was its REMS abuse. Celgene used its

 associated REMS distribution programs as a pretext to delay and ultimately refuse to sell

 samples of Revlimid and Thalomid to competitors that were needed to develop ANDAs, despite

 exhaustive cautionary measures taken by competitors and comprehensive assurances by FDA.

 These measures reveal Celgene’s claimed business justifications to be entirely pretextual.

           1.      Celgene’s REMS Programs for Revlimid and Thalomid

           112.    Both Revlimid and Thalomid are subject to REMS distribution programs that

 require healthcare providers and pharmacies to be certified in the RevAssist or S.T.E.P.S.

 programs, respectively, and patients to be enrolled in these programs, before prescribing,

 dispensing, or taking the drugs, respectively. Prescribers and pharmacists must complete

 registration forms. Women of childbearing age must take a pregnancy test twenty-four hours

 prior to starting a course of Revlimid or Thalomid and at least every four weeks during their

 course of treatment. Prescribers must provide patients with contraception and emergency

 contraception counseling with each new prescription. For every new patient, prescribers must


      54
          Unlisted patents can be asserted in infringement suits filed after a generic product has launched, in an effort
 to obtain damages on prior sales. Celgene did not do so here. It is rare that – outside of the Hatch Waxman
 paragraph IV scheme – a brand company tries to obtain a preliminary injunction to prevent a competitor from
 launching. Celgene did not do so here. Such motions for preliminary injunctions impose a very high standard.




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 submit to Celgene a signed Patient-Physician Agreement Form that identifies the patient’s risk

 category. The prescriber then receives a letter confirming the patients’ enrollment and the

 patient and prescriber receive an authorization number which is to be written on the prescription.

 The pharmacy must verify that each prescription has an authorization number that is valid for

 seven days. The pharmacy must then call Celgene, obtain a confirmation number, and write this

 number on the prescription. The prescription is then filled within twenty-four hours. No more

 than a twenty-eight-day supply may be dispensed at one time.

        113.    The first key to Celgene’s monopolistic anticompetitive scheme was to prevent

 generic manufacturers from obtaining the necessary samples of Revlimid and Thalomid to

 perform the BE testing needed to file an ANDA.

        114.    Celgene abused its REMS program as a pretextual justification for withholding

 Revlimid and Thalomid samples from generic competitors. Among the manufacturers that

 Celgene refused to supply are Mylan Pharmaceuticals Inc. (“Mylan”) between 2004 and the

 present, Lannett Company (“Lannett”) in 2006, Exela Pharmsci, Inc. (“Exela”) in 2006, Dr.

 Reddy’s Laboratories (“Dr. Reddy’s”) in 2008 and 2009, Watson Laboratories, Inc. (“Watson”)

 in 2009, Teva Pharmaceuticals USA (“Teva”) in 2009, and Sandoz Inc. (“Sandoz”) in 2012.

 Celgene also entered into an exclusive supply agreement with a French thalidomide supplier to

 prevent Barr Laboratories (“Barr”) from obtaining that company’s thalidomide active

 pharmaceutical ingredient (“API”).

        115.    Celgene’s improper use of the REMS program as a shield to refuse to provide

 samples is contrary to FDAAA. FDAAA subsection f(8) states that “no holder of [a REMS-




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 covered drug] shall use any element to assure safe use . . . to block or delay approval of . . . an

 [ANDA application].”55

                   a.       Celgene’s REMS Programs are Post-Marketing Distribution Systems
                            with No Legal or Practical Relation to Sales of Samples to
                            Competitors

          116.     Celgene’s REMS distribution programs are post-marketing, commercial

 distribution programs. Celgene’s REMS protocols do not discuss drug manufacturers conducting

 business with one another in the pre-marketing, drug development phase. Nor do Celgene’s

 REMS protocols discuss or prevent distribution of samples to drug manufacturers.

          117.     Generic manufacturers’ safety protocols are not required to be FDA-approved for

 that manufacturer to purchase samples of a REMS-subject drug. Robert West, former Deputy

 Director of OGD, commented that “a generic manufacturer is not required to submit its protocols

 to FDA before commencing bioequivalence studies.”56

          118.     Clinical and pre-approval studies are not governed by REMS. In an August 2012

 meeting with Celgene, FDA stated, “Celgene’s REMS relates to a marketed situation and not a

 clinical trial where there is more control regarding administration of the product and the amount

 given is monitored and very limited.”

          119.     A sample supply of a brand-name drug, including the API, is required to

 manufacture a generic equivalent. The API is used to conduct the required bio-studies and

 validation testing needed to be included in the generic manufacturer’s ANDA.

          120.      Due to Celgene’s REMS program, generic manufacturers are unable to purchase

 Revlimid and Thalomid samples in the United States through normal wholesale distribution



    55
         21 U.S.C. § 355-1(f)(8).
    56
         Exhibit to MSJ Opp., Doc. No. 285-15.




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 channels. The restricted network that Celgene created forced incumbent competitors to purchase

 the drugs directly from Celgene, with FDA’s endorsement.

                b.      Celgene Refused to Sell Samples to Mylan

        121.    Celgene refused to sell Revlimid and Thalomid samples to Mylan, the second

 largest generic pharmaceutical manufacturer in the world.

        122.    Mylan began developing a generic thalidomide product on September 26, 2003.

 On October 27, 2003, Mylan requested OGD to provide guidance on prospective BE studies.

 OGD provided the requested guidance within the following year.

        123.    On December 22, Mylan requested thalidomide API from API suppliers GYMA

 Laboratories of America, Inc. (“GYMA”) and Antibioticos to manufacture its formulation of

 thalidomide. By March 11, 2004, Mylan received thalidomide API from Antibioticos.

        124.     In September 2004, after Mylan was unable to gain access to Thalomid samples,

 FDA suggested Mylan contact Celgene to request samples. On October 5, 2004, Mylan’s

 attorneys wrote Celgene a letter requesting to purchase 2,500 Thalomid capsules to conduct BE

 studies. Celgene failed to respond to the letter. Mylan repeated its request on May 3, 2005. By

 that time, Mylan had already completed safety training sessions for the handling and testing of

 thalidomide.

        125.    In a June 21, 2005 letter, Celgene explained that, pursuant to its S.T.E.P.S.

 program, Thalomid was not available through normal wholesale channels, and that it was against

 Celgene’s policy to deal with third parties in the sale of Thalomid. This policy, to the extent it

 existed, was pretextual and not based upon any legitimate legal or regulatory concerns.

        126.    In unsealed internal emails from July 6, 2005, Celgene noted that “Mylan has had

 difficulty obtaining enough of Celgene’s reference product to perform BE studies, so its ANDA

 submission is expected to be delayed until late in the third quarter of 2005.”



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          127.     On September 2, 2005, Mylan directly contacted Celgene and requested to

 purchase 3,360 Thalomid capsules to conduct BE testing. Mylan explained that the “FDA had

 recommended that we contact you directly to request a sample” of Thalomid for BE testing, and

 that “obtaining samples through other traditional channels is nearly impossible.”

          128.     On October 20, 2005, Celgene replied, claiming that it needed additional time to

 consider the request and “to avoid fetal exposure.”

          129.     On November 15, 2005, Mylan used an intermediary to again request that

 Celgene sell it Thalomid samples for BE testing.

          130.     By December 2005, Mylan completed its scale-up of its experimental thalidomide

 batch. Mylan had, by that time, captured two-years’ worth of stability data. The only remaining

 step to submitting its ANDA was to conduct BE studies against the RLD.

          131.     On December 19, 2005, Celgene stated that it would need FDA’s approval to

 allow Mylan to purchase samples outside of the S.T.E.P.S. program: “[W]e recommend that you

 contact FDA’s [Division of Special Pathogen and Transplant Products] to discuss the importance

 of the S.T.E.P.S. program to them.” Celgene claimed that if FDA then “contacts us in writing

 and recommends that we violate our S.T.E.P.S. program by providing you with the quantity of

 THALOMID you request, we will further evaluate your request at that time.”

          132.     This was puzzling: in an internal report created in 2003 at Celgene’s request,

 Celgene conceded that Mylan’s patient monitoring system—already in place for another drug it

 was studying—was robust, comprehensive, and equivalent to the S.T.E.P.S. program.

          133.     Celgene’s internal report concluded that Mylan’s safety protocols “currently have

 very sophisticated patient monitoring systems for their respective clozapine products.”57 The


    57
         Exhibit to MSJ Opp., Doc No. 286-1.




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 report also stated “it can be observed that the clozapine requirements are as comprehensive as the

 S.T.E.P.S. program. Thus, Ivax and Mylan already have experienced [sic] with sophisticated

 monitoring systems.”58

           134.   Next, Mylan requested FDA assistance to obtain the necessary Thalomid samples

 required for bioequivalence testing on January 11, 2006. In its letter, Mylan proposed protocols

 to ensure avoidance of fetal exposure.

           135.   On February 12, 2007, FDA replied, requesting an investigational new drug

 application (“IND”) or study protocol so that it could “ensure that all appropriate safeguards for

 a clinical investigation with thalidomide are in place,” as a substitute for the S.T.E.P.S. program.

           136.   FDA’s response continued:

                  It is FDA’s view that certain restrictions are needed to ensure safe
                  use of the drug; however, it is not the agency’s intention to permit
                  the restrictions of the S.T.E.P.S. program to prevent manufacturers
                  of generic drugs from obtaining Thalomid for use in the
                  bioequivalence testing necessary to obtain approval of an
                  abbreviated new drug application for a thalidomide product. The
                  agency believes that such bioequivalence studies can be conducted
                  safely under either an IND or in circumstances that provide
                  alternative assurance of patient safety. To ensure that the intention
                  of Congress in enacting the generic drug approval provisions in
                  section 505(j) is not frustrated by the terms of the S.T.E.P.S.
                  program, FDA has notified Celgene that the agency intends to
                  exercise its enforcement discretion to permit Celgene to provide to
                  another drug manufacturer (or its agent) 500 units of Thalomid
                  (including 200 units for the purpose of conducting bioequivalence
                  (including dissolution) testing and 300 units for a limited number
                  of retained samples) when Celgene has received confirmation in
                  writing from the sponsor, its agent, or FDA that the sponsor of the
                  study either has an IND in effect for the study or has otherwise
                  provided the agency with sufficient assurance that the
                  bioequivalence study will be conducted in such a manner as to
                  ensure the safety of the subjects.



    58
         Id.




                                                   45
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          137.     On May 1, 2007, Mylan produced to FDA its proposed thalidomide safety

 protocols, which FDA reviewed, found “acceptable,” and so notified Mylan on September 11,

 2007.

          138.     On November 16, 2007, Mylan notified Celgene of FDA’s approval, which

 directly addressed Celgene’s pretextual justification for not providing samples. Celgene’s senior

 executives and officers all admit that FDA is the ultimate authority on setting safety standards.

 Yet Celgene continued to deny Mylan’s and others’ requests for drug samples for BE testing,

 using pretextual and obviously flawed safety concerns as its chief justification.59

          139.     Undeterred, Mylan continued to make requests over the next three years,

 including on December 4, 2007. Celgene continued to refuse to produce Thalomid samples,

 using delay tactics including requiring Mylan to produce burdensome, irrelevant, and duplicative

 information. Meanwhile, Celgene internally admitted that another prospective ANDA filer’s

 request was “deficient in a way that the Mylan request is not.”

          140.     On January 8, 2008, Celgene wrote Mylan requesting more information. Mylan

 responded on February 25, 2008 writing that it was prepared to provide all requested information

 and enclosed a confidentiality agreement. Celgene and Mylan negotiated the confidentiality

 agreement until June 24, 2008, when Celgene sent Mylan the executed agreement. Mylan sent

 Celgene another letter providing even more information and provided Celgene with proof of

 liability insurance covering any instances of injury relating to the drug’s misuse, and further

 provided an indemnity contract.




     59
         On April 21, 2000, FDA sent Celgene a “Warning Letter” stating that “Celgene has engaged in promotional
 activities that state or suggest that Thalomid is safe and effective for use in treating multiple myeloma.” With no
 generics on the horizon, Celgene was willing to play fast and loose with the safe distribution of Thalomid so long as
 it ensured increased utilization and increased profits.




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        141.    This contract, which was extensively negotiated, agreed to hold Celgene harmless

 in the event of any injury or misuse.

        142.    Celgene wrote Mylan on August 1, 2008 that it was reviewing Mylan’s

 documentation. Celgene’s then-Regulatory Counsel testified that as of March 4, 2011, no

 “business people” at Celgene reviewed any of Mylan’s documentation. Confoundingly, Celgene

 served an interrogatory response in an FTC investigation that two former CEOs, Sol Barer and

 Robert Hugin, “made the decisions on behalf of Celgene regarding Celgene’s responses to

 pharmaceutical companies requesting to purchase Revlimid® and Thalomid® with legal advice

 from Celgene’s Deputy General Counsel and then-Regulatory and Compliance Counsel.” The

 referenced in-house counsel later testified in a separate litigation that they did not have any input

 into the requests and could not recall reviewing a single response to one of the information

 requests submitted to Celgene or sitting in a meeting in which a response to a prospective ANDA

 filer’s request was discussed. Upon information and belief, Celgene lied to the FTC in its

 interrogatory response.

        143.    Celgene wrote Mylan in a June 24, 2009 letter that there were “outstanding

 issues” with the information Mylan provided and requested nine additional categories of

 information. An internal Celgene email dated May 22, 2009 contained a project titled

 “Thalidomide Multiple Myeloma.” The summary of the project stated “A generic thalidomide

 application was successfully delayed until at least June ’09 in the USA. Celgene may further

 extend its exclusivity in the USA by using bioequivalence as a generic defense strategy….”

 Celgene’s own emails show that it was never truly concerned with the safe distribution of its

 drugs, but rather used safety as a pretextual justification to prevent generic competition.




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           144.     Celgene’s refusal to sell Mylan samples, despite the existence of liability

 insurance and an indemnity contract, is further evidence Celgene was unwilling to negotiate in

 good faith with generic manufacturers to provide the requested drugs. This Court previously

 held, based on these facts, that one could reasonably infer “that Celgene had no objectively

 legitimate business justification for not selling Mylan samples of Thalomid® or Revlimid®

 samples after FDA approval of Mylan’s study protocols.”60

           145.     Celgene’s refusal to supply Mylan and other competitors with samples prompted

 government investigations and persistent condemnation, which occurred concurrent to Mylan’s

 commercial and legal attempts to secure samples, as described more fully below. FDA issued

 official clarifications that REMS programs should not be used for anticompetitive reasons,61 and

 specifically included Revlimid and Thalomid on a publicly published list of brand-name drugs

 that had been the target of complaints that their NDA-holder (or manufacturer) is and/or had

 been denying access to samples of RLDs when generic companies seek to buy them.62 The

 Connecticut Attorney General’s office initiated an investigation into Celgene’s alleged REMS

 abuse relating to Revlimid and Thalomid, and wrote in January 2013 that Celgene’s responses to

 its REMS abuse inquiry “ha[ve] raised serious concerns in my office that, notwithstanding its

 claims to the contrary, Celgene is not truly willing to sell Revlimid samples in a manner that

 would allow the BE testing necessary for a competitor to submit an ANDA….Celgene’s current


     60
          Mylan Pharma Inc. v. Celgene Corp., No. 14-cv-2094, ECF No. 287, 35 (D.N.J. Oct. 3, 2018).
     61
       See Center for Drug Evaluation and Research, FDA, Risk Evaluation and Mitigation Strategy (REMS) Public
 Meeting (July 28, 2010), at 270-71 (statement by Jane Axelrad, Associate Director of Policy, Center for Drug
 Evaluation and Research).
     62
         FDA received numerous access inquiries for Celgene’s Thalomid, Revlimid, and a third drug not subject to
 this Complaint, Pomalyst (pomalidomide). The list documents that FDA received ten inquiries related to Thalomid,
 thirteen inquiries related to Revlimid, and eight inquiries related to Pomalyst. FDA issued at least four safety letters
 for Revlimid, including on July 21, 2012, May 19, 2014, February 22, 2017, and August 15, 2017. FDA issued
 safety letters for Thalomid on December 12, 2007, and January 17, 2008.




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 actions raise the specter that the discussions have been nothing but an artifice to continue to

 allow Celgene to delay the development of a generic alternative to Revlimid.”63 Additionally, as

 mentioned above, the FTC investigated and served interrogatories on Celgene regarding its

 REMS abuse, wrote an amicus brief in support of Mylan’s antitrust suit against Celgene, and

 later began to regularly testify before Congress raising the alarm regarding REMS abuse by

 Celgene and others,64 and ultimately submitted statements to the Department of Health and

 Human Services (“DHHS”) urging action.65

          146.     Mylan estimates that had Celgene provided it with Thalomid samples in 2006, it

 would have filed a Paragraph IV Certification, Celgene would have initiated a patent

 infringement litigation and Mylan could have ultimately entered the thalidomide market in the

 third quarter of 2010.

          147.     By June 2007, Mylan began to develop its generic Revlimid. In internal emails

 from September 2007, Mylan planned to file its ANDA on December 27, 2009, was actively




     63
         See e.g., Exhibit to MSJ Opp., Doc. No. 285-21 (“[d]espite clear guidance from both Congress and FDA that
 drug firms should not use REMS programs to block or delay generic or biosimilar competition, complaints about
 abuse of the regulatory process persist . . . One study estimates that Americans have lost $5.4 billion in annual
 savings due to delays in accessing drug samples caused by REMS misuse and other non-FDA mandated restricted
 distribution programs.”).
     64
         Antitrust Concerns and FDA Approval Process, Prepared Statement Markus H. Heier, Bureau of
 Competition, Federal Trade Commission before the Subcommittee on Regulatory Reform, Commercial and
 Antitrust Law, Judiciary Committee, United States House of Representatives, Washington, D.C. (July 27, 2017),
 https://www.ftc.gov/public-statements/2017/07/prepared-statement-federal-trade-commission-antitrust-concerns-
 fda; Oversight of the Enforcement of the Antitrust Laws, Prepared Statement of the Federal Trade Commission
 before the Subcommittee on Antitrust, Competition Policy and Consumers Rights, Judiciary Committee, U.S. Senate
 (Oct. 3, 2018).
     65
        Blueprint to Lower Drug Prices and Reduce Out-of-Pocket Costs, Statement of the Federal Trade
 Commission to the U.S. Department of Health and Human Services (July 16, 2018), available at
 www.ftc.gov/system/files/documents/advocacy_documents/statement-federal-trade-commission-department-health-
 humanservices-regarding-hhs-blueprint-lower/v180008_commission_comment_to_hhs_re_blueprint
 _for_lower_drug_prices_and_costs.pdf. (“[b]y improperly blocking the product developer from obtaining samples,
 the branded manufacturer can potentially delay or indefinitely block generic or biosimilar competition to its product,
 thereby reducing the competition that Congress specifically sought to facilitate via the Hatch-Waxman Act . . . .”).




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 sourcing raw materials, had opinions on the blocking compound patents, and planned to design

 around the formulation patent.

            148.    In early 2009, Mylan endeavored to purchase lenalidomide supplies to

 manufacture a generic version of Revlimid. Celgene engaged in more delay tactics, causing

 Mylan to cease development efforts at various points while it attempted to procure Revlimid

 samples. Mylan manufactured its final lenalidomide formulation in June 2015.

            149.    In June 2010, in response to FTC interrogatories, Celgene explained to the FTC

 that “Celgene has decided not to sell REVLIMID® at the present time to manufacturers.”66

            150.    Over two years later, through its counsel, Celgene wrote to the FTC that it was

 willing to “continue selling Thalomid and begin to sell Revlimid to drug companies, branded or

 generic, in quantities authorized by FDA sufficient to conduct bio equivalence studies for the

 purpose of preparing an Abbreviated New Drug Application [ANDA] with FDA.”67 Celgene, at

 no point prior to this email, ever sold Thalomid to generic drug companies to support BE studies

 for the purpose of preparing ANDAs. Celgene’s letter continued: “[Celgene would] seek to set

 appropriate conditions with FDA for the sale of Revlimid similar to those it has set for the sale of

 Thalomid . . . .”

            151.    On August 14, 2012, Celgene wrote FDA claiming that the FDCA does not

 require an RLD sponsor to provide drug product to a proposed ANDA filer, and that FDA does

 not have authority to mandate any such requirement. Celgene even threatened that “any sale of




     66
          Exhibit to MSJ Opp., Doc No. 286-4.
     67
          Id.




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 Revlimid to a generic manufacturer will not be effectuated unless and until the FTC and the State

 of Connecticut Attorney General agree to close their investigation.”68

          152.     On May 1, 2013, Mylan requested to purchase Revlimid samples from Celgene at

 market value. On May 14, 2013, Celgene wrote to Mylan that it would sell Revlimid to Mylan

 upon Celgene’s review of Mylan’s request and supporting documentation.

          153.     While not required to do so, Mylan sought FDA approval of its proposed safety

 protocols to avail itself of any assistance FDA might be able to offer in procuring Revlimid

 samples. FDA approved Mylan’s protocols on July 29, 2013.

          154.     On March 11, 2014, Mylan wrote to Celgene explaining that it received all

 necessary FDA approvals. Celgene continued to refuse to provide samples, even, once again,

 after being informed of FDA approval for the proposed BE testing and safety protocols.

          155.     On March 20, 2014, Celgene again wrote to Mylan refusing to sell Mylan

 Revlimid samples. Exasperated with Celgene’s tactics, Mylan brought a suit on April 3, 2014

 against Celgene under federal and state antitrust laws for its anticompetitive tactics to maintain

 monopoly power in the market for Thalomid and Revlimid.

          156.     Mylan alleged that Celgene cited safety concerns as a pretext for its continued

 refusal to provide samples of Thalomid and Revlimid, and that Celgene used a “playbook of

 obstruct[ion]” and “gam[ed] the regulatory system.”69

          157.     On May 19, 2014, FDA notified Celgene that it accepted Mylan’s submitted

 lenalidomide safety protocols and reiterated the FDCA’s prohibition of using REMS to prevent

 ANDA filers from accessing drug samples.



    68
         Exhibit to MSJ Opp., Doc No. 285-15.
    69
         Mylan Pharma Inc. v. Celgene Corp., No. 14-cv-2094 (D.N.J. Apr. 3, 2014), Dkt. No. 1 ¶8.




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           158.    The FTC filed an amicus brief in support of Mylan’s suit against Celgene. The

 FTC noted that FDAAA was intended to prevent brand-name manufacturers from using REMS

 programs to impede generic competition, as Celgene was doing with Thalomid and Revlimid.

           159.    Further, in August 2012, the FTC sent counsel for Celgene an email detailing “a

 number of questions [raised] by the Bureau of Competition and the staff of the Connecticut

 Attorney General’s office.”70

           160.    These concerns included questions surrounding why Celgene had yet to provide

 samples of Thalomid to those requesting it, despite receiving explicit authorization from FDA to

 do so.

           161.    The letter also questioned what else Celgene would need to receive in order to

 authorize the sale of Revlimid to generic manufacturers: “in the interest of advancing our

 discussions and trying to reach a prompt resolution with you, we propose the FTC and Celgene

 meet together with FDA . . . to discuss what Celgene thinks it needs from FDA in order to be

 able to make prompt sales to generic firms.”71

           162.    The FTC’s Bureau of Competition (“BOC”) followed up on this letter with

 another round of correspondence in February 2013.

           163.    In a letter to Celgene’s counsel, Richard A. Feinstein, the director of the BOC

 stated “that there is a lot of concern here—at both the Bureau and Commission levels—about the

 time it has taken for your client to [redacted] of Revlimid capsules for bio-equivalence

 testing…the Commission’s patience is wearing thin. We have reached a point where the staff

 may be instructed in the very near future to commence litigation.”



    70
         Exhibit to MSJ Opp., Doc No. 285-16.
    71
         Id.




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           164.    Counsel for Celgene quickly forwarded this email to Celgene executives.

           165.    Most of Mylan’s claims survived Celgene’s motion to dismiss. Celgene

 subsequently filed its motion for summary judgment. On October 3, 2018, Celgene’s motion

 was granted-in-part and denied-in-part.72

           166.    One of Mylan’s expert witnesses in that litigation, Paul J. Jarosz, Ph.D., testified

 that Mylan’s development process was typical for the pharmaceutical industry and that “[h]ad

 Mylan been able to purchase Thalomid so that it could dose its bioequivalence studies and

 receive an approval for its generic drug application, Celgene’s ’012 Patent and claim 2 of its

 ’327 Patent would not have prevented Mylan from launching its generic thalidomide product as

 the claims are invalid due to prior art and/or Mylan’s formulation does not infringe them.”73

           167.    Regarding generic Revlimid, Dr. Jarosz stated that “based on the simple nature of

 Revlimid and Mylan’s previous experience developing thalidomide, it appears that Mylan could

 have developed and filed an application for generic lenalidomide product by December 27,

 2009.”74

           168.    Dr. Jarosz’s report confirms that the inability of generic drug manufacturers to

 bring versions of Revlimid and Thalomid to market was not due to internal issues or

 manufacturing defects. Instead, his report reinforces the fact that the only barrier to entry in the

 market was Celgene’s conduct.

           169.    Mylan never received Revlimid samples, further indicating that Celgene’s refusal

 based on safety concerns was and continues to be a pretext used to exclude competition.



    72
         Mylan Pharma Inc. v. Celgene Corp., No. 14-cv-2094, ECF No. 287, 35 (D.N.J. Oct. 3, 2018).
    73
         Exhibit to MSJ Opp., Doc No. 285-21.
    74
         Id.




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           170.   On August 1, 2019, Celgene announced that it reached a settlement with Mylan.

 On August 8, 2019, the District Court entered a consent judgment dismissing all claims with

 prejudice. Celgene disclosed that it agreed to pay $62 million to resolve all claims.

           171.   Due to Celgene’s delay tactics, Mylan was not able to file an ANDA for generic

 lenalidomide and serve its Paragraph IV notice until November 2019. See infra, Part VII.E.i.5.d.

 But for Celgene’s anticompetitive scheme, Mylan would have launched a generic competitor.

                          (1)      Mylan’s Strong Safety Protocols Confirm and Illustrate the
                                   Pretextual and Unlawful Nature of Celgene’s Refusal to Sell
                                   Samples to Would-Be Competitors

           172.   Mylan’s experience with the REMS process was robust and extensive, and it

 would have had no issues implementing one for generic thalidomide and lenalidomide.75 As

 another expert hired by Mylan in its lawsuit against Celgene, Jeff Fetterman, opined, “Mylan has

 extensive experience developing, implementing, and managing risk management programs,

 including several REMS programs with the same or similar restrictions and requirements as the

 S.T.E.P.S. and RevAssist programs.”76 Mr. Fetterman continued and stated “[i]f Celgene had

 provided brand samples to Mylan and cooperated in developing a shared REMS program for

 thalidomide, the SS REMS development and FDA approval likely would have taken 18 to 24

 months. Furthermore, this estimate may be conservative, as an alternative parallel agreement to

 sign onto the S.T.E.P.S. program would have taken even less time, possibl[y] in as few as 12

 months. All of this work could have begun in advance of Mylan’s ANDA approval….”77 Mr.

 Fetterman’s report details further how Celgene’s refusal to provide drug samples due to




    75
         Exhibit to MSJ Opp., Doc No. 286-2.
    76
         Id.
    77
         Id.




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 noncompliance with REMS procedures was a misdirection and stall tactic that was not based in

 truth or fact.

         173.     By contrast, Mylan’s discussions with Sofgen Pharmaceuticals (“Sofgen”)

 surrounding the purchase of Mylan’s Amnesteem show that receiving an FDA approval letter

 removes any perceived roadblocks to sharing a drug sample for BE testing. In September 2011,

 Sofgen contacted Mylan regarding the potential purchase of Amnesteem for BE testing, a known

 human teratogen under FDA restriction for sale and delivery. Prior to contacting Mylan, Sofgen

 reached out and received a letter from FDA confirming its iPLEDGE safety restrictions and

 procedures were adequate under current FDA guidelines to receive a human teratogen. Mylan

 and Sofgen entered into successful negotiations, drafted an indemnity agreement, and discussed

 the purchase price and the method for payment and delivery. The sale was completed, and

 samples were delivered to Sofgen in Spring 2013. Mylan’s contract with Sofgen shows the

 process for obtaining generic drug samples can be completed in a short timeframe, and without

 the unnecessary and burdensome documentation Celgene requested from numerous generic

 manufacturers.

                  c.     Celgene Refused to Sell Samples to Exela

         174.     On May 31, 2006, Exela contacted Celgene and informed it of Exela’s intention

 to file an ANDA for Thalomid. Exela stated it was having difficulty obtaining samples of this

 drug from other channels, much like the other generic manufacturers who had contacted

 Celgene. Exela requested a proposal for purchase within 10 days.

         175.     On June 27, 2006 Exela sent a follow-up letter to Celgene again requesting to

 purchase Thalomid samples. In its letter, Exela noted the 10-day window for a purchase

 proposal had lapsed despite being received the day after it was sent.




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        176.    On September 11, 2007, OGD wrote to Exela that its “proposed bioequivalence

 study protocol comparing Thalidomide Capsules, 200 mg to [Thalomid] is acceptable . . . .”

        177.    On December 11, 2007, OGD Director Gary J. Buehler sent a letter to Celgene’s

 internal regulatory counsel, Kerry Rothschild stating that “FDA has reviewed the bioequivalence

 protocol submitted . . . on behalf of Exela and has received sufficient assurance that the

 bioequivalence study will be conducted in such a manner as to ensure the safety of the subjects

 and has determined that Celgene may provide Exela with 500 units of Thalomid as indicated in

 FDA’s letter to you dated February 8, 2007 for the purposes of conducting an in vivo

 bioequivalence study and in vitro dissolution testing.”

        178.    Over a year later, on January 8, 2008, counsel for Celgene contacted counsel for

 Exela regarding the Thalomid purchase request.

        179.    In a response almost identical to ones given to other generic manufacturers,

 Celgene stated it did not believe it was obligated to turn over any samples. However, it

 continued, if Exela were to comply with a list of 10 demands for information, including, for

 example, proof of liability insurance and a history of product loss due to improper handling or

 tracking, Celgene would then “reconsider” its denial. Upon information and belief, Celgene

 never provided Exela with the requested samples of Thalomid.

                d.      Celgene Refused to Sell Samples to Lannett

        180.    On September 6, 2006, Lannett wrote a letter to FDA requesting BE

 recommendations regarding thalidomide capsules.

        181.    FDA’s OGD responded to Lannett’s letter on February 12, 2007. The OGD

 stated that “it is not the agency’s intention to permit the restrictions of the S.T.E.P.S. program to

 prevent manufacturers of generic drugs from obtaining Thalomid for use in the bioequivalence




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 testing necessary to obtain approval of an abbreviated new drug application for a thalidomide

 product.”

        182.    The OGD commented that, to ensure Congress’ intentions in enacting the Generic

 Drug Approval Provisions in Section 505(i) are carried out, “FDA has notified Celgene that the

 agency intends to exercise its enforcement discretion to permit Celgene to provide to another

 drug manufacturer (or its agent) 500 units of Thalomid . . . for the purpose of conducting

 bioequivalence testing.”

        183.    On February 8, 2007, FDA notified Celgene that “a study protocol would be

 reviewed by FDA to ensure that all appropriate safeguards for a clinical investigation with

 thalidomide are in place” if a proposed generic manufacturer wished to conduct BE studies.

 FDA explained that it would “exercise its enforcement discretion to permit Celgene to provide to

 another drug manufacturer (or its agent) 500 units of Thalomid for the purpose of conducting

 [BE] testing, when Celgene has received confirmation in writing from the sponsor, its agent, or

 FDA that the sponsor of the study either has an IND in effect for the study or has otherwise

 provided the agency with sufficient assurance that the [BE] study will be conducted in such a

 manner as to ensure the safety of the subjects.”

        184.    FDA’s letter also requested Celgene submit a supplement to its own Thalomid

 NDA to the same effect. Celgene failed to submit this supplement, evidencing its own disregard

 for safety, non-monetarily incentivized circumstances.

        185.    Nevertheless, Celgene’s then-regulatory counsel Kerry Rothschild testified that

 FDA’s February 8, 2007 letter did not fully assuage Celgene’s worry that a fetal exposure and

 birth of a baby with thalidomide-recognizable defects would have consequences to the value of




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 Celgene’s business.78 Celgene Chief Executive Officer, Mark Alles, testified in 2016 that of the

 small number of fetal exposures to Thalomid between its development and 2016, the exposures

 “had minimal impact on the business as far as I know . . . .”79

             186.     In a July 26, 2007 letter to Celgene, Arthur P. Bedrosian, President and CEO of

 Lannett, wrote:

                      In order to complete our bio-study, FDA has instructed us to
                      purchase 250 Thalomid 200 MG Capsules from you. We kindly
                      request information as to how to best carry out this transaction. We
                      will be happy to supply a purchase order once you provide us with
                      the total product cost. Submitted with this document, you will find
                      the appropriate licenses necessary for us to purchase the product
                      from you. We kindly ask that you inform us of any additional
                      information you will need to complete this transaction.

             187.     Upon information and belief, in September 2007, Lannett faxed to Celgene’s

 Darnell Ragland, Manager, Customer Care of Celgene, a requested copy of the February 12,

 2007 FDA letter, which authorized Lannett to acquire Thalomid supplies from Celgene.

             188.     Celgene continued to refuse Lannett’s request. Celgene even went as far as

 actively screening any communication from Lannett directed towards Celgene regarding requests

 for samples of Thalomid.

             189.     In a September 28, 2007 internal email (only made publicly available in redacted

 form in 2018), a Celgene training alert ordered employees “DO NOT PROCESS THE

 ORDER” (emphasis in original) if a generic company calls or writes requesting to order

 Thalomid. Instead, the call center employees were directed to log the call, advise that a

 management team member would return the call, and to never transfer the call to someone higher

 up.


       78
            Exhibit to MSJ Opp., Dkt. No. 285-1 at 36-27.
       79
            Exhibit to MSJ Opp., Dkt. No. 286 at 185-186.




                                                            58
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          190.     Employees were further instructed to forward any similar correspondence via fax

 to one of their supervisors.

          191.     Then, on October 18, 2007, Lannett wrote a letter to Mr. Ragland reiterating

 Lannett’s request so that it could conduct BE testing needed to obtain approval to market its

 generic thalidomide.

          192.     On January 8, 2008, Celgene advised Lannett that it would not provide samples of

 Thalomid to Lannett. Rather, Celgene requested Lannett produce voluminous and unnecessary

 documentation in order for Celgene to “reconsider” the request.

          193.     On January 14, 2008, Lannett filed a complaint against Celgene seeking, among

 other things, mandatory injunctive relief requiring Celgene to provide samples of Thalomid as

 contemplated by the February 12, 2007 FDA letter.80 The case was dismissed without prejudice.

          194.     Lannett then provided almost all of the information that Celgene requested except

 its highly confidential FDA Form 483 inspection reports, which relate to the routine inspection

 of manufacturing facilities, given that the Thalomid samples Lannett requested would not be

 used for manufacturing, but rather for BE studies that it would perform overseas.

          195.     Lannett submitted its proposed study for FDA review and received approval on

 August 11, 2008.

          196.     Lannett refiled its Complaint on August 15, 2008 alleging violations of the

 Sherman Act and seeking injunctive relief. Celgene filed its motion to dismiss on November 4,

 2008. Celgene sought, in the alternative, a stay of the action pending resolution of its Citizen




    80
         Lannett Company, Inc. v. Celgene Corp., No. 08-cv-0233. (E.D. Pa.).




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 Petition. Celgene argued that it had no obligation to sell Lannett samples because it believed that

 there should be no generic competition for Thalidomide in the United States at all.81

          197.     While the motion to dismiss was pending, the parties reached a settlement

 agreement for Celgene to provide Lannett with samples in July 2009. When Celgene continued

 to decline to supply the samples, litigation renewed, with Celgene renewing its arguments that

 there should be no generic competition for Thalidomide.

          198.     Celgene’s motion to dismiss or stay the proceeding was summarily denied

 without prejudice on May 13, 2010,82 and again summarily denied on March 31, 2011.83

          199.     A week before summary judgment briefs were due, the court held a settlement

 conference on December 1, 2011, at which Celgene reached a confidential settlement with

 Lannett and the action was dismissed.

          200.     Celgene reached a confidential settlement with Lannett in 2011.

          201.     In its 2012 Annual Report, Lannett stated that “a sizable portion of our fiscal 2013

 R&D budget is earmarked for two large market opportunity projects, C-Topical and

 Thalidomide.” Its 2013 Annual Report stated that Lannett “successfully passed critical

 milestones for submitting a product application for Thalidomide.” As discussed below, Lannett

 eventually filed a thalidomide ANDA in late 2014.

          202.     Upon information and belief, the settlement between Celgene and Lannett may

 have contained anticompetitive terms, such as a promise to delay submission of the ANDA.




    81
         Motion to Dismiss, Lannett Co., Inc. v. Celgene Corp., No. 08-cv-3920, ECF No. 12 (E.D. Pa. Nov. 4, 2008).
    82
         Order, Lannett Co., Inc. v. Celgene Corp., No. 08-cv-3920, ECF No. 27 (E.D. Pa. May 13, 2010).
    83
         Order, No. 08-cv-3920, ECF No. 42 (E.D. Pa. Mar. 31, 2011) (denying renewed motion to dismiss).




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          203.     The anticompetitive effect of Celgene’s conduct was to delay Lannett’s ANDA.

 Though Lannett began requesting Thalomid samples in 2006, it was unable to obtain such

 samples due to Celgene’s delay until at least after December 2011 and did not file its ANDA

 until 2014, at which time Celgene filed a sham patent litigation, discussed below, all to delay

 Lannett’s thalidomide product. As of today, there is no generic thalidomide on the market.

                   e.      Celgene Refused to Sell Samples to Dr. Reddy’s

          204.     Dr. Reddy’s is a prescription drug manufacturer based in Telengana, India. It has

 been developing generic prescription drugs for sale in the United States since 1994.

          205.     Dr. Reddy’s requested samples of Revlimid from Celgene to perform BE testing

 in August 2008. Celgene did not reply to this request.

          206.     Dr. Reddy’s repeated its request in December 2008. Celgene offered a single

 sentence reply in January 2009: “Celgene has no obligation to supply Dr. Reddy’s with Revlimid

 and declines to do so.”

          207.     In its request to Celgene, Dr. Reddy’s assured Celgene any testing it performed

 would comply with FDA guidelines, using methods similar to Celgene’s REMS program known

 as RevAssist to insure proper handling of the subject drugs.84

          208.     Dr. Reddy’s filed a citizen petition with FDA in June 2009, alleging that Celgene

 was refusing to provide samples to a generic drug manufacturer to perform BE testing.

          209.     Celgene once again premised its refusal on its REMS program, despite FDA’s

 previous guidance.

          210.     In 2016, Dr. Reddy’s filed an ANDA for a generic lenalidomide product. As

 discussed below, Celgene then sued Dr. Reddy’s claiming patent infringement.


    84
         Exhibit to MSJ Opp., Doc No. 285-6.




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                f.     Celgene Refused to Sell Samples to Teva

        211.    Teva requested a total of 5,000 Revlimid Capsules in 5, 10, 15, and 25 mg

 dosages from Celgene to perform BE testing in March 2009.

        212.    In its letter to Celgene, Teva stated that its “. . . procedures for conducting any

 required testing involving lenalidomide and the Revlimid drug product provided by Celgene

 Corporation will fully comply with FDA requirements. Teva’s controls with respect to

 lenalidomide will be comparable to the RevAssist program.”

        213.     In April of 2009, Celgene responded to Teva’s request, and in a one sentence

 reply, stated “[t]his letter is to inform you that your request for 5,000 capsules of REVLIMID

 (lenalidomide) in varying strengths is declined.”

        214.    Celgene’s refusal to provide Teva with samples of Revlimid follows a similar

 course of conduct as with refusals to other generic pharmaceutical companies.

                g.     Celgene Refused to Sell Samples to Watson

        215.    In June of 2009, much like the other generic manufacturers described above,

 Watson contacted Celgene to acquire samples of Revlimid and Thalomid for BE testing.

        216.    In its request, Watson assured Celgene the process by which it would handle the

 samples of these drugs would fully comply with a restricted distribution system similar to

 RevAssist.

        217.    Furthermore, Watson assured Celgene that FDA guidelines would be followed,

 and no drug would be distributed in violation of these guidelines, which would have been

 unlikely to happen given Watson’s vast experience and expertise in the generic drug

 manufacturing market.

        218.    In July 2009, despite Watson’s assurances that the requested samples would be

 handled in a safe, effective, and FDA-compliant manner, Celgene responded with a list of 10



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 pieces of evidence and documentation Watson would need to provide before Celgene would

 consider Watson’s request. Celgene indicated it would respond to Watson’s request for

 Revlimid in a separate letter.

            219.   Tellingly, Celgene did not say satisfying these 10 requirements would facilitate a

 prompt sale of the samples, merely that at that time Celgene would “consider” it.

            220.   Upon information and belief, like the generic manufacturers before and after,

 Watson was unable to obtain the samples of Revlimid and Thalomid it requested, with no logical

 reason provided.

                   h.     Celgene Refused to Sell Samples to Sandoz

            221.   In May of 2012, much like the other generic manufacturers described above,

 Sandoz contacted Celgene attempting to acquire samples of Revlimid and Thalomid for BE

 testing.

            222.   In response, Celgene refused to provide the samples, and instead listed nine

 prerequisites Sandoz had to satisfy before it would consider selling the requested samples.

            223.   These prerequisites included that Sandoz provide “Proof of liability insurance

 sufficient to cover events associated with thalidomide and lenalidomide,” “[p]olicies for

 biohazard handling, disaster recovery plans as well as the storage and use of teratogenic

 products,” and “[w]ritten confirmation that an IND is in effect or a study protocol . . . has been

 approved by FDA.”

            224.   Like its correspondence with other generic manufacturers wishing to obtain drug

 samples, Celgene referenced the REMS procedures as a reason it could not immediately supply

 Sandoz with samples, despite FDA approval of Sandoz’s procedures.

            225.   Upon information and belief, like the generic manufacturers before it, Sandoz was

 unable to obtain the samples of Revlimid and Thalomid it requested.



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        226.    Celgene has provided Revlimid and/or Thalomid to no generic manufacturer.

        2.      Celgene Had No Legitimate Business Justification for Refusing Samples to
                Would-Be Competitors Because Its Safety Concerns Were Pretextual

        227.    While Celgene refused to supply any potential ANDA sponsor the necessary and

 required samples of Revlimid and/or Thalomid based on safety concerns, it authorized its

 competitive intelligence firm, GBMC, to purchase, handle, and transfer thalidomide with no

 safety training required.

        228.    In 2003, Celgene authorized GBMC to purchase thalidomide API from a

 European supplier, Alan Pharmaceuticals. In fact, GBMC was authorized by Celgene to use

 undercover purchases to obtain samples of thalidomide API from various API suppliers. In an

 undated letter, GBMC detailed the sequence of events it used to acquire, at Celgene’s request,

 thalidomide samples outside the normal chains of distribution. This sequence included falsifying

 prescriber names and permitting GBMC (a non-pharmaceutical company with no experience in

 handling teratogenic drug product) to handle thalidomide samples, all without a formal tracking

 mechanism. Celgene’s Senior Director of Market Research testified in a previous litigation that

 he did not notify Celgene’s legal department of these undercover purchases, that Celgene did not

 do background checks on individuals that would be handling the drug product, and that he could

 not recall whether the purchased product was in its proper packaging when Celgene received it,

 or who at Celgene received it.

        229.    These Celgene authorized transactions did not comport with any safety protocol.

        230.    Celgene willingly and frequently provided access to Revlimid and Thalomid to

 non-competitor research organizations, outside the REMS process and without FDA guidance or

 approval for the safe handling of the drug products, for the purpose of conducting clinical

 studies.




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          231.    Celgene provided Revlimid for at least 3,600 different research and

 investigational studies all of which operated outside the REMS process. Celgene similarly

 provided Thalomid for over 100 investigator-initiated trials (“IIT”).85

          232.    For example, Celgene provided Revlimid and Thalomid to the Johns Hopkins

 School of Medicine for clinical trials and provided Revlimid to Intergroupe Francophone du

 Myelome, University Hospital of Toulouse, and Groupe Francophone Des Myelodysplasies, as

 well as the National Cancer Institute, Eastern Cooperative Oncology Group, Mayo Clinic, and

 MD Anderson Cancer Center in Houston, TX.

          233.    An IIT process is initiated when an investigator submits a Letter of Intent (“LOI”)

 outlining a proposal. The brand company, here Celgene, then reviews the proposal. Celgene

 testified that it tried not to review the full protocol, but rather would typically review a simplified

 synopsis, along with the nature of the request, the budget, and the amount of drug requested.

 The request, typically adjudicated within two months, does not require in-house counsel

 assistance. Celgene has never denied an IIT proposal due to fetal exposure safety concerns.

          234.    After approving an IIT proposal, Celgene works with the investigator to draft a

 study protocol and consent form which then is submitted to FDA for approval. In this specific

 context, Celgene had admitted that FDA’s approval gives Celgene confidence in the safety of the

 trial. Celgene then supplies Revlimid or Thalomid to the investigator to initiate the study.




     85
        IITs are clinical studies initiated and managed by non-pharmaceutical company researchers, such as
 individual investigators, institutions, collaborative study groups, cohorts or physicians.




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 B.     Celgene Induced API Suppliers into Anticompetitive Exclusive Contracts to Exclude
        Competing Generic Manufacturers from Accessing API Needed to Develop
        Revlimid and Thalomid

        235.     As part of its multi-faceted and decades long scheme to unlawfully monopolize

 the markets for Revlimid and Thalomid, Celgene not only refused to sell samples to competitors,

 it also executed exclusive contracts with ingredient suppliers designed to delay competitors from

 obtaining the needed resources to file an ANDA. As Celgene could not exhaust API supply from

 these suppliers, the exclusivity provisions had no business justification and were executed

 entirely to deny competitors access to API, thereby foreclosing generic entry into the Revlimid

 and Thalomid markets. On information and belief, Celgene prevented Barr Laboratories, Inc.

 (“Barr”), a generic drug manufacturer, from obtaining API supply from Seratec, and Cigna

 believes that after a reasonable opportunity for discovery it may uncover more anticompetitive

 exclusive contracts.

        236.     After FDA approved Celgene’s Thalomid, Barr sought to develop a generic

 version of thalidomide. In order to secure approval of an ANDA, a proposed generic

 manufacturer must designate the API manufacturer in the ANDA. The ANDA applicant must

 submit a Drug Master File (“DMF”) from the API supplier to FDA, which is evaluated with the

 ANDA.

        237.     In approximately 2004, Barr succeeded in procuring thalidomide API from

 Seratec S.A.R.L. (“Seratec”), a French supplier, to develop a generic version of Thalomid by

 September 2005. Barr submitted its ANDA to FDA and was waiting to receive a DMF letter

 from Seratec.

        238.     Barr’s ANDA proposed a skinny label, only seeking approval for ENL, and not

 MM.




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          239.    While Barr and Seratec were finalizing negotiations, Celgene and Seratec entered

 into an exclusive supply agreement for thalidomide. Upon information and belief, Celgene

 demanded exclusivity from Seratec to interfere with Barr’s ability to market generic Thalomid.

          240.    Inducing this exclusivity agreement was a nakedly anticompetitive action

 undertaken by Celgene to ultimately delay and exclude Barr from entering the market for

 Thalomid. First, Celgene had a separate API supplier that independently was filling its own API

 supply needs and had sufficient supply to meet projected growth requirements. Second, Seratec

 itself had sufficient resources to meet all of Celgene’s needs without exhausting supply, leaving

 Seratec capable of supplying Barr, but for the exclusivity provision.

          241.    Due to Celgene’s anticompetitive scheme, Seratec would not supply Barr with its

 thalidomide API. FDA did not accept Barr’s ANDA due to deficiencies in providing a DMF

 from Seratec.86

          242.    Consequently, Barr was forced to find a different thalidomide supplier and repeat

 testing, causing it great expense and delay in launching generic thalidomide.

          243.    On February 27, 2006, Celgene’s competitive intelligence firm, GBMC, updated

 Celgene that Barr completed BE testing and was planning on filing a thalidomide ANDA in the

 second quarter of 2006 using API from either Antibioticos of Italy or Shilpa of India. GBMC

 noted that “[t]hese companies were being used to replace the Seratec API that Barr originally

 was using for its ANDA.”




     86
         It was unclear to Celgene how Barr acquired Thalomid samples for BE testing in 2005. In Celgene’s response
 to interrogatories in a separate litigation recently made public, Celgene noted “Celgene informed FDA of its belief
 that Barr had acquired Thalomid® capsules from a pharmacy in Astoria, New York in violation of the requirements
 of the S.T.E.P.S. program. FDA informed Celgene that it did not intend to ‘recapture’ these capsules from Barr, and
 that the manner in which Barr obtained Thalomid® for use in its bioequivalency testing would not affect FDA’s
 consideration of any subsequent ANDA with respect to thalidomide that Barr might file.”




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          244.     After securing a new supplier and performing new BE studies and validation

 testing, Barr submitted its thalidomide ANDA on September 22, 2006. The ANDA showed that

 Barr’s generic product was bioequivalent to Celgene’s Thalomid. FDA accepted Barr’s

 thalidomide ANDA for filing on December 4, 2006.

          245.     Celgene subsequently initiated a patent infringement lawsuit against Barr for its

 thalidomide ANDA, as discussed more thoroughly below, initiating an automatic 30-month stay

 of FDA’s approval of Barr’s ANDA.

          246.     GBMC predicted that Barr could be expected to receive FDA approval of its

 thalidomide ANDA in the first quarter of 2009.

          247.     In a May 2009 email between executives at Celgene, which contained the minutes

 of a previously held internal meeting, these executives discussed Barr’s attempt to market

 generic thalidomide in the USA.87

          248.     According to the minutes of the meeting: “Dianne Azzarello Regulatory Canada

 discussed possible ways to defend Thalidomide against generic infiltration in the USA. From

 her experience in working with generic drug providers she is of the opinion that [Celgene was]

 able to use bioequivalence as generic defense strategy. The team supports this notion. If generic

 companies have to effectively prove that they are at least equivalent to what Celgene has to offer

 including Celgene’s RiskMap before making product available on the market.”

          249.     The meeting participants also discussed paying for research and publishing

 research papers stating generic manufacturers’ version of Thalomid were not bioequivalent:

 “Diane Azzarello and Henry Lau are working with Dr. Iain McGilveray who will publish a paper

 providing evidence that many other formulations of thalidomide available are not bio equivalent


    87
         Exhibit to MSJ Opp., Doc. No. 284-4.




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 to Celgene’s Thalomid. We may also include our simple formulation and its chemical properties

 as rationale. Funding for this publication is estimated to be $40k $60k.”

        250.    These internal discussions are further evidence Celgene was not negotiating the

 sale of sample drugs to generic manufacturers nor executing contracts with exclusivity

 provisions with suppliers in good faith, instead seeking to foreclose generic entry into the

 markets for Revlimid and Thalomid.

 C.     Celgene’s Patents Ostensibly Protecting Revlimid are Subject to Strong Invalidity,
        Unenforceability, Non-infringement, and Improper Orange Book listing arguments.

        251.    Even when a generic manufacturer managed to obtain a sample of Thalomid or

 Revlimid, Celgene was still able to unlawfully block them from the market by obtaining and

 asserting invalid and improper patents. Celgene’s patents were subject to strong invalidity and

 unenforceability arguments, including as to key patents on which Celgene relied to exclude

 generic competition, namely the ‘517 compound patent and the polymorph patents.

        1.      The ’517 Compound Patent is Invalid as Obvious over the Prior Art.

        252.    The original, core patent for the composition of Celgene’s thalidomide-derived

 drugs is the ’517 Patent, filed in 1996. It expired on October 4, 2019. Thalidomide, the drug on

 which Revlimid is based, was first marketed in 1957. The innovations on which the ’517 Patent

 is based are obvious in light of the innovations and research conducted long before Celgene

 began its effort to bring Revlimid and Thalomid to market; thus, the ’517 Patent and the

 subsequent patents derived from it are invalid.

        253.    A person working in the relevant field would have identified thalidomide and its

 analogs as effective in treating a variety of conditions, including the reduction of TNFα levels. It

 would have been a natural choice to select EM-12 and/or 4-aminothalidomide as lead

 compounds for further development efforts, due to their favorable properties and the promise




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 both compounds had shown. A small, conservative change to either one of two lead compounds,

 EM-12 or 4-aminothalidomide, would result in lenalidomide. The conservative changes that

 would need to be made to EM-12 or 4-aminothalidomide (i.e., the addition of an amino group or

 the subtraction of an oxygen atom, respectively) would be motivated by a desire to improve

 stability and/or solubility. In making these small changes, one would have had a reasonable

 expectation of success in producing a compound with beneficial properties due in part to the

 close structural similarity of the lead compounds to the claimed compound.

          254.    EM-12 is structurally similar to lenalidomide, differing only in the presence of an

 amino group (NH2) at the 4-position of the phthalimidine ring.

                        EM-12                                                  Lenalidomide88




          255.    A person skilled in the art would be motivated to make the small structural change

 of adding an amino group to EM-12 at this particular location – a routine and easy change to

 make to the compound – as part of the standard steps in drug development and optimization.

          256.    4-aminothalidomide is structurally similar to lenalidomide, differing only in that

 lenalidomide has one fewer oxygen atoms than 4-aminothalidomide:




     88
         See Revlimid labeling information submitted by Celgene to the FDA at p. 5, available at
 https://www.accessdata.fda.gov/drugsatfda_docs/nda/2005/021880s000_Revlimid_Prntlbl.pdf




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                 4-aminothalidomide                                           Lenalidomide89




          257.     It has been well known in the scientific community for decades that thalidomide

 analogs have a tendency to undergo hydrolysis (i.e., degradation in the presence of water) and

 therefore one skilled in the art would have been motivated to make the well-known modification

 of subtracting the oxygen atom from this location to reduce the chance of hydrolysis and thereby

 promote stability. Indeed, the subtraction of an oxygen atom from this location is how one would

 obtain EM-12 from thalidomide, with the resulting compound having a superior stability profile

 as compared to thalidomide.

          258.     Taking into account: the structural similarity of the lead compounds (EM-12 and

 4-aminothalidomide) to lenalidomide; the teachings of the prior art regarding known

 modifications to improve the compound’s chemical properties (e.g., stability and solubility); the

 small, conservative changes at issue (i.e., either the addition of an amino group or the subtraction

 of a single oxygen atom); and the totality of the prior art on thalidomide analogues (including

 EM-12 and 4-aminothalidomide specifically), a person skilled in the art would have been

 motivated to make the conservative changes at the specified locations with a reasonable




     89
         See Revlimid labeling information submitted by Celgene to the FDA at p. 5, available at
 https://www.accessdata.fda.gov/drugsatfda_docs/nda/2005/021880s000_Revlimid_Prntlbl.pdf




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 expectation of success in creating a compound with beneficial properties. The ‘517 claim for the

 lenalidomide compound is obvious in light of the prior art and therefore invalid.

         2.      Celgene Misled the PTO During the Reexamination of the ‘517 Compound
                 Patent, Rendering it Invalid and/or Unenforceable.

         259.    A review of the Re-examination of the ’517 Patent during patent prosecution

 illustrates its invalidity and Celgene’s unlawful methods of procuring patents while constructing

 its patent thicket.

         260.    The ’517 has ten claims. Claims 1 – 9 claim methods-of-use as to six compounds.

 In contrast to this method of treatment claim, Claim 10 of the ’517 claims four compounds,

 including lenalidomide. One of the method of treatment claims (Claim 8) pertains to

 pomalidomide. However, pomalidomide is not one of the compounds claimed in Claim 10 of the

 ’517.

         261.    On April 14, 1998, Celgene filed a Request for Reexamination concerning the

 ‘517. Celgene “sought reexamination because of a question raised by a non-adversarial third

 party, a potential licensee, as to the significance of certain prior art.” Celgene sought

 reexamination of claims 1-10 of the ‘517 patent “in view of: (l) D’Amato, U.S Patent No.

 5,593,990 issued Jan.14,1997; (2) D’Amato, U.S. Patent No. 5,629,327; (3) D’Amato, U.S.

 Patent No. 5,712,291 (together, “the D’Amato Patents”); (4) in view of Leibovich et al. U.S.

 Patent No. 4,808,402 and (5) Leibovich et al., Macrophage-lnduced Angiogenesis is Mediated

 By Tumor Necrosis Factor-α, Letters To Nature, Vol. 329, pages 630-632, pub. 15 October,

 1987” (together, the “Leibovich References”).

         262.    On November 11, 1998, the PTO granted the request for reexamination,

 explaining Celgene “is correct to allege that all three of the primary references, namely, the

 D’amato Patents possess the same disclosure and both of the ancillary reference, namely, the




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 Leibovich et al. Patent and Journal article possess essentially the same disclosure. [] The

 requester alleges that the three D’Amato patents generically teach[] the compounds of the

 involved patent under reexamination and that both Leibovich et al. references may be relevant

 because they teach the concept of Tumor Necrosis Factors possess[ing] the unexpected ability to

 induce angiogenesis, which is related to the involved patent under reexamination, albeit with

 different compounds, which appears to have relevance. A substantial new question of

 patentability affecting claims 1-10 of United States Patent No. 5,635,517 is raised by the

 request for reexamination.”

         263.    On December 9, 1998, Celgene submitted its Statement as to why the newly

 disclosed prior art references did not render the ’517 patent invalid for obviousness, arguing:

 “D’Amato clearly does not describe or suggest the compounds used in the claimed method

 defined by claims 1-9 or those recited in claim 10. Regardless of what compounds the D’Amato

 patents do disclose, however, those references cannot render obvious the claimed method of

 reducing TNFa levels. This is also true of Leibovich et al. and D’Amato in combination with

 Leibovich et al. The Patent Owner sought reexamination, not because it believed D'Amato was

 relevant, but because of a question raised as to the significance of D'Amato by a nonadversarial

 third party. While D’Amato may raise a substantial new question of patentability, and should be

 considered, it is submitted that the ultimate question of patentability must be resolved in the

 Patent Owner’s favor with a finding confirming the patentability of claims 1-10. Favorable

 action is earnestly solicited.”

         264.    On February 22, 1999, the PTO rejected all claims of the ’517 as unpatentable

 over the three D’Amato patents (the ’990, ’327, and ’291) and in view of the two Leibovich

 references, finding, “there is ample information in the prior [art] to motivate one of




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 ordinary skill in the chemical arts to place [applicant’s] compounds in possession of the

 public.” Explaining its determination that the claims were unpatentable as obvious, the PTO

 stated:

                  [T]he record has shown and the patentee has admitted in the record
                  that the 3 D’Amato patents contain the same disclosure and said
                  D’Amato patents supra disclose the very closely analogous
                  compounds . . and methods for their preparation. . . . there is a
                  teaching of equivalence between hydrogen, hydroxy, epoxy and
                  amino as possible substituents on the 4,5,6 and 7 positions of the
                  benzene ring of the said 1-oxo- or 1,3-dioxo-isoindoline ring. The
                  concept of angiogenesis and administering said reference
                  compounds to a patient with toxic concentrations of TNF-α is
                  taught [in the D’Amato patents]. The [Leibovich references]
                  represent an excellent reference for the known compound
                  “thalidomide” which represents activation of macrophages, their
                  relationship to angiogenic activity and a method of controlling
                  abnormal concentrations of TNF-α factor associated with solid
                  malignant tumors, benign tumors, leukemias and the like. . . . Since
                  the properties of the prior art overlap with the [’517] under
                  reexamination, and the 3-D’Amato patents teach the equivalents of
                  hydrogen, hydroxy, epoxy and amino groups as substituents on
                  each of the four positions on the benzene ring of the isoindoline
                  nucleus, there is ample information in the prior [art] to motivate
                  one of ordinary skill in the chemical arts to place applicants
                  compounds in possession of the public.

           265.   On February 25, 1999, Celgene submitted a Request for Reconsideration and

 attached a declaration from Dr. David I. Stirling, Celgene’s then-Chief Scientific Officer and

 EVP (the “Stirling Declaration”). Celgene argued that any finding of obviousness was rebutted

 by the evidence of “unexpected properties” set forth in the Stirling Declaration.

           266.   The Stirling Declaration states in part: “Test were conducted under my

 supervision to evaluate the relative activities of test compounds to inhibit the levels of [TNF-

 alpha]. . . . These test were conducted on various compounds including the following:




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        267.    The Stirling Declaration further stated: “I conclude that Compound 2 is >10,000

 fold more active than Compound 1 in this primary human cell-based assay.”

        268.    In its accompanying Request for Reconsideration, Celgene explained Dr.

 Stirling’s findings, stating: “As explained by Dr. Stirling, Compound 2 was >10,000 fold more

 active than Compound 1 in this assay. Compound 1 of course is the hydroxythalidomide

 compound of D’Amato; Compound 2 is the corresponding amino compound of the present

 claims.” Celgene concluded, “it is submitted that the D’Amato patents, alone or in combination

 with the Leibovich et al. patent and publication, do not establish a prima facie case of

 obviousness. If, however, these references are deemed sufficient to establish a prima facie case

 of obviousness, it is believed the same has been fully rebutted by the evidence of record

 demonstrating unexpected properties.”

        269.    Shortly after Celgene’s submission of the Request for Reconsideration and the

 Stirling Declaration, the PTO issued a Notice of Intent to Issue Reexamination Certificate

 allowing the claims of the ’517.




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           270.   However, “Compound 2” is not lenalidomide, nor is it any of the other

 compounds claimed by the ’517. “Compound 2” is another thalidomide analogue, pomalidomide,

 which is not one of the compounds claimed by the ’517 patent.

                                                            Lenalidomide90




                                                Pomalidomide91




           271.   As shown above, lenalidomide has one fewer oxygen atoms as compared to

 “Compound 2” referenced in the Stirling Declaration. The Stirling Declaration does not describe

 testing of lenalidomide, or any of the other three compounds claimed by Claim 10 of the ’517

 patent.



     90
         See Revlimid labeling information submitted by Celgene to the FDA at p. 5, available at
 https://www.accessdata.fda.gov/drugsatfda_docs/nda/2005/021880s000_Revlimid_Prntlbl.pdf
     91
         See Pomalyst labeling information submitted by Celgene to the FDA at p. 10, available at
 https://www.accessdata.fda.gov/drugsatfda_docs/nda/2013/204026Orig1s000Lbl.pdf




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         272.    “Compound 2” is in fact pomalidomide, which is mentioned in Claim 8 as part of

 a method of treatment claim, i.e., “The method according to claim 7 in which said compound is

 1,3-dioxo-2-(2,6-dioxopiperidin-3-yl)-4-aminoisoindoline.” But the testing of “Compound 2”

 was irrelevant to the compound patent claims in Claim 10 of the ’517. Celgene misled the PTO

 and breached its duty of candor by, inter alia, submitting testing that had nothing to do with the

 most vital part of the ’517 patent, i.e., the compound claims of Claim 10.

         273.    Also notable, Dr. Stirling states in his declaration that he performed testing on

 “various compounds.” Yet, Dr. Stirling presented his findings with respect to only one

 comparator, i.e.., “Compound 1,” which is a compound identified in the D’Amato patents.

 Celgene concealed the rest of the data; Celgene cherrypicked the results that would best support

 its claim of unexpected results.

         274.    In sum, the ’517 is invalid. After Celgene submitted the D’Amato and Leibovich

 references to the PTO as part of the reexamination, the PTO rejected all claims of the ’517 as

 invalid over the prior art. To overcome those obviousness rejections, Celgene submitted testing

 that purportedly showed unexpected results. However, the “unexpected results” did not pertain to

 any of the compounds claimed by the ’517 patent. Celgene failed to overcome the PTO’s finding

 of obviousness and the compound claims of the ’517 are therefore invalid.

         275.    That Dr. Stirling intended to deceive the PTO is supported by the facts that: (i) he

 had detailed first-hand knowledge of Celgene’s thalidomide analogue testing program generally,

 including the testing that had been done as to lenalidomide and related analogues, as well as the

 results of that testing program, (ii) he did not submit all of the testing results relevant to the

 issues raised during the ’517 examination, and (iii) he chose to present testing regarding a




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 compound other than one of the compounds claimed by the ‘517 (i.e., other than the compounds

 that would have supported allowing reexamination) in support of patentability.

        276.    At minimum, under judicial scrutiny in litigation, the true facts would have

 rendered the ‘517 patent invalid. The same facts would also support a finding of inequitable

 conduct by David Stirling (who signed and submitted the declaration) and potentially Celgene’s

 in-house and outside counsel who submitted the Request for Reconsideration and supporting

 Stirling Declaration (Bruce M. Collins) and/or otherwise prosecuted the reexamination.

        3.      The PTAB’s Reasoning for Declining to Further Review of the ’517 Patent
                Contradicts the PTO’s Express Finding of Obviousness and Would Not Have
                Undermined Generics’ Strong Arguments Establishing Invalidity and/or
                Unenforceability.

        277.    On May 7, 2015, the Coalition for Affordable Drugs (the “Coalition”) filed a

 Petition for Inter partes Review (“IPR”) of Patent No. 5,635,517 (the “Coalition’s Petition”).

 The Coalition is an organization created by Hayman Capital Management, an asset management

 firm. To the extent a petition for inter partes review filed by the Coalition leads to fluctuations in

 a company’s stock price, Hayman Capital Management could benefit financially.

        278.    On November 16, 2015, the PTAB declined to institute review based on the

 Coalition’s Petition, which focused on five prior art references: Piper (1981); Kaplan (1995);

 Agrawal (1981); WO ‘085 (1994); and Keith (1992).

        279.    As discussed above in Section VII.C.i.2, in 1998 (less than a year after the ’517

 initially issued), the ’517 underwent a reexamination by the PTO and was invalidated for

 obviousness. The PTO’s strong findings of invalidity were only overcome by Celgene’s

 submission of the highly misleading Stirling Declaration, which presented test results that had

 nothing to do with the compounds claimed by the ’517 patent. The PTAB did not address the

 reexamination, nor did it address any of the prior art references on which the PTO based its




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 findings of obviousness. The PTAB’s conclusions are directly contradicted by the PTO’s strong

 findings of invalidity.

        280.    With respect to the compound claims of the ’517 (Claim 10), the PTAB

 concluded: “We likewise are not persuaded that an ordinary artisan would have had sufficient

 reason to prepare any of the four compounds recited in claim 10 [e.g., lenalidomide]. All four

 compounds in claim 10 comprise an amino group on the benzene ring (like AH 13 [4-

 aminothalidomide] and AH 14 [3-aminothalidomide]) and a single C=O in the 5-carbon ring

 (like EM 12). Petitioner has not established sufficiently, with reasonable underpinnings, why one

 would have produced such compounds for any reason, for example to produce analogs that

 inhibit angiogenesis (discussed in WO ’085).”

        281.    The PTAB provides no support for this statement, which is directly contradicted

 by the findings of the PTO during the reexamination, which concluded: “The concept of

 angiogenesis and administering said reference compounds to a patient with toxic concentrations

 of TNF-α is taught [in the 5,593,990, 5,629,327, and 5,712,291 (the “D’Amato patents”)]. The

 [Leibovich references] represent an excellent reference for the known compound “thalidomide”

 which represents activation of macrophages, their relationship to angiogenic activity and a

 method of controlling abnormal concentrations of TNF-α factor associated with solid malignant

 tumors, benign tumors, leukemias and the like. Thalidomide is the unsubstituted 1-oxo-2-(2,6-

 dioxopiperdin-3-yl) isoindoline respectively. Since the properties of the prior art overlap with the

 Muller et al. (U.S. Patent No. 5,635,517) under reexamination, and the 3-D’Amato patents teach

 the equivalents of hydrogen, hydroxy, epoxy and amino groups as substituents on each of the

 four positions on the benzene ring of the isoindoline nucleus, there is ample information in the




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 prior [art] to motivate one of ordinary skill in the chemical arts to place applicants [sic]

 compounds in possession of the public.”

          282.     Celgene was only able to overcome the PTO’s conclusive findings of obviousness

 by submitting the fraudulent Stirling Declaration. That declaration falsely stated that a compound

 claimed in the ’517 patent was surprisingly at least 10,000 times more active than

 hydroxythalidomide when, in fact, the tested compound was not even one of the four compounds

 claimed in the compound claim in the ’517 patent.92

          283.     More generally, the PTAB’s sweeping statement, suggesting that there is no

 reason “why one would have produced such compounds” dismisses the very impetus behind the

 drug development enterprise, which is to take promising lead compounds, and make small,

 systematic changes resulting in compounds with beneficial properties. To suggest that no one

 working in the field would have been motivated to undertake further development efforts with

 respect to promising lead compounds like EM-12 and 4-aminothalidomide ignores what was

 actually occurring in the field and contradicts the Supreme Court’s instruction that a person

 skilled in the art is “a person of ordinary creativity, not an automaton.”

          284.     The PTAB appears to have decided the ultimate outcome (i.e., no review

 instituted) and then stated conclusory (and erroneous) findings to reach that result based on an

 unduly narrow view of the relevant evidence. It is unclear whether the PTAB was swayed by the

 identity of the Petitioner. (As noted, the Coalition is backed by a hedge fund that could benefit

 financially from fluctuations in Celgene’s stock price.) What is clear is that the PTAB’s findings




     92
        See supra Section VII.C.i.2 (explaining that the Stirling Declaration presented testing data that compared the
 D’Amato compound (Stirling’s “Compound 1”) to pomalidomide (Stirling’s “Compound 2”), which is not one of
 the four compounds claimed by the ‘517).




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 are directly contradicted by the PTO’s findings of obviousness during the reexamination, which

 Celgene only overcame by submitting the false Stirling Declaration.

        285.    The PTAB proceedings do not alter the fact that the generic challenges to the

 validity of the ’517 were highly likely to prevail.

        4.      Celgene’s Unlisted Polymorph Patents Claiming Form A (’357, ’219, ’598
                Patents) are Invalid as Anticipated and Celgene Itself Submits Evidence
                Suggesting the ‘517 is Not Enabled.

        286.    Celgene’s filings in other proceedings, such as in the course of defending its

 polymorph patents in proceedings before the European Patent Office (“EPO”) further indicate

 the invalidity of its polymorph patents.

        287.    Polymorphism refers the ability of a compound to form with different crystal

 structures. Although the different polymorphic forms of a compound will have the same

 chemical composition, the differences in crystalline structure impact the compound’s chemical

 properties, such as solubility and bioavailability. Polymorphic forms are identified by their

 particular X-ray powder diffraction pattern, with peaks at specified locations. Celgene obtained

 several lenalidomide polymorph patents in the U.S. and in Europe.

        288.    On November 2, 2011, the EPO issued European Patent (“EP”) 1,667,682, a

 lenalidomide polymorph patent. Claim 14 of EP ‘682 claims a polymorphic form having an X-

 ray powder diffraction pattern with peaks at approximately 8, 14.5, and 16 degrees 2θ. Celgene

 defines the lenalidomide polymorph with peaks at these locations as “Form A.”

        289.    Celgene’s U.S. polymorph patents, 7,977,357, 8,431,598, and 8,193,219, claim

 polymorphic forms with peaks in the same or similar locations:

  EP ‘682, Claim 14      “Crystalline 3-(4-amino-1-oxo-1,3 dihydro-isoindol-2-yl)-piperidine-
                         2,6-dione, which has an X-ray powder diffraction pattern comprising
                         peaks at 8, 14.5 and 16 degrees 2θ.”




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  US ‘357, Claim 3        “An unsolvated crystalline Form A of 3-(4-amino-1-oxo-1,3 dihydro-
                          isoindol-2-yl)-piperidine-2,6-dione of claim 1, which has an X-ray
                          powder diffraction pattern comprising peaks at approximately 8,
                          14.5, and 16 degrees 2θ.”

  US ‘598, Claim 5        “A solid form of 3-(4-amino-1-oxo-1.3 dihydro-isoindol 2-yl)-
                          piperidine-2,6-dione comprising an unsolvated crystalline form of 3-(4-
                          amino-1-oxo-1.3 dihydro-isoindol-2-yl)-piperidine-2,6-dione having a
                          differential scanning calorimetry thermogram endotherm at
                          approximately 270° C. and an X-ray powder diffraction pattern
                          comprising peaks at approximately 8, 14.5, and 16 degrees 2θ and a
                          thermogravimetric analysis curve indicative of an unsolvated material,
                          wherein the crystalline form is present at greater than about 80% by
                          weight of the total weight of 3-(4-amino-1-oxo-1,3 dihydro-isoindol-2-
                          yl)-piperidine-2,6-dione.”

  US ‘219, Claim 1        “A pharmaceutical composition for oral administration comprising
                          between 5 mg and 25 mg of an unsolvated crystalline 3-(4-amino-1-
                          oxo-1.3 dihydro-isoindol-2-yl)-piperidine-2,6-dione having an X-ray
                          powder diffraction pattern comprising peaks at approximately 8,
                          14.5, 16, 17.5, 20.5, 24. and 26 degrees 2θ, and a pharmaceutically
                          acceptable excipient, diluent, or carrier, wherein the composition is a
                          solid dosage form.”


        290.      On January 8, 2012, Mylan filed a Notice of Opposition with the EPO requesting

 that the EPO revoke EP ‘682 as lacking novelty in light of (i.e., anticipated by) Celgene’s (US)

 ’517 Patent. Mylan asserted that, if the steps in Example 1 of the ’517 are carried out, it results in

 the same polymorph claimed by Claim 14 of the EP ’682: “The inevitable consequence of

 following the process described in prior art document [the ’517 Patent] is the preparation of a

 crystalline form of lenalidomide having peaks corresponding to those peaks claimed in claim 14

 [of EP ’682].”

        291.      On February 8, 2012, Teva filed a Notice of Opposition similarly requesting the

 revocation of EP ‘682 on the basis of, inter alia, lack of novelty in light of the ’517. As with

 Mylan, Teva’s experts carried out Example 1 of the ’517 and reported: “We have checked the

 [X-ray powder diffraction (“XRPD”)] data obtained and compared it with the XRPD data

 reported in EP 1 667 682. In my opinion there can be no doubt that the lenalidomide I obtained




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 (both samples) is the same polymorph form as the polymorph for designed for A in EP 1 667

 682.”

         292.   On March 9, 2015, Celgene filed the declaration of Dr. Natarajan in an attempt to

 counter the testing results submitted by Mylan and Teva. Dr. Natarajan explained that he “was

 asked to synthesize . . . lenalidomide, by exactly following the procedures of . . . Example 1 of

 U.S. Patent No. 5,635,517.” Rather than providing support for Celgene’s argument that its

 polymorph patents are not anticipated, Celgene’s own expert actually presented results that cast

 further doubt on the validity of the ’517. In his sworn declaration, Dr. Natarajan reported that he

 did not obtain lenalidomide (polymorph or otherwise) at all: “No lenalidomide was formed in the

 hydrogenation reaction . . . .” In other words, the data presented by Celgene’s expert supports the

 argument that the ’517 lacks enablement and is therefore invalid.

         293.   On June 24, 2015, the EPO issued a decision revoking EP ’682 based on the

 rationale that Form A claimed by EP ’682 was anticipated by the ’517 patent. In so holding, the

 EPO remarked on Celgene’s failure to present evidence to suggest that the ’517 does not

 inevitably lead to Form A, noting that Celgene instead asserted that it was unable to obtain

 lenalidomide at all when following the ’517:

                The opposition division is of the opinion that also in the present
                case the best way of countering the experimental report of Prof.
                Dr. Kirschning would have been to present own results [sic], which
                demonstrate that the process as disclosed in Example 1 of . . . [the
                ’517] does not inevitably lead to the form A in question. If the
                proprietor would have presented such results, the argumentation of
                the opponents would have lost a lot of its credibility. However the
                proprietor did not make use of this option and instad [sic] merely
                demonstrated that the compound 3-(4-amino-1-oxo-1,3 dihydro-
                isoindol-2-yl)-piperidine-2,6-dione (lenalidomide) could not be
                obtained at all when the procedure of Example 1 was exactly
                followed in the repetition of the experiment.




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        294.    For the same reasons that EP ’682 is invalid, so too are the ’357, ’598, and ’219,

 all of which also claim Form A. Mylan and Teva’s uncontroverted testing showed that, when

 Example 1 of the ’517 is carried out, Form A lenalidomide inevitably results. Thus the ’357,

 ’598, and ’219 are invalid as anticipated by the ’517.

        295.    If the only patents Celgene had protecting lenalidomide were these three

 polymorph patents (’357, ’219, ’598 Patents) – which Celgene did not list in the Orange Book as

 claiming lenalidomide – Celgene would have had no standing to bring paragraph IV Hatch

 Waxman litigation against an allegedly infringing generic, so could not have triggered the FDA’s

 30-month stay of ANDA approval or provided a pretextual lawsuit for purpose of negotiating an

 (anticompetitive) settlement before generic entry and/or robust generic competition.

        5.      Celgene’s Listed Polymorph patents (the ‘217 and ‘800 patents) are Also
                Subject to Invalidity and Non-Infringement Challenges.

        296.    To extend its monopoly on the sale of thalidomide derivatives, Celgene began

 filing additional patent applications seeking to claim other polymorphic forms of lenalidomide.

 Polymorphs, also known as solvates or crystalline forms, of previously patented compounds are

 routinely developed as a standard practice in the pharmaceutical industry, according to a US

 patent examiner in a rejection of one of Celgene’s polymorph patent applications, and generally

 not separately patentable.

        297.    Nonetheless, Celgene managed to get the USPTO to approve its polymorph

 patents and list them in the Orange Book. These patents—the ’800 Patent and the ’217 Patent—

 expire in 2027 and 2024, respectively. Since these patents have the latest expiration dates of any

 patents associated with Thalomid or Revlimid, they have been key patents cited in repeated

 attempts by Celgene and Bristol-Myers Squibb to block generic competitors from the market.




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 Celgene routinely cites these polymorph patents against generic manufacturers that have filed

 generic Revlimid and/or Thalomid ANDAs.

          298.    In doing so, Celgene and Bristol-Myers Squibb have also repeatedly exposed the

 polymorph patents to charges of invalidity and have repeatedly settled instead of testing the

 strength of these patents in court for fear of the result. When Natco Pharma Limited (“Natco

 Pharma”) filed an ANDA for its generic version of lenalidomide, Celgene brought suit against it,

 Watson, and Arrow International Ltd., (“Arrow”) (collectively, “Natco”) claiming

 infringement.93 The parties agreed to a Markman hearing to settle the meaning of disputed

 patent terms. Citing Celgene’s own clarified definition of the term “hemihydrate,” Natco

 amended its invalidity contentions to the ’800 Patent, arguing that it was invalid for

 indefiniteness, lack of enablement, and lack of written description. When Celgene was unable to

 prevent Natco from raising these amended invalidity contentions, Celgene quickly settled with

 Natco with an anticompetitive reverse payment settlement agreement, described more fully infra

 Section VII.E. Having learned a dangerous lesson, Celgene did what was necessary to avoid a

 similar Markman hearing over the meaning of “crystalline” in its subsequent litigation against

 Dr. Reddy’s and other generic manufacturers.94

          299.    Celgene knows that the overbroad terms of its redundant polymorph patents are

 an attempt to block generic competitors from bringing non-infringing products to market where

 the generic manufacturer has developed a suitable workaround to Celgene’s patents. The claims




     93
        Celgene Corp. v. Natco Pharma Ltd., No. 10-5197, 2015 WL 4138982 (D.N.J. Jul. 9, 2015). Celgene alleged
 that while Natco Pharma filed the ANDA, Arrow assisted Natco Pharma in preparing and filing the ANDA, and
 Watson prosecuted the ANDA before FDA.
     94
         Letter to Court, Celgene Corp. v. Dr. Reddy’s Laboratories Ltd., 2:16-cv-7704 (D.N.J. Mar. 23, 2018), ECF
 No. 77. On the date that its responsive Markman pleadings were due, Celgene filed a letter informing the court that
 it resolved its claim construction disputes with Dr. Reddy’s and would not be filing responsive pleadings.




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 of Celgene’s other polymorph patent, the ’217 Patent, also call out crystalline and hemihydrate

 forms, and are invalid for the same reasons as the ’800 Patent. Celgene has entered into

 stipulations dismissing the ’217 Patent and/or executing a covenant not to sue on the ’217 Patent

 in actions against eight separate generic manufacturers.95 By doing this, Celgene shields the

 ’217 Patent, and the patents derived therefrom, from judicial scrutiny and invalidation.

 Nonetheless, Celgene continues to sue generic rivals on the ’217 Patent solely to delay generic

 entry.

          300.    These patents, like the ’517 Patent from which they were derived, were obtained

 due to a failure to disclose publicly available prior art and research from decades earlier, which

 anticipate and invalidate the patent. Celgene’s failure provides an independent basis for

 invalidity. These polymorphs are also obvious variants of the composition of matter patent,

 adding a further basis for invalidity. Finally, based on Celgene’s own representations in the

 Markman hearing that was held in the Natco litigation, the claims of the patent are unenforceable

 as overbroad.

          6.      The Federal Circuit held Celgene’s key REMS patents (including the ’501,
                  ’720) invalid; Celgene stopped asserting the rest (’976, ’977, and ’784
                  Patents).

          301.    As discussed above, in 1998, Celgene only listed the ’501 Patent in the Orange

 Book in connection with Thalomid. Since then, it has listed numerous additional patents,




     95
        See Statement, Celgene Corp. v. Natco Pharma Ltd., No. 2:10-cv-05197, ECF No. 140 (D.N.J. Aug. 31,
 2012); Statement, Celgene Corp. v. Lotus Pharmaceutical Co., Ltd., et al., No. 2:17-cv-06842, ECF No. 81 (D.N.J.
 Aug. 8, 2018); Statement, Celgene Corp. v. Zydus Pharmaceuticals (USA) Inc. et al., No. 2:17-cv-02528, ECF No.
 93 (D.N.J. Aug. 8, 2018); Stipulation and Order of Dismissal, Celgene Corp. v. Cipla Ltd., No. 2:17-cv-06163, ECF
 No. 63 (D.N.J. Aug. 16, 2018); Statement, Celgene Corp. v. Sun Pharmaceutical Industries, Inc. et al., No. 2:18-cv-
 11630, ECF No. 50 (D.N.J. Jan. 22, 2019); Consent Judgment, Celgene Corp. v. Apotex Inc., No. 2:18-cv-00461,
 ECF No. 63 (D.N.J. Apr. 30, 2019); Stipulation and Order of Dismissal, Celgene Corp. v. Hetero Labs Ltd. et al.,
 No. 2:18-cv-17463, ECF No. 54 (D.N.J Jan. 21, 2020); Statement, Celgene Corp. v. Mylan Pharmaceuticals Inc. et
 al., No. 1:20-cv-00003, ECF No. 120 (N.D. W. Va. Oct. 9, 2020).




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 including the ’720, ’976, ’977, and ’784 Patents (together with the ’501 Patent, the “REMS

 patents”) in the Orange Book as covering Thalomid.

            302.   The ’501 and ’720 patents were invalidated by the Patent Trial and Appeal Board

 (“PTAB”) on October 26, 2016.96 The same logic dictates that Celgene’s other REMS patents

 are also invalid. Celgene stopped pressing its other REMS patents in litigation against generics

 after the Federal Circuit affirmed the PTAB decision.

            303.   The PTAB found the ’501 Patent invalid as obvious over the combined

 disclosures of three asserted prior art references as representative of the level of ordinary skill in

 the art.

            304.   Guidance regarding the clinical use and dispensing of thalidomide was provided

 by an existing publication in 1994 that identified a patient subpopulation of women who could

 and wished to become pregnant, warning that they should not be treated with Thalomid, and

 recommending counseling on the risks of thalidomide as well as the use of contraception.97

            305.   Further guidance was also provided by the existing pregnancy-prevention

 program for women users of Accutane, a Vitamin A analogue of isotretinoin and a known

 teratogenic drug. Accutane was subject to a program of preventative measures, such as

 pregnancy-risk warnings on packaging, targeting of women of childbearing age for the




     96
        See Coalition for Affordable Drugs VI LLC, et al., v. Celgene Corp., IPR2015-01092, Paper No. 73 (P.T.A.B.
 Oct. 26, 2016), https://portal.unifiedpatents.com/ptab/case/IPR2015-01092; IPR2015-01096, Paper No. 73 (P.T.A.B.
 Oct. 26, 2016), https://portal.unifiedpatents.com/ptab/case/IPR2015-01096; IPR2015-01102, Paper No. 75 (P.T.A.B.
 Oct. 26, 2016), https://portal.unifiedpatents.com/ptab/case/IPR2015-01102; IPR2015-01103, Paper No. 76 (Oct. 26,
 2016), https://portal.unifiedpatents.com/ptab/case/IPR2015-01103 (“Coalition”).
     97
      R.J. Powell and J.M.M Gardner–Medwin, Guideline for the clinical use and dispensing of thalidomide,
 POSTGRAD MED. J. 79, 901–904 (1994) (“Powell”).




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 pregnancy-prevention program, and communication between physicians and patients regarding

 the drug’s teratogenic risk and the need to prevent pregnancy.98

           306.     Guidance for the use of a national database to register prescribers, pharmacies,

 and patients as a way to restrict access to drugs that could be potentially hazardous was also

 published well before the ’501 Patent was filed, such as the nationwide registry for patients

 requiring clozapine, a potent anti-psychotic drug with potential for serious side effects.99

           307.     The PTAB found that a person of ordinary skill in the art would have understood

 how to implement Powell’s teachings in clinical and pharmacy settings in view of the Accutane

 Pregnancy Prevention Program and the Clozaril (clozapine) controlled distribution model

 outlined in Dishman. The PTAB was not persuaded by Celgene’s argument that the prior art did

 not specifically single out men who could impregnate a woman as a subgroup, noting that a

 skilled artisan would have recognized that the sperm of male patients could be damaged by

 teratogenic drugs and consequently result in birth defects if the male was to impregnate a

 female.100

           308.     The PTAB found the ’720 Patent invalid as obvious over the combined

 disclosures cited against the ’501 Patent for the original S.T.E.P.S. program, while finding that

 the inherent dangers of Thalidomide would drive someone of ordinary skill in the art to

 proactively improve the system. Citing U.S. Patent No. 5,832,449 (issued Nov. 3, 1998,

 “Cunningham”), which describes an approval code used by prescribers and pharmacies to track

 and manage pharmaceutical products, the PTAB found that a person of ordinary skill in the art


     98
         Allen A. Mitchell et al., A Pregnancy–Prevention Program in Women of Childbearing Age Receiving
 Isotretinoin, NEW ENG. J. MED. 333:2, 101–06 (Jul. 13, 1995) (“Mitchell”).
     99
        Benjamin R. Dishman, et al., Pharmacists’ role in clozapine therapy at a Veterans Affairs medical center,
 AM. J. HOSP. PHARM. 51, 899–901 (Apr. 1, 1994) (“Dishman”).
     100
           Coalition, IPR2015–01092, Paper No. 73.




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 could predict that such an approval code could be utilized by prescribers and pharmacies to track

 and manage Thalomid and Revlimid. In light of this prior art, the PTAB invalidated the ’720

 Patent as obvious.

           309.     As the PTAB noted, “[w]hen it benefitted [Celgene's] interests before FDA,

 [Celgene] freely admitted that its ‘plan [for thalidomide] is built on experience with restrictions

 on such other drugs with severe adverse effects as Accutane … and Clozaril.”101 Before the

 USPTO however, Celgene repeatedly failed to disclose the very materials that it relied on in

 presenting its program to FDA, along with other similar prior art such as the Clozaril Patient

 Monitoring Service and numerous published works describing the features of REMS programs

 similar to Celgene’s original and modified S.T.E.P.S. programs.

           7.       On July 30, 2019, the Federal Circuit affirmed the findings of the PTAB
                    invalidating the ’501 and ’720 patents for obviousness.102

           310.     The ’976 Patent, the ’977 Patent, and the ’784 Patent, filed more than three years

 later, are nearly identical to the invalidated ’501 and ’720 patents. In fact, many of these patents

 were so similar that Celgene did not even bother changing the title or abstract describing the

 patent.103




     101
           IPR2015-01092, at 24 (P.T.A.B. Oct. 26, 2016).
     102
           Celgene Corp. v. Peter, 931 F.3d 1342 (Fed. Cir. 2019).
     103
         At least the ’720, ’977, ’784, and ’399 patents are also unenforceable due to inequitable conduct because the
 applicants of these patents, including Zeldis’s co-inventor Williams, as well as their agents, attorneys and/or others
 substantively involved in the prosecution of those patents, concealed from the PTO prior art references that they
 knew were material to patentability—including the CPMS, Honigfeld I, Honigfeld II, the Guide, the PPP, the PPP
 Package, the CDC Meeting and Transcript, the CDER Meeting (including Williams’ presentation) and Transcript,
 and/or the NIH Meeting (including Williams’ presentation) and Transcript—with intent to deceive the patent
 examiner. As a patent related to and directed to an invention not sufficiently distinct from the unenforceable ’720,
 ’977, ’784, and ’399 patents, the ’018, ’566, ’886 and ’531 patents are likewise unenforceable under the doctrine of
 infectious unenforceability (an argument raised by generics in litigation). In particular, each of the ’018, ’566, and
 ’531 patents is terminally disclaimed over the ’720, ’977, ’784, and/or ’399 patents, and the ’866 patent is terminally
 disclaimed over the ’566 patent.




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         311.    As explained above, at least the ’720, ’977, ’784, and ’399 patents are

 unenforceable due to inequitable conduct because the applicants of these patents, including

 Williams, as well as their agents, attorneys and/or others substantively involved in the

 prosecution of those patents, concealed from the PTO prior art references that they knew were

 material to patentability—the CPMS, Honigfeld I, Honigfeld II, the Guide, the PPP, the PPP

 Package, the CDC Meeting and Transcript, the CDER Meeting (including Williams’

 presentation) and Transcript, and/or the NIH Meeting (including Williams’ presentation) and

 Transcript—with intent to deceive the patent examiner.

         312.    As a patent related to and directed to an invention not sufficiently distinct from

 the unenforceable ’720, ’977, ’784, and ’399 patents, the ’018, ’566, ’886 and ’531 patents are

 likewise unenforceable under the doctrine of infectious unenforceability. In particular, each of

 the ’018, ’566, and ’531 patents is terminally disclaimed over the ’720, ’977, ’784, and/or ’399

 patents, and the ’866 patent is terminally disclaimed over the ’566 patent.

         8.      Celgene’s Method of Treatment Patents are Not a Roadblock for Generic
                 Entry.

                 a.      Celgene’s ’740 MDS method of treatment patent is subject to strong
                         invalidity and unenforceability challenges, including as to the date of
                         conception of the invention

         313.    The patent prosecution of the ’740 Patent shows how Celgene engaged in

 deceitful tactics to obtain invalid method of use patents that should not have issued and would

 have been invalidated at trial but for Celgene’s monopolistic scheme, including its practice of

 settling all its sham litigations to shield its patents from judicial scrutiny.

         314.    Celgene’s method of treatment patent 7,189,740 is a continuation of U.S.

 Application No. 10/411,649 filed Apr. 11, 2003. Application No. 10/411,649 stems from




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 Provisional Patent Application No. 60/418,468 filed on October 15, 2002. Based on this

 information, one would understand the priority date for the ‘740 to be October 15, 2002.

        315.    During the prosecution of what led to the ‘740 patent, the PTO rejected the claims

 as anticipated over U.S. Application No. 03/0235909 and U.S. Application No. 04/0067953

 (“Stein”). The PTO also rejected the claims as anticipated or obvious over WO 01/87307 and for

 double patenting over U.S. Application No. 10/438213.

        316.    To overcome the PTO’s rejection, Celgene filed a declaration by Jerome Zeldis,

 Celgene’s then-Vice President and Chief Medical Officer, dated August 17, 2005 (the “First

 Zeldis Declaration”). The First Zeldis Declaration states: “I conceived of the presently claimed

 invention in the ‘649 application prior to March 8, 2002, the date of the first filed application

 to which Stein claims priority. This is evidenced by a clinical trial protocol identified within

 Celgene as ‘MDS-501-001’ which is entitled “A PHASE II OPEN LABEL STUDY OF THE

 SAFETY AND EFFICACY OF CC-5013 (REVIMID®) TREATMENT FOR PATIENTS

 WITH MYELODYSPLASTIC SYNDROME.’ A redacted copy of the front page of this protocol

 description is attached hereto as Exhibit D.”

        317.    The First Zeldis Declaration continues, “Specifically, the protocol for treating

 MDS with REVLIMID® was designed based upon my conception, and under my supervision

 and direction, prior to March 8, 2002. Patients were enrolled and treated with REVLIMID®

 under the protocol from prior to March 8, 2002 to the filing date of the present application. This

 is evidenced, in part, by the abstract attached hereto as Exhibit E, List et al., ‘High Erythropoietic

 Remitting Activity of the Immunomodulatory Thalidomide Analog, CC-5013, In Patients with

 Myelodysplastic Syndrome (MDS),’ American Society of Hematology Abstract #353, 2002,




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 which reports the results obtained under the protocol MDS-501-001. This study is also disclosed

 in Section 5.3. ‘Clinical Studies In MDS Patients,’ on pages 34-35 of the specification.”

        318.    Contrary to Dr. Zeldis’s assertion, none of the cited references support his claim

 that he “conceived of the claimed invention prior to March 8, 2002.” Exhibit D is a single page

 from the protocol, from which all date information has been conspicuously omitted:




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        319.    Similarly, Exhibit E is an abstract from the December 6-10, 2002 annual meeting

 of the American Society of Hematology that describes a study, but provides no information

 about the date of the study. The same is true for the referenced pages of the specification.




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          320.     Subsequently, the PTO rejected the claims, inter alia, as obvious over a newly-

 cited prior art reference, Raza (August 2001, Blood), in view of WO 01/87307 (international

 publication date of November 22, 2001). In response, Celgene submitted a second declaration

 from Dr. Zeldis dated June 22, 2006 (the “Second Zeldis Declaration”).104 In this declaration, Dr.

 Zeldis claims, “I conceived of treating MDS with Revlimid before July 19, 2001.”105 He cites

 the same Exhibits D and E and the same section of the specification. However, no exhibits are

 attached the Second Zeldis Declaration; and as noted above, the referenced pages of the

 specification do not provide any date information. Shortly after the submission of the Section

 Zeldis Declaration, the ’740 Patent issued (subject to terminal disclaimer as to U.S. Patent

 Application No. 10/438,213).106

          321.     The ’740 Patent is invalid. The PTO found that the claimed invention was obvious

 over the prior art, including Raza (August 2001) in view of WO ‘307. Dr. Zeldis submitted no

 documentation that supports his assertion that he had “conceived of the claimed invention prior

 to March 8, 2002” (the First Zeldis Declaration”) nor does he submit any evidence to support his

 later claim that he had “conceived of treating MDS with Revlimid before July 19, 2001.”

 Celgene therefore failed to overcome the PTO’s findings of obviousness.

                   b.        A Significant Portion of Celgene’s Method of Treatment Patents were
                             Subject to Section viii Carve Outs by Generic Manufacturers.

          322.     While Celgene improperly obtained sixteen method of treatment patents, many of

 these related to uses that were susceptible to section viii carveouts.107 Through a section viii



    104
          Patent file wrapper PDF at p. 794-796.
    105
          Id. (emphasis added).
    106
          Terminal disclaimer dated June 23, 2006 (patent file wrapper PDF at p. 792).
    107
          See 21 U.S.C. § 355(j)(2)(A)(viii).




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  carveout, a generic can limit the number of patents at issue in litigation by seeking ANDA

  approval on one or more of the FDA approved indication and omit from its label information

  about other approved indications. Often a generic company includes in its label the original

  approved indication and omits additional indications that are claimed by patents with later

  expiration dates. The FDA and Congress encourage generic companies to use Section viii carve

  outs in order to bring generic drugs to market as soon as possible.

         323.    From the three Final and Temporary Approval letters that are publicly available, it

  is apparent that generics were contemplating and/or employing this strategy.

         324.    The following lists the publicly available methods-of-use patents that have been

  carved out by each generic manufacturer.

           Generic                             Section viii Carve Outs
         Lotus          ’363 patent, ’406 patent, ‘929 patent, ‘730 patent, ‘238 patent
         DRL             ’363 patent, ‘406 patent, ‘929 patent, ‘730 patent, ‘238 patent
         Natco          ’363 (it appears), ’406 patent, ’730 patent, ’238 patent, ’621 patent


         325.    For instance, Natco’s Final Approval Letter confirms that it certified section viii

  carveouts for the '406, '621, '730, and '238 patents. Additionally, from the redacted text it appears

  that Natco may have been contemplating a carveout for less common uses of the ’363 Patent,

  including for treatment of MCL, follicular cancer, and marginal zone lymphona.

         326.    While all of Celgene’s methods-of-use patents are invalid, generic manufacturers

  would have only needed to address subsections of these patents to prevail at trial and bring a

  competing generic to market.




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                 c.       Celgene’s Multiple Myeloma Method of Treatment Patents are
                          Obvious Over the Prior Art

         327.    Celgene’s multiple myeloma method of treatment patents (the 7,968,569,

  8,530,498, 8,648,095, and 9,101,622) claim the administration of lenalidomide in combination

  with dexamethasone in specific dosing regimens. The initial non-provisional applications for

  these method of treatment patents claimed the benefit of a May 17, 2002 provisional application

  (Application No. 60/380,842) and a November 6, 2002 provisional application (Application No.

  60/424,600).

         328.    The multiple myeloma method of treatment patents are subject to strong invalidity

  challenges, including obviousness. Iit was well known in the prior art before May 17, 2002 that

  lenalidomide in combination with steroids such as dexamethasone was used to treat cancers. To

  overcome the PTO’s rejections for obviousness, Celgene submitted findings it argued showed

  that it had determined, before the date of its May 2002 application, that there were unexpected

  results in the administration of lenalidomide in combination with dexamethasone in specific

  dosing regimens. However, Celgene’s unexpected results either were not, in fact, unexpected or

  post-date the claimed invention by a significant period of time. For example, during the

  prosecution of the ‘569 patent Celgene stated that it “submitted numerous publications which

  support that the claimed combination therapy showed surprising, unexpected and synergistic

  effects for treating multiple myeloma patients.” In support of this statement, Celgene cited the

  following references:

                 . . . . Weber et al., Abstract #412, American Society of
                 Hematology, December 8-11, 2007; Harousseau et al., Abstract
                 #3598, American Society of Hematology, December 8-11, 2007;
                 Foa et al., Abstract #4839, American Society of Hematology,
                 December 8-1,. 2007; Chanan-Khan et al., Abstract #2721,
                 American Society of Hematology, December 8-11, 2007; Wang et
                 al., Abstract #P0-662, XI International Myeloma Workshop and IV
                 International Workshop on Waldenstrom 's Macroglobulinemia



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                 #3553, American Society of Hematology, December 9-12, 2006.
                 Also see the publications submitted on February 26, 2007,
                 Rajkumar et al., Blood, Dec. 15, 2005, l06 (13)4050-4053;
                 WEBER et al., Abstract# PO. 7 38, International Multiple
                 Myeloma Workshop, April 10-14. 2005; RICHARDSON et al.,
                 Blood, Abstract# 825, American Society of Hematology, Dec. 6-9,
                 2003; WEBER, Abstract# Pl5.02. International Multiple Myeloma
                 Workshop, April 10-14, 2005; CELGENE CORPORATION Press
                 Release, February 2003; RICHARDSON et al., Best Practice &
                 Research Clinical Haematology, 2005, 18 (4):619-634; HUSSEIN
                 et al., Blood, Abstract #208, American Society of Hematology,
                 Dec. 4-7, 2004; and BAZ et al., "Blood, Abstract# 2559, American
                 Society of Hematology, December 10-13, 2005.

         329.    However, the publications noted above all post-date the claimed invention, often

  by years; none of these showed that at the time Celgene claimed it has made the invention that it

  has shown there to be unexpected results. The citations did not support a finding of patentability.

  The generic manufacturers had strong invalidity challenges to the multiple myeloma method of

  treatments patents (several of which are subject to terminal disclaimers) and would have entered

  the market earlier, either by successfully invalidating the patents or by negotiating an earlier

  entry date, under competitive conditions.

  D.     Celgene Filed Baseless Citizen Petitions to Stymie Generic Approval

         330.    As part of its multifaceted and decades long scheme to monopolize the market for

  Thalomid and Revlimid, Celgene filed baseless citizen petitions against generic manufacturers

  when manufacturers belatedly managed to secure the necessary API to file an ANDA. Celgene

  engaged in such anticompetitive conduct to take advantage of its knowledge that it is the

  standard practice for FDA to withhold ANDA approval until FDA completes its research into

  and response to a citizen petition. The filing of baseless citizen petitions occurred often in

  tangent with, and as a complement to, Celgene’s sham patent litigations. See infra, Part VII.E.

         331.    To illustrate, Celgene filed a citizen petition concerning Barr’s ANDA application

  on September 20, 2007, urging FDA not to approve Barr’s thalidomide ANDA. Celgene



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  submitted this citizen petition one year after Barr had filed its ANDA with FDA for generic

  Thalomid and nine months after Celgene had filed a sham patent litigation. Celgene’s citizen

  petition was baseless and intended to delay Barr’s entry into the market for generic thalidomide.

           332.     At a meeting with Celgene in 2012, FDA’s Jane Axelrad, Associate Director for

  Policy at CDER, commented “since 2007, Celgene’s citizen’s petition states there are safety

  concerns and this is because the company does not want generics on the market.”108 In its citizen

  petition, Celgene requested that FDA withhold approval of any generic thalidomide product, or

  alternatively: i) require the application for generic thalidomide to be subject to the same

  conditions of approval applied to Thalomid under Subpart H of 21 C.F.R. Part 314; and ii)

  prohibit the restricted distribution program for the generic thalidomide product from authorizing

  prescriptions for, and registering patients with, multiple myeloma, in violation of Celgene’s

  orphan drug exclusivity, which would expire in 2013.

           333.     Celgene’s petition was meritless. It lacked any reasonable regulatory, scientific,

  medical, or other basis. FDA lacked statutory authority to withhold approval of generic

  thalidomide on the bases given by Celgene or to require the actions Celgene requested. Like its

  litigation against Barr, this citizen’s petition was also a sham designed to maintain Celgene’s

  monopoly.

           334.     On December 19, 2008, Barr responded to the petition, arguing that it “is nothing

  more than yet another attempt by a brand company to block all generic competition using market

  exclusivity protecting just a single approved indication.”109 Barr explained that Celgene’s

  pretextual safety concerns were “hyperbole designed to improperly play on the public’s fears



     108
           Exhibit to MSJ Opp., Doc. No. 285-15.
     109
           Exhibit to MSJ Opp., Doc. No. 285-17.




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  regarding thalidomide,” and that Barr’s proposed thalidomide would be safe and its label would

  contain all precautionary information contained in the Thalomid label. Specifically, Barr argued

  that the law permits it to carve-out from its label Thalomid’s protected MM indication, and that

  “Barr’s Thalidomide Labeling Need Not Contain The Multiple Myeloma Indication To Ensure

  The Safe And Effective Use Of The ANDA Product.”

         335.     Nearly six years later, on September 30, 2014, FDA denied Celgene’s citizen

  petition. Specifically, FDA “den[ies] your request that FDA decline to approve any ANDA for

  thalidomide.”

         336.     Celgene’s filing of baseless citizen petitions was part of, and advanced, its scheme

  to unlawfully monopolize the markets for Revlimid and Thalomid. As detailed above, Celgene

  used its baseless citizen petition to argue for a stay in Lannett’s antitrust lawsuit against Celgene

  over its refusal to sell Lannett samples, further delaying Lannett’s ability to file an ANDA and

  enter the market.

  E.     Celgene and Bristol-Myers Squibb Serially Commenced “Sham” Patent Litigation
         Before Inducing a Pay-for-Delay Settlement Agreement with Natco and Agreements
         with Later-Filing Generics that Shored Up the Anticompetitive Terms of the Natco
         Agreement

         337.     Celgene fraudulently obtained invalid patents in order to construct a patent thicket

  that would, along with the other anticompetitive tactics in its multi-faceted monopolistic scheme,

  prevent and delay generic competition. With its fraudulently obtained and invalid patents in

  hand, Celgene and BMS then serially filed “sham” patent litigations against would-be

  competitors. Due to Celgene’s policy and practice of refusing to provide samples to would-be

  generic rivals, the details of many of which are outlined above, each generic manufacturer below

  had already been delayed by Celgene’s multifaceted scheme and would have filed a Paragraph

  IV certification earlier. Knowing its patents were invalid and that asserting them would trigger




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  the 30-month stay of FDA ANDA approval, Celgene asserted them solely for the purpose of

  continuing to delay generic competition as part of its multifaceted monopolistic scheme.

         338.    Then, after utilizing the 30-month stay to delay generic entry, Celgene induced

  generic companies to settle. Celgene induced an anticompetitive reverse payment settlement

  agreement regarding Revlimid with (1) the first-filers, Natco, Arrow, and Watson. Celgene then,

  leveraging its settlement with Natco, induced settlement agreements with numerous later-filing

  generics regarding Revlimid that shored up the anticompetitive terms in the Celgene-Natco

  agreement, including: (2) Alvogen and Lotus, (3) Dr. Reddy’s, (4) Cipla, (5) Apotex, (6) Zydus,

  (7) Sun, (8) Hetero, (9) Mylan, (10) Aurobindo, (11) Torrent, (12) Biocon, (13) Lupin, and (14)

  Hikma (collectively, “Later-Filing Generics”).

         339.    To date, after fifteen years of litigation comprising at least twenty-eight separate

  actions, Celgene and BMS have not allowed a single patent to face judicial scrutiny and

  judgment after trial by a District Court. Only a single remaining patent litigation, against

  Alembic, remains pending. There remains no generic Thalomid alternative on the market and

  there will be no true generic competition on Revlimid until 2026.

         340.    Celgene and BMS shielded its Revlimid and Thalomid patents by settling patent

  litigation before judicial scrutiny of its patents and sharing their monopoly rents by allocating a

  portion of the market to each generic competitor in exchange for abandoning their patent

  challenges.

         341.    Celgene initiated a sham patent litigation against the first filer for Revlimid,

  Natco, before inducing it to delay its generic launch in exchange for a large, unjustified payment.

  This unlawful “reverse payment” comprised a two-pronged in-kind payment: (1) a volume

  limited, royalty-free generic license before full generic competition began, equating to hundreds




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  of millions of dollars in payment to Natco; and (2) MFE clauses that both deterred later-filing

  generics from challenging Celgene’s patents through judgment and induced Natco to accept a

  later entry date by eliminating the risk that Natco loses its lucrative exclusivity period.

         342.      Celgene also filed sham patent litigations and induced settlements against the

  Later-Filing Generic rivals. Celgene modeled these settlements on and designed them to

  complement the Natco settlement, further allocating the market for Revlimid and delaying

  generic entry.

         343.      In 2008, Celgene filed a patent infringement lawsuit against Barr, in 2015 against

  Lannett Holdings, Inc. and Lannett Company, Inc. (collectively, “Lannett”), and in 2018 against

  Hikma Pharmaceuticals International Ltd. and Hikma Pharmaceuticals USA, Inc. (collectively,

  “Hikma) for its thalidomide ANDAs.

         344.      In 2010, Celgene filed a patent lawsuit against Natco for its lenalidomide ANDA.

  In 2016, Celgene filed a patent lawsuit against Dr. Reddy’s for its lenalidomide ANDA. In 2017,

  Celgene filed patent lawsuits against Zydus Pharmaceuticals (USA), Inc. and Cadila Healthcare

  Ltd. (collectively, “Zydus”), Cipla Ltd. (“Cipla”), Lotus Pharmaceutical Co., Ltd. and Alvogen

  Pine Brook, LLC (collectively, “Alvogen”), and again against Dr. Reddy’s for their lenalidomide

  ANDAs. In 2018, Celgene filed patent lawsuits against Apotex Inc. (“Apotex”), Hetero Labs

  Ltd., Hetero Labs Ltd. Unit-V, Hetero Drugs Ltd., and Hetero USA, Inc. (collectively, “Hetero”),

  twice against Sun Global FZE, Sun Pharma Global Inc., Sun Pharmaceuticals Industries, Inc.,

  and Sun Pharmaceutical Industries Ltd. (collectively, “Sun”), again against Alvogen, Dr.

  Reddy’s, Cipla, and Zydus for its lenalidomide ANDAs. In 2019, Celgene filed patent lawsuits

  against Mylan Pharmaceuticals Inc., Mylan Inc., and Mylan N.V. (collectively, “Mylan”), and

  again against Cipla, Hetero, and twice against Apotex. In 2020, Celgene filed patent lawsuits




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  against Lupin Ltd. (“Lupin”), and again against Mylan and Hetero. In 2021, Celgene filed patent

  lawsuits against Hikma Pharmaceuticals USA, Inc. (“Hikma”), Aurobindo Pharma Ltd., Eugia

  Pharma Specialties Ltd., Aurobindo Pharma USA, Inc., and Aurolife Pharma LLC (collectively,

  “Aurobindo”), Torrent Pharmaceuticals Ltd. and Torrent Pharma Inc. (collectively, “Torrent”),

  Biocon Pharma Limited, Biocon Limited, and Biocon Pharma, Inc. (collectively, “Biocon”),

  Lupin Ltd., and Alembic Pharmaceuticals Limited, Alembic Global Holding SA, and Alembic

  Pharmaceuticals, Inc. (collectively, “Alembic”).

         345.    In all cases, Celgene complained that the generic versions of Thalomid and/or

  Revlimid infringed Celgene’s patents. In all cases, each generic defendant counterclaimed,

  alleging that Celgene’s patents are invalid as prior art or for obviousness, or for lack of written

  description, under 35 U.S.C. §§ 101, 102, 103 and/or 112, and general principles of patent law,

  and/or noninfringed. Because Celgene knew that its patents were invalid, it also must have

  known that the litigation to enforce the invalid patents would be unsuccessful. It brought the

  actions only because the filing would delay generic entry.

         346.    As detailed above, Revlimid and Thalomid were the key assets acquired by

  Bristol-Myers Squibb in its acquisition of Celgene on November 20, 2019. On information and

  belief, including but not limited to the importance of Revlimid and Thalomid to the success of

  the acquisition and the extensive due diligence performed by Bristol-Myers Squibb in the course

  of evaluating the merger, Bristol-Myers Squibb directed, oversaw, and/or ratified the

  monopolistic scheme described in this Complaint. Thus, all actions described herein, including

  the anticompetitive reverse payment agreement and complementary agreements described here,

  are equally attributable to Bristol-Myers Squibb, particularly as to all agreements following the

  merger, described below, for which Celgene is the sole executing Bristol-Myers Squibb entity.




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            1.       Celgene Initiates Patent Infringement Litigation Against Revlimid First-Filer
                     Natco.

            347.     On August 30, 2010, Natco sent a Paragraph IV certification letter to Celgene,

  which contained a detailed factual and legal statement as to why Revlimid REMS patents, as

  well as the ʼ517, ʼ230, ʼ554, ʼ106, and ʼ800 patents are invalid, unenforceable, and/or not

  infringed by Natco’s proposed generic Revlimid.110

            348.     Shortly after, in September of 2010, Natco filed ANDA No. 201-452 seeking

  approval to bring lenalidomide capsules to market (in 5mg, 10mg, 15mg, and 25mg strength).

            349.     On October 8, 2010, Celgene filed a patent infringement suit against Natco in the

  District of New Jersey.111

            350.     Celgene continued to pursue new patents for its Revlimid product. In 2012, it

  listed two new patents in the Orange Book in connection with the formulation of Revlimid

  (patent no. 8,288,415) and another REMS patent (patent no. 8,315,886). In response, Natco sent

  Celgene an additional Paragraph IV certification on March 14, 2013 which contained a detailed

  factual and legal statement as to why the ʼ415 and ʼ866 patent are invalid, unenforceable, and/or

  not infringed by Natco’s generic Revlimid product.

            351.     On April 10, 2013, Celgene caused patent no. 8,404,717 to be listed in the Orange

  Book for Revlimid. The ʼ717 patent is a method of use patent for the treatment of

  myelodysplastic syndromes using lenalidomide.112




      110
          Answer and Counterclaims to First Amended Complaint, Celgene Corp. v. Natco Pharma Ltd. No. 10-5197
  (D.N.J. Jan. 14, 2010).
      111
            Complaint, Celgene Corp. v. Natco Pharma Ltd., No. 10-5197 (D.N.J. Oct. 8, 2010).
      112
           Later that month, Celgene was issued another patent (patent no. 8,431,598). Celgene did not cause this
  patent to be listed in the Orange Book, but did allege infringement against Natco and other later filers.




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            352.     Celgene filed a Fifth Amended Complaint against Natco on May 6, 2013.113

  Celgene alleged that Natco’s generic Revlimid product would infringe the Revlimid REMS

  patents, as well as the ʼ886 patent, the ʼ517, ʼ230, ʼ554, ʼ106, ʼ800, ʼ415, ʼ717 and ʼ598 patents.

  Natco denied these allegations and argued that the ʼ517, ʼ230, ʼ554, ʼ106, ʼ800, ʼ415, ʼ717 and

  ʼ598 patents are invalid and that its proposed generic lenolidamide product did not infringe

  Celgene’s ʼ800 patent as it does not contain lenalidomide hemihydrate. The invalidity of these

  patents is discussed above. Natco also filed counterclaims against Celgene, alleging fraud on the

  USPTO, and invalid and/or unenforceable patents.

            353.     Meanwhile, Celgene had abandoned its efforts to assert many of its ill-gotten and

  invalid patents. On January 20, 2011, Celgene informed the court that it covenanted not to sue

  Natco on the ’326 Patent and ’432 Patent.114 On August 31, 2012, Celgene did the same for the

  ’217 Patent, which, along with the ’800 Patent, is one of Celgene’s two key polymorph

  patents.115 And on September 26, 2012, Celgene again covenanted not to sue Natco on the ’763

  Patent.116 In exchange, Natco dropped its counterclaims of invalidity against Celgene.

            354.     A Markman hearing was held on May 15, 2014. On May 27, 2014, the Hon.

  Susan D. Wigenton issued a Markman Opinion resolving disputed claim definitions in Natco’s

  favor on three of the five disputed terms at issue.117 These included narrowing constructions

  regarding the ’554, ’230, ’357, and ’598 patents, likely indicating that Natco would have


      113
          Amended Complaint (Fifth), Celgene Corp. v. Natco Pharma Ltd. No. 10-5197, ECF No. 215 (D.N.J. May
  6, 2013).
      114
            Statement, Celgene Corp. v. Natco Pharma Ltd., No. 2:10-cv-05197, ECF No. 24 (D.N.J. Jan. 20, 2011).
      115
            Id. at ECF No. 140 (D.N.J. Aug. 31, 2012).
      116
          Id. at ECF No. 145 (D.N.J. Sep. 26, 2012). In its Answer, Natco provided twenty-six pages of prior art
  references that render the ’763 Patent invalid and/or unenforceable. 2:12-cv-04571, ECF No. 15, Exh. B (D.N.J.
  Sep. 28, 2012).
      117
            Markman Opinion, Celgene Corp. v. Natco Pharma Ltd. No. 10-5197 (D.N.J. May 6, 2013), ECF No. 312.




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  prevailed under a noninfringement theory as to these pharmaceutical patents (’554 and ’230

  Patents) and polymorph patents (’357, and ’598 Patents). Indeed, following the Opinion, Celgene

  stipulated to the dismissal of the ’554 and ’230 patents, as below.

           355.     Natco’s strategy also included an attack on the ’800 and ’217 Patents, two

  polymorph patents that expire in 2027 and 2024, respectively.118 As above, these patents are

  invalid for obviousness. Nonetheless, Natco also alleged that it had invented around these

  patents. The polymorph patents, including the ’357 and ’598 Patents, claim multiple different

  polymorph embodiments of lenalidomide, which are labeled “Form A”, “Form B”, all the way

  through “Form H”. The different polymorph embodiments differ based upon their levels of

  solvation or hydration. For instance, Form A is “unsolvated” and Form B is “hemihydrated”.

  They also differ based upon specific testing results (such as X-Ray powder diffraction) that serve

  as “finger prints” or identifying characteristics of each different polymorph.

           356.     Celgene attempted to argue that these embodiments were not claimed, specific

  polymorphs, but merely exemplars. In arguing for this (rejected) construction, Celgene’s counsel

  inadvertently revealed just how difficult it would be for Celgene to prove infringement by listing

  the numerous specifications that an ANDA would need to have: “This is what they're talking

  about reading in. So I don't know how you would put the chart in there, but you'd have to put

  words to it. And they'd have another one, and another one, and another one, and another one, and

  another one, and another one, and another one, and another one, and it's just keeps going. This is

  all the material they are suggesting should be read into this claim, this term, to define Form A.

  My finger is getting tired, but I'm almost done. This is what is the claim would look like with -




     118
           As above, Celgene covenanted not to sue on the (earlier expiring) ’217 patent.




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  and it's not even all of it because we couldn't fit it on one slide.”119 In other words, unless Natco

  (or another generic’s) product had each of the innumerable characteristics, it would not infringe.

            357.     The Court rejected Celgene’s attempt, limiting “Form A to mean a particular

  polymorph with these distinguishing characteristics.” This cleared the way for Natco to prevail

  on noninfringement where it’s ANDA did not exhibit each and every characteristic specified in

  the exact polymorph forms disclosed – an unlikely proposition as demonstrated by Celgene’s

  Markman hearing arguments.

            358.     Additionally, the ’800 Patent included the disputed term “hemihydrate.” Natco

  argued that the term required an exact water to compound ratio of 0.5 to 1, and would have

  further limited the claimed polymorphic crystal form to what is called “Form B.” Celgene, by

  contrast, argued that “hemihydrate”, as used in the patent, implied an approximate, rather than

  exact, ratio. Under either construction, however, Natco’s accused products do not infringe

  because they are an “anhydrous” form, i.e., a form that has no water in the crystal.

            359.     In the Court’s Markman Opinion, the Court adopted Celgene’s proposed

  definition, reading “hemihydrate,” as a term of approximation.120 Nevertheless, Celgene could

  only prove infringement of Natco’s anhydrous product by arguing that at some point (such as

  after ingestion) Natco’s product would become hemihydrated and infringe, an unlikely prospect.

  However, by arguing for this broader definition of hemihydrate to help its weak and speculative

  infringement argument, Celgene exposed the ’800 Patent to new invalidity defenses.




      119
            Transcript, Celgene Corp. v. Natco Pharma Ltd. No. 10-5197 (D.N.J. May 20, 2014), ECF No. 310, at 84.
      120
           Markman Opinion, Celgene Corp. v. Natco Pharma Ltd. No. 10-5197 (D.N.J. May 27, 2014), ECF No. 312,
  at 6-7. (finding that hemihydrate means “a hydrate containing approximately half a mole of water to one mole of the
  compound forming the hydrate”).




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            360.       Less than a month after the Markman hearing, Natco moved to amend its defenses

  to assert these defenses, arguing invalidity for indefiniteness, lack of written description, and

  lack of enablement.121 With the gloss of the term of “approximately” applied to “hemihydrate”,

  (1) a person of ordinary skill would be unable to determine the scope of the patent, (2) the patent

  did not disclose or suggest to a person of ordinary skill in the art that any hemihydrate form of

  lenalidomide other than Form B even exists, let alone clearly convey that the patentee was in

  possession of other hemihydrated forms of lenalidomide, and (3) the patent does not disclose

  how to make a hemihydrated form, other than Form B, having the claimed characteristics.122

            361.       Celgene vigorously fought Natco’s motion, opposing amendment in a July 11,

  2014 opposition brief.123 And when Magistrate Judge Arleo granted Natco’s motion,124 Celgene

  immediately appealed the Opinion and Order, likely because it would have ultimately required

  Celgene to answer for the invalidity issues its own claim construction had created. Briefing over

  the granted amendment extended into January 2015 before Judge Wigenton.

            362.       Meanwhile, Celgene stipulated to dismissing its claims and defenses as to the

  ’230 and ’554 patents (following the Court’s adoption of Natco’s proposed claim terms

  regarding these patents), as well as the ’106 and ’415 Patents.125

            363.       On July 9, 2015, Judge Wigenton affirmed Magistrate Judge Arleo’s Opinion and

  Order granting Natco’s motion to amend its defenses to assert the new contentions opened up by




     121
           Letter, 2:10-cv-05197, ECF No. 321 (D.N.J. June 19, 2014).
     122
           Id. at 3.
     123
           Letter, 2:10-cv-05197, ECF No. 331 (D.N.J. July 11, 2014).
     124
           Opinion, 2:10-cv-05197, ECF No. 366 (D.N.J. Nov. 18, 2014).
     125
           Stipulation of Dismissal, 2:10-cv-05197, ECF No. 402 (D.N.J. March 26, 2015).




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  the court’s Markman Opinion.126 The parties served expert reports in late summer 2015 and

  responsive expert reports in September 2015.127 Shortly thereafter, some six years after litigation

  began, Celgene settled the patent litigation, shielding its patents from scrutiny before the court

  could address the infringement or invalidity of any of its patents.

            2.       Celgene Settles Patent Litigation with Natco/Arrow/Watson with an
                     Anticompetitive Reverse Payment Agreement.

            364.     On December 22, 2015, Celgene announced the settlement of litigation with

  Natco Pharma Ltd. of India, Natco's U.S. partner, Arrow International Limited, and Arrow's

  parent company, Watson Laboratories, Inc. (a wholly owned subsidiary of Allergan plc) (for

  these purposes, collectively “Natco”) relating to patents for REVLIMID® (lenalidomide).128

            365.     At this time there was a substantial probability that Natco’s lenolidamide product

  would be adjudged non-infringing, Celgene’s patents would be invalidated, and/or Natco would

  launch its Revlimid generic “at risk.” To avert devastation to its falsely constructed monopoly

  over lenolidamide products, Celgene bought off its would-be competitor, Natco.

            366.     By the express and implied economic terms of the agreement—some but not all of

  which are set forth explicitly in the settlement documentation—the agreement contained an

  anticompetitive reverse payment from Celgene to Natco. For its part, Celgene shared profits by

  allocating a volume-limited small number of generic sales to Natco beginning in March 2022. In

  exchange, Natco agreed to delay entry of its generic version of Revlimid until 2026 (eleven years

  later).



      126
            Opinion, 2:10-cv-05197, ECF No. 440 (D.N.J. July 9, 2015).
      127
        See Amended Scheduling Order, Celgene Corp. v. Natco Pharma Ltd. No. 10-5197 (D.N.J. May 6, 2013),
  ECF No. 449.
      128
            Press Release, Celgene Corp., Celgene Settles REVLIMID® Patent Litigation (Dec. 22, 2015),
  http://ir.celgene.com/releasedetail.cfm?ReleaseID=947998.




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            367.    By both the terms and effect of the arrangement, Celgene agreed to share its

  monopoly rents with Natco as a quid pro quo for Natco’s agreement not to compete with

  Celgene until January 31, 2026. Celgene shared profits by allocating a volume-limited number of

  generic sales to Natco beginning in March 2022.

            368.    On December 22, 2015, Celgene announced:

                    In settlement of all outstanding claims in the litigation, Celgene
                    will permit entry of generic lenalidomide before the April 2027
                    expiration of Celgene’s last-to-expire patent listed in the Orange
                    Book for REVLIMID®. Celgene has agreed to provide Natco with
                    a license to Celgene’s patents required to manufacture and sell an
                    unlimited quantity of generic lenalidomide in the United States
                    beginning on January 31, 2026. In addition, Natco will receive a
                    volume-limited license to sell generic lenalidomide in the United
                    States commencing in March 2022. The volume limit is expected
                    to be a mid-single-digit percentage of the total lenalidomide
                    capsules dispensed in the United States during the first full year of
                    entry. The volume limitation is expected to increase gradually each
                    12 months until March of 2025, and is not expected to exceed one-
                    third of the total lenalidomide capsules dispensed in the U.S. in the
                    final year of the volume-limited license under this agreement.129

            369.    Celgene and Natco kept the details of the payment terms secret from the Court,

  the public, and Cigna.

            370.    On a February 12, 2016 earnings call, Natco further disclosed that the license

  referred to by Celgene in its announcement was royalty free. Natco also newly disclosed the

  inclusion of an acceleration clause, allowing for earlier Natco entry triggered by other generic

  market entries.130


      129
           Press Release, Celgene Settles REVLIMID Patent Litigation, dated December 22, 2015, available at
  https://www.businesswire.com/news/home/20151222005986/en/ (last accessed March 29, 2022).
      130
           See Natco Pharma Q3 FY 2016 Earnings Conference Call” February 12, 2016, available at
  https://natcopharma.co.in/wp-content/uploads/2016/02/NirmalBang-NatcoPharma-Feb12-2016.pdf (“… if
  something triggers a launch date earlier than 2022 so the agreement has standard accelerated clauses with respect to
  everything, so if such an event were to happen so it is 22 limited quantity which will increase over a period of time
  to unlimited quality till 26 or in the event that something happens to the patents or certain events which are defined




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            371.         Individually and collectively, these payment terms are anticompetitive. First, the

  volume-limited royalty-free license allocates the market by eliminating the incentive to compete

  on price (i.e., to increase volume), ensuring that prices will remain at supra-competitive levels

  even after generic entry. As Teva (Natco’s marketing partner) described, Celgene set up a “profit

  share.”131 The royalty-free generic license prior to true generic competition constitutes a large

  reverse payment from Celgene to the generic that equates to hundreds of millions of dollars in

  the first year of generic sales alone. Second, the acceleration clause deters other generics from

  continuing to challenge Celgene’s patents and provides assurance to Natco that it will receive the

  most favorable entry date and retain its lucrative exclusivity period.

            372.         Natco executives celebrated the supracompetitive profits it planned to make from

  the Revlimid settlement to investors:

                         Revlimid looks like a blockbuster. If you look at the guidance that
                         they have given they have given very obscene numbers on how
                         big the brand will be, right now it is about 3.5 billion. I have seen
                         projections in the US and globally I think it is doing 5, 6 billion,
                         they are saying it will be a $8, $9 billion brand so I think it will
                         stay and I am still very positive about it . . . .132

            373.         The settlement caused Natco to delay its bona fide full market entry until January

  31, 2026.

            374.         On December 23, 2015 (the day on which the Revlimid settlement was

  announced) Celgene’s stock price leaped upward by 9.8%, confirming the additional monopoly

  profits Celgene would gain from delayed competition. Stock prices reflect investors’



  in our agreement, there are whole slew of events that are defined, standard accelerated clauses kick in which allows
  us an earlier entry as well.”).
      131
           See “Q1 FY 2019 Teva Pharmaceutical Industries Ltd. Earnings Conference Call” May 2, 2019, available at
  https://www.fool.com/earnings/call-transcripts/2019/05/02/teva-pharmaceutical-industries-limited-teva-q1-201.aspx.
      132
            Id. at 20.




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  expectations about a company’s future profits. A dramatic upward change in the stock price

  reflects an upward revision in profit expectations. Generally, an increase in the brand’s stock

  price after a patent litigation settlement indicates that the settlement delayed generic entry

  beyond investors’ expectations.133

            375.   Celgene’s stock price increase equates to a staggering increase in market

  capitalization of $8.6 billion, the single largest percentage increase in Celgene’s stock price in

  2015. Trends in the overall market do not explain the spike as the S&P 500 increased by only

  1.2% on the same day. Natco’s stock price went up too, increasing 2.3% on the Bombay Stock

  Exchange upon announcement of the settlement.134 Without an alternative explanation, investors

  interpretation of the settlement as benefiting both Celgene and Natco indicates that joint profits

  were increased by delaying genuine generic competition.

            3.     Celgene Initiates and Settles Sham Litigation against At Least Four Other
                   Generics, Shoring up the Anticompetitive Terms of its Agreement with
                   Natco.

            376.   Celgene settled at least four later patent infringement suits against generic

  companies on terms that served to shore up the anticompetitive terms (and the attendant windfall

  of profits) of the reverse payment Natco agreement. As explained further below, virtually all of

  the terms of the later generic settlements have been concealed from Cigna and the public. None

  of the later filed generics entered the market before the March 2022 date agreed to in Natco’s

  Celgene's actions in settling these other ANDA litigations served to preserve the ill-gotten gains




      133
          See Drake, Starr, and McGuire, Do “Reverse Payment” Settlements Constitute an Anticompetitive Pay-for-
  Delay?” International Journal of the Economics of Business, 22(2), 2015, pp. 173-200and McGuire et al.,
  “Resolving Reverse-Payment Settlements with the Smoking Gun of Stock Price Movements,” Iowa Law Review,
  101, 2016, pp. 1581-1599.
      134
          http://www.myiris.com/newsCentre/storyShow.php?fileR=20151223130747199&secTitle=
  activestock&arttype=news.




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  and market allocation with Natco, by, in part, ensuring that generics accepted Natco’s March

  2022 entry date (and did not try to leapfrog over Natco to enter earlier with their own product)

  and forestalling robust generic competition until at least January 31, 2026.

                     a.       Celgene Settles with Dr. Reddy’s.

            377.     As part of its unlawful anticompetitive strategy, Celgene filed three serial patent

  infringement suits against Dr. Reddy’s for the sole purpose of delaying generic entry into the

  lenalidomide market. Although Dr. Reddy’s obtained Final Approval on October 14, 2021, it still

  has not launched a generic Revlimid. But for Celgene’s anticompetitive scheme, Dr. Reddy’s

  would have gained temporary and final approval far earlier and launched a competing generic

  Revlimid.

            378.     First, on September 9, 2016, generic manufacturer Dr. Reddy’s sent Celgene a

  Paragraph IV certification notifying Celgene that it had filed ANDA No. 209-348 with the FDA

  seeking approval to market generic Revlimid. On October 10, 2016, Celgene sued Dr. Reddy’s

  in the District of New Jersey.135 Celgene later sued Dr. Reddy’s in two additional suits alleging

  infringement of Celgene’s later-acquired patents.136 Dr. Reddy’s answered, in all three

  litigations, that the patents asserted were not duly or lawfully issued.137

            379.     The parties filed a Joint Claim Construction Hearing and Statement on October

  26, 2017, in which Dr. Reddy’s notified the court that “the construction of the claim term

  ‘crystalline’ will be ‘most significant to the resolution of the case’ and ‘will be case or claim

  dispositive or substantially conducive to promoting settlement,’ at least with respect to the ’800


      135
            Celgene Corp. v. Dr. Reddy’s Laboratories, Inc., No. 2:16-cv-07704 (D.N.J).
      136
         Celgene Corp. v. Dr. Reddy’s Laboratories, Inc., 2:17-cv-05314 (D.N.J.); and Celgene Corp. v. Dr. Reddy’s
  Laboratories, Inc., 2:18-cv-06378 (D.N.J.).
      137
          See No. 2:16-cv-07704, ECF No. 7 (D.N.J. Nov. 18, 2016); 2:17-cv-05314, ECF No. 17 (D.N.J. Oct. 18,
  2017); 2:18-cv-06378, ECF No. 30 (D.N.J. May 31, 2018).




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  and ’217 patents on crystalline lenalidomide.”138 Although the ’800 and ’217 patents are invalid

  for obviousness, Dr. Reddy’s had nonetheless invented around these keys patents (set to expire in

  2024 and 2027) and its ANDA did not infringe Celgene’s patents.

           380.     As detailed in its Markman brief, while Celgene’s Polymorph patents claim a

  “crystalline lenalidomide,” Dr. Reddy’s ANDA product comprises an “amorphous lenalidomide”

  structure. With the support of “the intrinsic and extrinsic record, as well as the understanding of

  the person of skill in the art” amorphous structures “are not crystalline,” but rather “composed of

  randomly oriented molecules with no long-range order.”139




     138
           No. 2:16-cv-07704, ECF No. 57, at 4-5 (D.N.J. Oct. 26, 2017).
     139
           No. 2:16-cv-07704, ECF No. 67, at 1, 4 (D.N.J. Dec. 22, 2017)




                                                         113
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           381.     This distinction, likely establishing noninfringement, was further highlighted by

  the prosecution history of the patents. Celgene had initially attempted to include claims covering

  amorphous as well as crystalline forms, but, following rejection by the examiner, Celgene

  cancelled and removed the amorphous claims from the application.140

           382.     Celgene initially opposed Dr. Reddy’s proposed construction. However,

  following briefing, on March 23, 2018, Celgene notified the court that the parties had resolved

  their claim construction disputes and would not be filing responsive Markman briefs.

           383.     On information and belief, Celgene had conceded to Dr. Reddy’s construction of

  “crystalline”, paving the way for Dr. Reddy’s to argue its ANDA did not infringe Celgene’s key

  Polymorph patents because were Celgene to oppose it (as in the Natco litigation), it would have

  opened its patents up to strong invalidity arguments.

           384.     Dr. Reddy’s had also previewed winning invalidity arguments regarding

  Celgene’s method of treatment patents (for myelodysplastic syndromes) in PTAB proceedings,

  showing Celgene that Dr. Reddy’s had a clear path to market on at least a skinny label.

  Celgene’s ’740, ’717, and ’120 patents were anticipated by invalidating prior art, including press

  releases from years earlier. Dr. Reddy’s introduced the two press releases bearing dates which

  would have invalidated the patent. In response, Celgene did not deny that the press releases were

  in fact published on the relevant dates, but instead disingenuously argued that the date on the

  press release did not themselves establish that their press release was published. While the

  PTAB was forced to deny institution on this technicality, Dr. Reddy’s—and Celgene—knew that

  Dr. Reddy’s could easily remedy this evidentiary technicality during District Court proceedings

  and invalidate Celgene’s method of use patents.


     140
           ECF No. 67, at 4-5 (D.N.J. Dec. 22, 2017).




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            385.    On September 17, 2020, Celgene141 announced a settlement of its litigation with

  Dr. Reddy’s.142 Similar to Celgene’s agreement with Natco, Celgene’s announcement provided

  only minimal details of the deal between Celgene and Dr. Reddy’s. As stated in their press

  release:

                    Celgene has agreed to provide DRL with a license to Celgene’s
                    patents required to manufacture and sell certain volume-limited
                    amounts of generic lenalidomide in the U.S. beginning some time
                    after the March 2022 volume-limited license date that Celgene
                    previously provided to Natco. The specific volume-limited license
                    date and percentages agreed-upon with DRL were not disclosed
                    and are confidential. In addition, Celgene has agreed to provide
                    DRL with a license to Celgene’s patents required to manufacture
                    and sell an unlimited quantity of generic lenalidomide in the U.S.
                    beginning no earlier than January 31, 2026.

            386.    The settlement agreement between Dr. Reddy’s and Celgene served to shore up

  the anticompetitive reverse payment deal. In exchange for ending the patent litigation, Celgene

  carved out a portion of its monopoly to share with Dr. Reddy’s. The volume-limited small caps

  ensure that Dr. Reddy’s has no incentive to compete on price (because, as with Natco, a price

  reduction does not increase output).143 As in the case of the settlement with Natco, Celgene has

  no incentive to launch an AG. The net result of the agreement is that there will be no price

  competition, and Celgene retains its ability for a longer period to sell brand Revlimid at a




      141
           Bristol-Myers Squibb acquired Celgene in November of 2019, for clarity, this complaint will continue to
  refer to the brand defendant as Celgene. As above, it is likely that Bristol-Myers Squibb approved Celgene’s
  settlement with Dr. Reddy’s.
      142
         Brisol Myers Squibb Announces Settlement of U.S. Patent Litigation for Revlimid (lenalidomide) with Dr.
  Reddy’s, Available at, https://www.businesswire.com/news/home/20200917005211/en/Bristol-Myers-Squibb-
  Announces-Settlement-of-U.S.-Patent-Litigation-for-REVLIMID%C2%AE-lenalidomide-With-Dr.-
  Reddy%E2%80%99s.
      143
         While Dr. Reddy’s qualified for first-filer statutory exclusivity for two of the six formulations – the 2.5mg
  and 20mg capsules – neither Dr. Reddy’s nor Natco have an incentive to compete on price.




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  monopoly pricing. The agreement with Dr. Reddy’s solidified, and was in part induced by,

  Celgene’s earlier agreement with Natco.

           387.       Cigna is forced to purchase brand-name Revlimid at Celgene’s supracompetitive

  prices until true price competition is expected to start, in 2026.

                    b.       Celgene Settles with Lotus (Alvogen).

           388.     As part of its unlawful anticompetitive strategy, Celgene filed two serial patent

  infringement suits against Lotus and Alvogen, Inc. (collectively, “Lotus”). It brought the actions

  only because the filing would delay generic entry into the lenalidomide market. Although Lotus

  obtained Temporary Approval on September 24, 2020, it still has not launched a generic

  Revlimid. But for Celgene’s anticompetitive scheme, Lotus would have gained temporary and

  final approval far earlier and launched a competing product.

           389.     On September 6, 2017, Celgene filed a patent infringement action against Lotus

  for filing ANDA No. 210480 for various dosages of its generic alternative to Revlimid, which

  Celgene alleged would infringe its ’517 Patent, ’720 Patent, ’977 Patent, ’784 Patent, ’740

  Patent, ’800 Patent, ’217 Patent, ’569 Patent, ’886 Patent, ’717 Patent, ’498 Patent, ’531 Patent,

  ’095 Patent, ’120 Patent, ’621 Patent, and the ’622 Patent.144

           390.     On July 10, 2018, Celgene filed another patent infringement action against Lotus,

  alleging Lotus’s ANDA would also infringe its ’357 Patent, ’219 Patent, and the ’598 Patent.145

  The patents that Celgene has claimed would be infringed in this case, however, have not been

  submitted to the Orange Book by Celgene in association with Revlimid as required pursuant to

  21 U.S.C. §355(b)(1) and attendant FDA regulations. Celgene was required to list with its NDA,



     144
           Celgene Corp. v. Lotus Pharmaceutical Co., Ltd., et al., No. 2:17-cv-06842 (D.N.J.).
     145
           Celgene Corp. v. Lotus Pharmaceutical Co., Ltd., et al, No. 2:18-cv-11518 (D.N.J.).




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  or within thirty days for a new patent after the NDA has been submitted, any patents for which

  an infringement claim could reasonably be asserted against an unlicensed entity attempting to

  manufacture, use, or sell its drug. By citing these patents that were not filed in the Orange Book,

  Celgene is either filing a frivolous infringement claim for a patent that it does not believe could

  be reasonably asserted or failing to list patents properly, which could give rise to administrative

  action or potentially additional antitrust liability if done in an attempt to delay filing and further

  extend its monopoly.

            391.   Lotus filed answers and counterclaims in all actions, alleging that all Celgene’s

  asserted patents are invalid, unenforceable, or uninfringed.

            392.   On August 8, 2018, Celgene filed a Statement informing the court of its covenant

  not to sue Lotus for infringement of the ’217 Patent.146

            393.   On December 17, 2018, the parties submitted a Joint Claim Construction

  Statement. As argued by Lotus, the methods-of-use patents for multiple myeloma (the ’498

  patent, ’095 patent, ’621 patent, and ’622 patent) are invalid for, amongst other reasons,

  indefiniteness of key terms which the parties agreed to address through expert discovery.

            394.   Invalidation and/or a favorable construction regarding these methods-of-use

  patents, which expire on May 23, 2023, would have paved the way for a Lotus and/or other

  generic rivals to launch a “skinny-label” generic Revlimid for treatment of multiple myeloma,

  endangering Celgene’s monopoly.

            395.   On February 22, 2019, Celgene and Lotus stipulated to bifurcating and staying all

  proceedings related to the REMS patents (the ’720, ’977, ’784, ’886, and ’531 Patents), pending




      146
          Statement, Celgene Corp. v. Lotus Pharmaceutical Co., Ltd., et al., No. 2:17-cv-06842, ECF No. 81 (D.N.J.
  Aug. 8, 2018).




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  Celgene’s appeal to the Federal Circuit of the PTAB’s invalidation of the ’720 Patent (ultimately

  affirmed on July 30, 2019).

           396.   On March 29, 2019, Celgene and Lotus announced a settlement agreement. The

  terms of the agreement are confidential, but Celgene and Lotus announced some details in a

  press release that is identical to that released in the Dr. Reddy’s settlement,147 indicating a similar

  settlement with another Later-Filing Generic protecting sales at monopoly pricing.

           397.   The settlement agreement between Lotus and Celgene also served to shore up the

  anticompetitive reverse payment deal and complementary agreement. In exchange for ending

  the patent litigation, Celgene carved out a portion of its monopoly to share with Lotus. The

  volume-limited small caps ensure that Lotus has no incentive to compete on price (because, as

  with Natco, a price reduction does not increase output). As in the cases of the settlements with

  Natco and Dr. Reddy’s, Celgene has no incentive to launch an AG. The net result of the

  agreement is that there will be no price competition, and Celgene retains its ability for a longer

  period to sell brand Revlimid at a monopoly pricing. The agreement with Lotus solidified, and

  was in part induced by, Celgene’s agreements with Natco and Dr. Reddy’s.

           398.   The anticompetitive effects of Celgene’s conduct are to again delay and forestall

  price competition in the lenalidomide market.

                  c.     Celgene Settles with Cipla.

           399.   As part of its unlawful anticompetitive strategy, Celgene filed four serial patent

  infringement suits against Cipla. It brought the actions only because the filing would delay




     147
       https://www.businesswire.com/news/home/20190329005384/en/Celgene-Settles-U.S.-
  REVLIMID%C2%AE-Patent-Litigation-with-Alvogen.




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  generic entry into the lenalidomide market. Cipla’s ANDAs are “skinny labels” that seek only to

  treat multiple myeloma and myelodysplastic syndromes.

           400.     On August 15, 2017, Celgene filed a patent infringement action against Cipla, for

  filing ANDA No. 210435 for various dosages of its generic alternative to Revlimid, which

  Celgene alleged would infringe the same combination of the ’800 Patent, ’217 Patent, ’569

  Patent, ’498 Patent, ’095 Patent, ’621 Patent, and the ’622 Patent.148 On May 8, 2018, Celgene

  filed another patent infringement action against Cipla, alleging Cipla’s ANDA would also

  infringe the ’357 Patent, ’219 Patent, and the ’598 Patent, none of which Celgene listed in the

  Orange Book as covering Revlimid.149 On March 29, 2019, Cipla submitted a second ANDA,

  No. 213165. On July 3, 2019, Celgene filed another patent infringement action against Cipla,

  alleging Cipla’s second ANDA would infringe the ’800 Patent, the ’217 Patent, the ’569 Patent,

  the ’498 Patent, the ’095 Patent, the ’621 Patent, the ’622 Patent, the ’740 Patent, the ’717

  Patent, and the ’120 Patent.150 On May 12, 2020, Cipla submitted a third ANDA, No. 214618.

  On June 24, 2020, Celgene filed another patent infringement action against Cipla, alleging

  Cipla’s third ANDA would infringe the ’800 Patent, the ’217 Patent, the ’569 Patent, the ’498

  Patent, the ’095 Patent, the ’621 Patent, the ’622 Patent, the ’740 Patent, the ’717 Patent, and the

  ’120 Patent.151

           401.     Cipla filed answers and counterclaims in all actions, alleging that all Celgene’s

  asserted patents are invalid, unenforceable, or uninfringed.




     148
           Celgene Corp. v. Cipla Ltd., No. 2:17-cv-06163 (D.N.J.).
     149
           Celgene Corp. v. Cipla Ltd., No. 2:18-cv-08964 (D.N.J.).
     150
           Celgene Corp. v. Cipla Ltd., No. 2:19-cv-14731 (D.N.J.).
     151
           Celgene Corp. v. Cipla Ltd., No. 2:20-cv-07759 (D.N.J.)




                                                         119
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            402.     On January 14, 2019, the court ordered mediation between the parties. On

  February 6, 2019, the parties informed the court that Markman hearings were no longer

  necessary.

            403.     On April 30, 2019, the court issued a stipulated order in which the parties agreed

  not to contest a finding that products derived from Cipla’s ANDA would infringe Celgene’s

  ’357, ’219, and ’598 patents, none of which Celgene listed in the Orange Book as covering

  Revlimid, while Cipla reserved its rights to argue invalidity.

            404.     On May 28, 2020, Celgene filed its First Amended Complaint, alleging patent

  infringement arising from both of Cipla's ANDAs.152 That day, the parties submitted their Joint

  Claim Construction Statement, informing the court of the absence of disputed terms. On June 8,

  2020, Civil Action Nos. 18-08964 and 17-06163 were administratively terminated and

  incorporated by reference into Civil Action No. 19-14731.

            405.     On June 22, 2020, Cipla was granted leave to serve amended noninfringement

  contentions regarding Celgene’s method of use patents for multiple myeloma.153 On July 13,

  Celgene stipulated to a dismissal of its claims regarding the ’217 Patent and filed a covenant not

  to sue Cipla for infringement of the ’217 Patent.154

            406.     On August 21, 2020, Cipla submitted an application of fifteen single-spaced

  pages to the court seeking an order compelling Celgene’s production of discovery. Celgene’s

  opposition was due September 15. A telephone conference was set for November 23, 2020.




      152
            First Amended Complaint, Celgene Corp. v. Cipla Ltd., No. 2:19-cv-14731, ECF No. 64 (D.N.J.).
      153
            Stipulation and Order, No. 2:19-cv-14731, ECF No. 67 (D.N.J. June 22, 2020).
      154
           Stipulation and Order of Dismissal, Celgene Corp. v. Cipla Ltd., No. 2:19-cv-14731, ECF No. 74 (D.N.J.
  Jul. 13, 2020).




                                                          120
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            407.   On December 11, 2020, Celgene announced a settlement agreement.155 The terms

  of the agreement are confidential, but Celgene and Cipla announced some details in a press

  release that is identical to that released for the Dr. Reddy’s and Lotus settlements,156 indicating a

  similar settlement with another Later-Filing Generic designed to protect monopoly pricing.

            408.   The settlement agreement between Cipla and Celgene also served to shore up the

  anticompetitive reverse payment deal and complementary agreement. In exchange for ending

  the patent litigation, Celgene carved out a portion of its monopoly to share with Cipla. The

  volume-limited small caps ensure that Cipla has no incentive to compete on price (because, as

  with Natco, a price reduction does not increase output). As in the cases of the settlements with

  Natco, Dr. Reddy’s, and Lotus, Celgene has no incentive to launch an AG. The net result of the

  agreement is that there will be no price competition, and Celgene retains its ability for a longer

  period to sell brand Revlimid at a monopoly pricing. The agreement with Cipla solidified, and

  was in part induced by, Celgene’s agreements with Natco, Dr. Reddy’s, and Lotus.

            409.   The anticompetitive effects of Celgene’s conduct are to again delay and forestall

  price competition prevent in the lenalidomide market.

                   d.       Celgene’s Settles with Sun.

            410.   As part of its unlawful anticompetitive strategy, Celgene filed three serial patent

  infringement suits against Sun. It brought the actions only because the filing would delay

  generic entry into the lenalidomide market.




      155
          As with the Dr. Reddy’s settlement, it is likely that Bristol-Myers Squibb approved Celgene’s settlement
  with Cipla.
      156
         https://www.businesswire.com/news/home/20201211005052/en/Bristol-Myers-Squibb-Announces-
  Settlement-of-U.S.-Patent-Litigation-for-REVLIMID%C2%AE-lenalidomide-with-Cipla.




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            411.     In Spring 2018, Sun filed ANDA No. 211846 for generic lenalidomide. Sun’s

  ANDA is a “skinny label” seeking only to treat multiple myeloma. On May 30, 2018, Sun sent

  written notice of its Paragraph IV certification to Celgene alleging that the patents-in-suit are

  invalid and/or will not be infringed by Sun’s ANDA.

            412.     On July 13, 2018, Celgene filed yet another patent infringement action against a

  generic manufacturer, this time against Sun Pharmaceuticals Industries Inc. and related entities

  for filing its ANDA for various dosages of its generic alternative to Revlimid, which Celgene

  alleged would infringe its ’800 Patent, ’217 Patent, and ’569 Patent.157 On April 16, 2019,

  Celgene filed another patent infringement action against Sun, alleging that Sun’s ANDA would

  infringe its ’357 Patent, ’219 Patent, and its ’598 Patent, none of which Celgene listed in the

  Orange Book as covering Revlimid.158 On February 2, 2021, Celgene filed another patent

  infringement action against Sun, alleging that Sun’s ANDA would infringe its ’498 Patent, ’095

  Patent, ’621 Patent, and its ’622 Patent.159

            413.     Sun filed answers and counterclaims in the first two actions (the third settled

  before Sun filed an Answer), alleging that all Celgene’s asserted patents are invalid,

  unenforceable, or uninfringed.

            414.     On January 22, 2019, Celgene filed a Statement informing the court of its

  covenant not to sue Sun for infringement of the ’217 Patent.160




      157
            Celgene Corp. v. Sun Pharmaceutical Industries, Inc. et al., No. 2:18-cv-11630 (D.N.J.).
      158
            Celgene Corp. v. Sun Pharmaceutical Industries, Inc. et al., No. 2:19-cv-10099 (D.N.J.).
      159
            Celgene Corp. v. Sun Pharmaceutical Industries, Inc. et al., No. 2:21-cv-01734 (D.N.J.).
      160
          Statement, Celgene Corp. v. Sun Pharmaceutical Industries, Inc. et al., No. 2:18-cv-11630, ECF No. 50
  (D.N.J. Jan. 22, 2019).




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            415.   On December 12, 2019, the court cancelled Markman hearings upon the parties’

  joint motion.

            416.   On June 21, 2021, Sun announced its settlement with Celgene.161 The only details

  made available were that “Celgene will grant Sun Pharma a license to Celgene’s patents required

  to manufacture and sell (subject to USFDA approval) certain limited quantity of generic

  lenalidomide capsules in the US beginning on a confidential date that is sometime after March

  2022. In addition, the license will also allow Sun Pharma to manufacture and sell an unlimited

  quantity of generic lenalidomide capsules in the US beginning January 31, 2026.”162 The terms

  of the agreement are confidential, but Celgene and Sun announced some details in a press release

  that is identical to that released for the Dr. Reddy’s, Lotus, and Cipla settlements, indicating a

  similar settlement to another Later-Filing Generic.163 As in the cases of the settlements with

  Natco, Dr. Reddy’s, and Lotus, Celgene has no incentive to launch an AG. The net result of the

  agreement is that there will be no price competition, and Celgene retains its ability for a longer

  period to sell brand Revlimid at a monopoly pricing. The agreement with Sun also solidified,

  and was in part induced by, Celgene’s earlier agreements with Natco, Dr. Reddy, Lotus, and

  Cipla.

            417.   The anticompetitive effects of Celgene’s conduct are to again delay and forestall

  price competition prevent in the lenalidomide market.




      161
         As with the Dr. Reddy’s settlement, it is likely that Bristol-Myers Squibb approved Celgene’s settlement
  with Sun.
      162
         https://sunpharma.com/wp-content/uploads/2021/06/Press-Release-Settlement-of-Patent-Litigation-for-
  Generic-Revlimid-in-US.pdf
      163
         https://sunpharma.com/wp-content/uploads/2021/06/Press-Release-Settlement-of-Patent-Litigation-for-
  Generic-Revlimid-in-US.pdf




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            4.      The Settlement Between Celgene and Natco, is an Anticompetitive Reverse
                    Payment Agreement that Resulted in a Market Division and Delayed True
                    Generic Competition.

            418.    The Celgene-Natco agreement is an anticompetitive reverse payment condemned

  by the Supreme Court in FTC v. Actavis. The reverse payment took the form of volume-limited

  royalty-free licenses prior to full-fledged and robust competition,164 as well as most-favored

  entry clauses. The agreement is also, separate and apart from whether it includes payments, an

  illegal market allocation among competitors. The agreement delayed full-fledged and robust

  competition and resulted in an anticompetitive market division that benefited the parties involved

  to the detriment of purchasers.

                    a.       Bona fide Generic Competition Will Not Begin Until January 31,
                             2026, Causing Cigna to Suffer Substantial Overcharges on its
                             Purchases of Revlimid.

            419.    The Revlimid anticompetitive reverse payment settlement and complementary

  agreements will prevent true generic competition for Revlimid until January 31, 2026. As a

  result, Cigna will be and has been forced to purchase brand Revlimid at supra-competitive prices

  through at least early 2026, even with the volume-limited introduction of Natco’s generic

  Revlimid (marketed by Teva) in March of 2022.

            420.    Absent Celgene’s multipronged monopolistic scheme, generic Revlimid would

  have been available years ago, on a date to be determined during discovery.

            421.    Absent the Revlimid agreements, a reasonable generic company in the position of

  Natco/Teva would have: (i) launched generic Revlimid after prevailing at trial, (ii) launched at

  risk, or (iii) entered into a payment-free agreement that provide for an earlier agreed entry date.




      164
         Prior to full disclosure of the actual agreement(s) and discovery, quantification of the payment is
  approximate.




                                                          124
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  At the very latest, absent the Revlimid agreements, Natco/Teva would have at least been able to

  launch on May 21, 2021, after receiving final approval from the FDA or – in the absence of

  entering into an anticompetitive payment-laded agreement with competitor Celgene – even

  earlier. As above, Dr. Reddy’s would have been able to launch two formulations of generic

  Revlimid soon thereafter, having itself received final approval on October 14, 2021 or – in the

  absence of entering into an anticompetitive payment-laded agreement with competitor Celgene –

  even earlier. From what is known and alleged in this Complaint, including the improperly listed

  and later invalidated REMS patents (expired 2020) and the known defects of the ’517 Patent

  (expired 2019), generic entry would have likely occurred substantially earlier.

            422.   A 2010 study by the FTC found that on average, within a year of generic entry,

  generics had captured 90% of corresponding brand sales and (with multiple generics on the

  market) prices had dropped 85%, findings confirmed by later studies. Given that there were

  multiple generic filers, it is likely that additional generics would have entered subsequent to

  Natco, driving down prices in accord with industry experience.165 Thus, Plaintiff will suffer

  substantial damages in overcharges on Revlimid purchases through at least early 2026.

            423.   A seller with a volume limit has no incentive to compete on price. Adding

  generic sellers with volume limits will put no downward pressure on price.

            424.   If reasonable, competitively-acting companies in the position of Natco and

  Celgene had chosen to settle lawfully, i.e., without a market allocation and/or large and

  unjustified payment, the agreed upon date by which Natco could enter with its generic Revlimid




      165
          See R. Conrad and R. Lutter, Generic Competition and Drug Prices: New Evidence Linking Greater
  Generic Competition and Lower Generic Drug Prices, FDA: Generic Competition and Drug Prices (December
  2019), available at https://www.fda.gov/about-fda/center-drug-evaluation-and-research-cder/generic-competition-
  and-drug-prices (last accessed March 29, 2022).




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  would have been earlier, well before March of 2022 and robust generic competition would have

  occurred well before January 31, 2026.

            425.    Because of the delayed date of robust competition, and Celgene’s multifaceted

  monopolistic scheme, Celgene had extra time to convert the bulk of Thalomid prescriptions over

  to Revlimid prescriptions, thereby taking advantage of its artificially and unlawfully extended

  monopoly on Revlimid and the supracompetitive prices caused by its misconduct.

                    b.       Volume Limited, Royalty-Free Licenses Prior to True Generic
                             Competition as a Reverse Payment.

            426.    As discussed above, Celgene’s settlement agreement with Natco provides for a

  volume-limited, royalty-free license. Natco described the existence of, but not the precise

  numbers, volume limits in its original press release. Additionally, during Natco’s February 12,

  2016 earnings call (held shortly after the Natco Revlimid settlement was announced), Natco

  CEO Rajeev Nannapaneni stated with respect to the Revlimid settlement agreement: “We have a

  launch date. The launch date is clear. It allows us to launch without paying a license fee that is

  the arrangement that we have.”166

            427.    The volume-limited, royalty-free license is essentially a side deal wherein the

  brand pays the generic by allowing some sales during a period protected from generic

  competition. In an arm’s length agreement where the volume-limited license were not connected

  to a delayed date for full generic competition, a reasonable, competitively-acting company in the

  position of Celgene would have kept the large majority of profits prior to full generic entry by

  charging Natco a substantial royalty. By instead offering a favorable royalty payment as part of

  a patent litigation settlement, or by waiving it entirely, as Celgene did when settling the Revlimid



      166
          Natco Feb. 12, 2016 earnings call transcript at p. 20, available at https://natcopharma.co.in/wp-
  content/uploads/2016/02/NirmalBang-NatcoPharma-Feb12-2016.pdf (last accessed March 2, 2022).




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  litigation with Natco, a brand manufacturer makes a substantial reverse payment to the generic

  manufacturer.

            428.    Similar, competitive agreements that are unconnected to patent litigation

  settlements provide a close analogy to an arm’s length transaction. Brand manufacturers

  sometimes launch their own generic product before full-fledged generic entry occurs.167 When

  the brand launches its own generic through a distributor in a competitive agreement that is

  unconnected to patent litigation, the industry standard is for the brand to retain 90% or more of

  the licensed generic profits.168 A rational brand manufacturer in Celgene’s position would not

  waive these royalties unless it was getting something in return. Celgene charged no royalties to

  Natco during the limited-volume period because the license was indeed connected to the patent

  litigation settlement and it was getting something in return: Celgene was buying a delay in full-

  fledged, robust, generic competition.




      167
            Although brand AG products are typically launched upon generic entry (see FTC 2011 Report, p. 74),
  numerous brand manufacturers have employed the strategy of preempting generic competition with an earlier AG
  launch. For example, brand manufacturers employed this strategy with AG launches of the drugs Xanax, Dyazide,
  Lopid, Tenormin, and Naprosyn. See J. Peny and R. Young, “Are generic defence strategies worth the effort?”
  Scrip Magazine, June 1996 (https://smart-pharma.com/wp-content/uploads/2019/07/Ethical-Products_Are-generics-
  defense-strategies-worth-the-effort.pdf); “Geneva Pharmaceuticals has First Legitimate AB-Rated Generic
  Dyazide,” The Pink Sheet, August 5, 1991 (https://pink.pharmaintelligence.informa.com/PS019523); “Warner-
  Lambert will Launch Generic Lopid; Is ‘Discussing’ Triglycerides Claim for Lopid SR with FDA, Company Tells
  Analysts in ‘Life after Lopid’ Talk,” The Pink Sheet, April 27, 1992
  (https://pink.pharmaintelligence.informa.com/PS020773); and “Arthritis Drug Maker Losing Its Monopoly:
  Pharmaceuticals: As its patent runs out, Syntex faces another challenger. Analysts are predicting a ‘ruthless
  market,’” L.A. Times, September 30, 1993 (https://www.latimes.com/archives/la-xpm-1993-09-30-fi-40495-
  story.html).
      168
          FTC 2011 study at p. 77 (“Apart from contexts where AG marketing rights derive from patent litigation
  settlements, marketing agreements generally require AG distributors to pay the brand a large percentage of profits
  on the AG, typically from 50–92 percent”); id. at fn. 55 (“CD, Oct. 12, 2004 (‘Historically, generic partners received
  20–35% of the economics, but this has now been driven down to 10% or less’)”); see also presentation entitled
  “Authorized Generic Partnership: Merck – Ranbaxy” dated May 24, 2007 (PDF labeled “Nexium Trial Exhibit
  103”), which states, “Current industry standard for sharing Net Profits is 90% to the innovator company and 10% to
  the generic marketer.” Some brand companies retain all the profit by launching AGs “in house” through a
  subsidiary.




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            429.    While at this stage precise calculation of the size of the payment cannot be made,

  by any view the transfer of value to Natco in the settlement agreement is massive. By way of

  illustration, a three-year, volume-limited license starting at 5% and over time moving to an

  allocation of 30% of the market to the Natco generic169 would result in a reverse payment from

  the brand manufacturer to Natco of approximately $3.6 billion.170 As shown below:

                                                                                                       Foregone
                                                            Generic-to-            Generic           royalties on
                   Brand Market          Percent of         brand price                sales       generic sales
                     (in millions)        market                  ratio        (in millions)        (in millions)
      Year 1              $8,000              5.0%               100%                  $400                 $360
      Year 2              $8,000             15.0%               100%               $1,200                $1,080
      Year 3              $8,000             30.0%               100%               $2,400                $2,160
                                                                                                  Total: $3,600


            430.    Celgene also agreed to provide volume-limited licenses to at least four of the

  Later-Filing Generics to start “sometime after March 2022” and likely limited to a “low-single

  digit percentage” of the market.171 Celgene has continued to conceal the terms of these

  settlements, including whether they involve a below market rate royalty. However, the

  settlements with LFGs are at least complementary agreements that Celgene settled on terms that



      169
           As described above, Natco was set to receive “a mid-single-digit percentage” of the volume during the first
  year after entry, which was set “increase gradually each 12 months” and was “not expected to exceed one-third of
  the total” volume in the third year of the Agreement. Press Release, Celgene Corp., Celgene Settles REVLIMID®
  Patent Litigation (Dec. 22, 2015), http://ir.celgene.com/releasedetail.cfm?ReleaseID=947998.
      170
          The Revlimid market is conservatively assumed to remain at $8 billion in each year. Reasonable parties in
  Celgene and Natco’s positions likely would have expected it to be greater. Also, as discussed above, there is no
  incentive for the generic to compete on price with a volume limited license, so the generic-to-brand price ratio is
  100%.
      171
           See https://www.businesswire.com/news/home/20200917005211/en/Bristol-Myers-Squibb-Announces-
  Settlement-of-U.S.-Patent-Litigation-for-REVLIMID%C2%AE-lenalidomide-With- Dr.-Reddy%E2%80%99s;
  https://www.businesswire.com/news/home/20190329005384/en/ Celgene-Settles-U.S.-REVLIMID%C2%AE-
  Patent-Litigation-with-Alvogen.; https://www.businesswire.com/news/home/20201211005052/en/Bristol-Myers-
  Squibb-Announces-Settlement-of-U.S.-Patent-Litigation-for-REVLIMID%C2%AE-lenalidomide-with-Cipla;
  https://sunpharma.com/wp-content/uploads/2021/06/Press-Release-Settlement-of-Patent-Litigation-for-Generic-
  Revlimid-in-US.pdf.




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  shored up the anticompetitive terms (and attendant windfall) of the anticompetitive reverse

  payment to Natco.

            431.   The total size of the reverse payment from Celgene to Natco associated with these

  foregone royalties is estimated to be $3.6 billion.

                   c.       Most-Favored Entry Clauses.

            432.   Second, Celgene made a payment to Natco in the form of a most-favored entry

  (alternative, “acceleration”) clause, that would provide disincentives to later generics to continue

  to challenge the Revlimid patents. If a later (non-settling) generic were to continue the litigation

  and invalidate the patents, triggering the most-favored entry clause, it would allow at least Natco

  to enter the market early, cutting into the non-settling generic’s market share and causing further

  price erosion. In other words, the challenger would bear 100% of the cost and risk associated

  with continuing the patent challenge but would enjoy only a fraction of the rewards if it were to

  succeed. As a result, most-favored entry clauses deter patent challenges and provide a payment

  to the settling generic in the form of an assurance that it will receive the most-favorable entry

  date.

            433.   Natco has disclosed that the Revlimid settlement agreement contains a most-

  favored entry clause, which if triggered, would or will permit Natco to enter the market earlier

  than it otherwise would be allowed under the terms of the settlement agreement. One of the

  events that can trigger the most-favored entry clause is if another generic manufacturer pursues

  the patent litigation and succeeds in invalidating Celgene’s patents.172 Without the clause, Natco

  would forfeit its lucrative 180-day exclusivity period if it could not launch within 75 days of the




      172
         Other common forms of most favored entry clauses allow the settling generic to enter if a different generic
  launches at risk or gets an earlier licensed entry date.




                                                         129
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  legal decision. The clause would allow Natco to launch quickly and retain its exclusivity, thus

  eliminating the risk that Natco could lose the 180-day exclusivity period.173 This elimination of

  the risk of losing the exclusivity period was extremely valuable to Natco.

                   d.        The Anticompetitive Reverse Payment and Complementary
                             Agreements Delayed Generic Competition and Created an
                             Anticompetitive Market Division.

            434.   Celgene’s agreements with Natco and the Later-Filing Generics delayed full-

  fledged generic entry by creating an anticompetitive market division. As summarized in Table X,

  compared to true generic entry, the market division benefits Celgene, Natco, and the Later Filing

  Generics at the expense of Purchasers.

   Table X. Market Division Created by the Anticompetitive Reverse Payment Settlements
                                              Celgene                             Third-Party    Purchaser
                                         Brand        AG              Natco        Generics      Spending
    Competitive Conditions
      180-days                            0.40          0.84           0.84                         2.07
      Next 2.5 years                      2.00          0.18           0.18          0.73           3.10
      Total                               2.40          1.02           1.02          0.73           5.17

    Reverse Payment Agreements
      Year 1                             7.12                          0.40          0.48           8.00
      Year 2                             5.52                          1.20          1.28           8.00
      Year 3                             4.00                          2.40          1.60           8.00
      Total                             16.64           0.00           4.00          3.36          24.00

    Anticompetitive Profit              14.24          -1.02           2.98          2.63
    Harm to Purchasers                                                                             18.83

            435.   To make these calculations, the market is conservatively assumed to be $8 billion

  in each year with no price competition. Without volume limits, generics are assumed to capture




      173
          Keith Drake and Thomas McGuire, Most Favored Entry Clauses in Drug Patent Litigation Settlements as a
  Potential Reverse Payment, National Bureau of Economic Research, Working Paper 29801 (February 2022),
  available at https://www.nber.org/papers/w29801 (last accessed March 8, 2022).




                                                      130
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  90% of the overall unit volume and generic prices are assumed to be as specified by the generic-

  to-brand price ratios calculated by the FDA.174

           436.     Under competitive conditions, with full-fledged generic entry, Celgene would

  make approximately $3.4 billion. During the first 180 days after generic entry, Celgene would

  make $0.4 billion from its brand sales ($4 billion * 10% brand-generic market share) and $0.84

  billion in authorized generic sales ($4 billion * 90% brand-generic market share * 46.5%

  generic-to-brand price ratio * 50% of the generic market). Over the next two-and-a-half years,

  Celgene would make another $2 billion in brand sales ($8 billion * 2.5 years * 10% brand-

  generic market share) and $0.18 billion in authorized generic sales ($8 billion * 2.5 years * 90%

  brand-generic market share * 6.1% brand-to-generic price ratio * 1/6 of the generic market).

           437.     With the market division in place, Celgene would earn $16.6 billion,

  approximately $14.2 billion more than under competitive conditions. Because its brand product

  could retain whatever share of the market Celgene did not allocate to the generics, Celgene

  would have no incentive to launch an authorized generic (which would typically enhance generic

  competition if no volume caps were in place). Assuming that Natco and the Later Filing

  Generics are allocated the same shares of the market as above, Celgene’s sales are calculated as:

  $8 billion * (100% - 5% volume to Natco – 1.5% * 4 volume to Later Filing Generics) + $8

  billion * (100% - 15% volume to Natco – 4% * 4 volume to Later Filing Generics) + $8 billion *

  (100% - 30% volume to Natco - 5% * 4 volume to Later Filing Generics) = $16.6 billion.

           438.     As shown, Natco is also better off with the market division agreement in place

  compared to with competitive conditions, by approximately $3.0 billion. With competitive

  conditions, Natco’s generic sales are similar to Celgene’s authorized generic sales of $1.02


     174
           https://www.fda.gov/media/133509/download (last page).




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  billion ($0.84 billion during the exclusivity period and $0.18 billion over the next 2.5 years).

  With the market division in place, Natco captures less of the generic market but benefits from the

  lack of price competition. Natco’s sales across the three-year period total $4.0 billion ($8 billion

  * 5% market share + $8 billion * 15% market share + $8 billion * 30% market share).

         439.    The Later-Filing Generics are also better off with the market division agreement

  in place, by about $2.6 billion. Under competitive conditions, they collectively make $0.73

  billion ($8 billion * 2.5 years * 90% brand-generic market share * 6.1% brand-to-generic price

  ratio * 4/6 of the generic market). With the market division agreement, they make $3.4 billion

  ($8 billion * 1.5% * 4 volume to Later Filing Generics + $8 billion * 4% * 4 volume to Later

  Filing Generics + $8 billion * 5% * 4 volume to Later Filing Generics). Each generic makes

  approximately $0.7 billion more under the market division agreement ($2.6 billion / 4 generics)

  compared to with competitive conditions.

         440.    In total, Celgene, Natco, and the Later-Filing Generics’ sales increase by $18.8

  billion with the market division agreement compared to competitive conditions. The increased

  sales of all the sellers of the brand and generic Revlimid come at the expense of Purchasers.

                 e.      Although Similar to a No-AG Clause, the Market Division Created by
                         the Volume-Limited Licenses Results in Even More Harm to
                         Purchasers

         441.    With competitive conditions, there are typically three products available during

  the 180-day generic exclusivity period: the first-to-file generic’s product, the brand’s authorized

  generic product, and the brand product. As summarized above, the two generic products quickly

  capture most of the market. The generics compete on price, bringing it down to approximately

  46.5% of the brand price, so purchasers benefit.

         442.    A no-AG clause is an anticompetitive promise from the brand not to compete with

  the generic during the 180-day exclusivity period (made in exchange for a delay in generic



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  entry). However, there are still two competitors and the generic must price below the brand

  product to capture most of the market. According to the FDA, a generic product in a market with

  only one generic seller is priced at 61.4% of the brand price.175 There is less benefit to

  purchasers compared to if there had been two generic products, but the competition introduced

  by one generic making unrestricted sales still benefits purchasers.

            443.   With a volume-limited license, the brand can retain whatever share of the market

  it has not allocated to the generic, so there is no incentive to launch an authorized generic. For

  the volume-restricted generic, its sales volume is also fixed and it has no incentive to try to

  increase volume by reducing price. Without some price competition, purchasers do not benefit

  from volume-limited generic entry.

            444.   The market division agreement here is more harmful to purchasers than a

  traditional no-AG clause for another reason. With a no-AG clause, after the 180-day exclusivity

  period expires, later-filing generics typically enter and drive down the price much further

  towards marginal cost. With respect to Revlimid, Celgene also allocated small shares of the

  market to the Later Filing Generics, so they will also have no incentive to compete on price.

  Thus, even after more generics become available, the price will remain close to the brand price

  and purchasers will derive very little if any benefit. In other words, a no-AG clause keeps the

  generic price unduly high for 180-days, but the Revlimid market division will keep it even higher

  and for a longer period of almost three years. (Of course, both arrangements also result in

  delaying generic competition.)




      175
           R. Conrad and R. Lutter, Generic Competition and Drug Prices: New Evidence Linking Greater Generic
  Competition and Lower Generic Drug Prices, FDA: Generic Competition and Drug Prices (December 2019),
  available at https://www.fda.gov/about-fda/center-drug-evaluation-and-research-cder/generic-competition-and-drug-
  prices (last accessed March 29, 2022).




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         5.      Celgene and Remaining Later-Filing Generics Quietly Settle Sham
                 Litigations

         445.    Celgene continued to file patent infringement litigation against any generic

  Revlimid ANDA filer. Only the Alembic sham patent litigation remains pending. Celgene and

  the below Later-Filing Generics have kept all the terms of their settlement agreements

  confidential. However, Plaintiff believes that, given the above anticompetitive reverse payment

  agreement and complementary agreements discernible with the little public information

  available, discovery of the below settlement agreements will likely reveal anticompetitive

  provisions that have shielded Celgene’s patents from judicial scrutiny and delayed generic

  competition.

                 a.     Celgene’s Sham Litigation Against Apotex

         446.    As part of its unlawful anticompetitive strategy, Celgene filed three patent

  infringement suits against Apotex. It brought the actions only because the filing would delay

  generic entry into the lenalidomide market.

                        (1)     Polymorphic Forms and Methods-of-Use Patents

         447.    After Apotex filed its ANDA for generic lenalidomide, it sent written notice of its

  Paragraph IV certification to Celgene on November 28, 2017, alleging that the patents-in-suit are

  invalid and/or will not be infringed by Apotex’s ANDA.

         448.    On January 11, 2018, Celgene filed yet another patent infringement action against

  a generic manufacturer, this time against Apotex for filing ANDA No. 211022 for various

  dosages of its generic alternative to Revlimid, which Celgene alleged would infringe its ’720




                                                 134
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  patent, ’977 Patent, ’784 Patent, ’886 Patent, ’531 Patent, ’800 Patent, ’217 Patent, ’363 Patent,

  and ’929 Patent.176

              449.     On August 30, 2018, Apotex filed its answer and affirmative defenses, alleging

  that Celgene’s asserted patents are invalid, unenforceable, or uninfringed. Apotex alleged that

  five of the patents-in-suit are unenforceable due to patent misuse because Celgene asserted the

  patents even though no reasonable litigant could believe they were valid in light of prior

  proceedings in front of the PTAB.

              450.     On January 14, 2019, the District Court referred the parties to mediation.

              451.     On January 22, 2019, the District Court entered a statement executed by both

  Celgene and Apotex in which Celgene covenanted not to sue Apotex Inc. (“Apotex”), or its

  successors in interest, for infringement of the ’217 Patent based on the filing of ANDA No.

  211022 or its past, present, or future manufacture, use, sale, and offer for sale, in the United

  States, or importation into the United States, of a generic version of Celgene’s Revlimid®

  product, as presently described in ANDA No. 211022. The statement nonetheless included that

  Celgene did not concede that the ’217 Patent is not infringed, is invalid, or is unenforceable.

              452.     Per the scheduling order, Apotex was to serve its invalidity and non-infringement

  contentions on February 15, 2019, with Celgene to serve its infringement contentions on April

  26.

              453.     Four days after Celgene was to serve its infringement contentions, on April 30,

  2019, the District Court issued a consent judgment that the ’217 Patent was not infringed by




        176
              Celgene Corp. v. Apotex Inc., No. 2:18-cv-00461 (D.N.J.).




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  ANDA No. 211022. Thus, judgment of non-infringement was entered in favor of Apotex and

  against Celgene as to infringement of the ’217 Patent, Celgene’s Polymorph patent.177

           454.     The following week, on May 8, 2019, the District Court issued an order

  bifurcating the claims and staying the action as to the ’720 Patent, ’977 Patent, ’784 Patent, ’886

  Patent, and ’531 Patent, Celgene’s REMS patents. As described above, Celgene’s REMS patents

  are likely invalid as obvious—as shown by the Federal Circuit’s invalidation of the ’720

  Patent—and Celgene likely stayed litigation of these patents in order to protect them from

  invalidation, thereby preserving its ability to sue on them and still trigger a 30 month stay of

  FDA approval. Apotex asserted affirmative defenses that these patents were also invalid for

  patent misuse, as no reasonable litigant could believe they were valid in light of PTAB’s

  invalidation of the ’720 Patent. The remaining patents share the same specifications as the ’720

  Patent and have similar claims.

           455.     Like Natco, Apotex asserted defenses that the ’800 Patent is invalid under 35

  U.S.C. § 112 for indefiniteness, lack of written description, and lack of enablement. The ’800

  Patent is one of two key patents in Celgene’s scheme, covering—along with the non-infringing

  ’217 Patent—polymorphic forms of the lenalidomide compound.

           456.     On August 9, 2019, following extensions, the parties entered joint claim

  construction and prehearing statements indicating that no claim construction was needed to

  resolve all claims relating to the remaining patents at issue.

           457.     On January 13, 2021 the District Court entered a new scheduling order as to

  expert discovery regarding still pending claims concerning the remaining patents at issue,




     177
           Consent Judgment, Celgene Corp. v. Apotex Inc., No. 2:18-cv-00461, ECF No. 63 (D.N.J. Apr. 30, 2019).




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  including the ‘800 patent. Per the order, polymorph patent expert reports were due on February

  18.

              458.     On March 10, 2021, Celgene and Apotex stipulated and consented to an entry of

  judgment and an injunction prohibiting Apotex from marketing its generic lenalidomide, “except

  as specifically authorized by Celgene,” until the expiration of the patents-in-suit listed above

  pursuant to a settlement agreement.178

              459.     Neither Celgene nor Apotex issued a press release and the terms of the settlement

  agreement are not publicly available.

                                (2)      Additional Methods-of-Use Patents

              460.     On February 26, 2019, Celgene filed yet another patent infringement action

  against a generic manufacturer, this time against Apotex for filing ANDA No. 211022 for

  various dosages of its generic alternative to Revlimid, which Celgene alleged would infringe its

  ’740 Patent, ’717 Patent, and ’120 Patent.179

              461.     On December 2, 2019, the parties submitted a joint claim construction statement

  advising the court that no Markman order was needed.

              462.     On January 13, 2021 the District Court entered a new scheduling order as to

  expert discovery regarding still pending claims concerning the outstanding patents at issue.

              463.     As detailed above, the parties on March 10, 2021, stipulated to a dismissal and

  injunction, covering the ’740 Patent, ’717 Patent, and ’120 Patent. Details of this settlement

  agreement are not publicly available.




        178
         As with the Dr. Reddy’s settlement, it is likely that Bristol-Myers Squibb approved Celgene’s settlement
  with Apotex.
        179
              Celgene Corp. v. Apotex Inc., No. 2:19-cv-06999 (D.N.J.).




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            464.     Plaintiff believes that, given the above anticompetitive reverse payment

  agreement and complementary agreements discernible with the little public information

  available, discovery of the settlement agreements will likely reveal anticompetitive provisions

  that have shielded Celgene’s patents from judicial scrutiny and delayed and forestalled price

  competition in the lenalidomide market.180

                              (3)      Additional Litigation

            465.     On June 19, 2019, Celgene filed yet another patent infringement action against a

  generic manufacturer, this time against Apotex for filing ANDA No. 211022 for various dosages

  of its generic alternative to Revlimid, which Celgene alleged would infringe its ’357 Patent, ’219

  Patent, and ’598 Patent.181

            466.     On February 27, 2020, the parties submitted a joint claim construction statement

  advising the court that no Markman order was needed.

            467.     On January 13, 2021, the District Court entered a new scheduling order as to

  expert discovery regarding still pending claims concerning the outstanding patents at issue.

            468.     The parties on March 10, 2021, stipulated to a dismissal and injunction, covering

  the patents in suit. Apotex is prohibited from marketing a generic lenalidomide, “except as

  specifically authorized by Celgene.” Details of this settlement agreement are not publicly

  available.

            469.     Plaintiff believes that, given the above anticompetitive reverse payment

  agreement and complementary agreements discernible with the little public information

  available, discovery of the settlement agreements will likely reveal anticompetitive provisions


      180
         As with the Dr. Reddy’s settlement, it is likely that Bristol-Myers Squibb approved Celgene’s settlement
  with Apotex.
      181
            Celgene Corp. v. Apotex Inc., No. 2:19-cv-13994 (D.N.J.).




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  that have shielded Celgene’s patents from judicial scrutiny and delayed and forestalled price

  competition in the lenalidomide market.

                     b.       Celgene’s Sham Litigation Against Zydus

            470.     As part of its unlawful anticompetitive strategy, Celgene filed two patent

  infringement suits against Zydus. It brought the actions only because the filing would delay

  generic entry into the lenalidomide market. Although Zydus obtained Temporary Approval on

  August 16, 2021, it still has not launched a generic Revlimid. But for Celgene’s anticompetitive

  scheme, Zydus would have gained temporary and final approval far earlier and launched a

  competing product.

                              (1)      Polymorphic Form and Methods-of-Use Patents

            471.     On April 12, 2017, Celgene filed a patent infringement action against Zydus and

  its healthcare arm, Cadila Healthcare Limited, for filing ANDA No. 210154 for various dosages

  of its generic alternative to Revlimid, allegedly infringing Celgene’s same ’800 Patent, ’217

  Patent, ’569 Patent, ’498 Patent, ’095 Patent, ’621 Patent, and ’622 Patent.182 This combination

  of patents has become central to Celgene’s strategy of blocking generic competitors.

            472.     On August 7, 2017, Zydus filed its answer and counterclaimed that each of

  Celgene’s asserted patents are invalid, unenforceable, or noninfringed.

            473.     On August 8, 2018, Celgene filed a Statement informing the court of its covenant

  not to sue Zydus for infringement of the ’217 Patent.183

            474.     On December 17, 2018, Celgene and Zydus stipulated that the parties had no

  disputed terms requiring claim construction.


      182
            Celgene Corp. v. Zydus Pharmaceuticals (USA) Inc. et al., No. 2:17-cv-02528 (D.N.J.).
      183
          Statement, Celgene Corp. v. Zydus Pharmaceuticals (USA) Inc. et al., No. 2:17-cv-02528, ECF No. 93
  (D.N.J. Aug. 8, 2018).




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            475.     On January 14, 2019, the court ordered mediation between the parties.

            476.     On May 10, 2019, the court issued an Amended Scheduling Order.

            477.     On March 13, 2020, Celgene filed a motion to stay proceedings, filed under seal,

  which was denied on September 3, 2020. On March 24, 2021, the Court entered a consent

  judgment, dismissing the matter with prejudice pursuant to a settlement agreement.

                              (2)      Additional Polymorphic Form Patents

            478.     On April 27, 2018, Celgene filed yet another patent infringement action against

  Zydus for filing ANDA No. 210154 for various dosages of its generic alternative to Revlimid,

  allegedly also infringing Celgene’s ’357 Patent, ’219 Patent, and ’598 Patent.184

            479.     On July 9, 2018, Zydus filed its Answer.

            480.     On January 14, 2019, the court ordered mediation between the parties. Fact

  discovery closed on August 30, 2019.

            481.     On March 13, 2020, three years after filing suit, In briefing now partially

  redacted, Celgene argued that because samples provided by Zydus two years prior were expired

  that an indefinite stay was warranted.185 On September 3, the District Court denied the stay

  during a hearing, the minutes of which have been sealed.

            482.     On March 24, 2021, the Court entered a consent judgment in both of the patent

  infringement actions that Celgene brought against Zydus, wherein Zydus agreed to refrain from

  making, having made, using, selling, offering to sell, importing, or distributing Zydus’ generic

  version of Revlimid in the United States of America, including its territories, possessions, and

  the Commonwealth of Puerto Rico, until the expiration of Celgene’s ’800 Patent, ’569 Patent,


      184
            Celgene Corp. v. Zydus Pharmaceuticals (USA) Inc. et al., No. 2:18-cv-08519 (D.N.J.).
      185
          REDACTED Opposition to Motion to Stay, Celgene Corp. v. Zydus Pharmaceuticals (USA) Inc. et al., No.
  2:18-cv-08519, ECF No. 116 at 4-5, 12-13 (D.N.J. Mar. 12, 2021).




                                                          140
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  ’357 Patent, ’219 Patent, ’598 Patent, ’498 Patent, ’095 Patent, ’621 Patent, and ’622 Patent,

  “except as provided for in the settlement.”186

            483.     Details of this settlement agreement are not publicly available. Plaintiff believes

  that, given the above anticompetitive reverse payment agreement and complementary

  agreements discernible with the little public information available, discovery of the settlement

  agreements will likely reveal anticompetitive provisions that have shielded Celgene’s patents

  from judicial scrutiny and delayed and forestalled price competition in the lenalidomide

  market.187

                     c.      Celgene’s Sham Litigation Against Hetero

            484.     As part of its unlawful anticompetitive strategy, Celgene filed three patent

  infringement suits against Hetero. It brought the actions only because the filing would delay

  generic entry into the lenalidomide market.

                             (1)     Polymorphic Forms and Methods-of-Use Patents

            485.     In fall 2018, Hetero filed its ANDA for generic lenalidomide. On November 9,

  2018, Hetero sent written notice of its Paragraph IV Certification to Celgene alleging that the

  patents-in-suit are invalid and/or will not be infringed by Hetero’s ANDA.

            486.     On December 20, 2018, Celgene filed yet another patent infringement action

  against a generic manufacturer, this time against Hetero Labs Ltd.188 for filing ANDA No.




      186
            Consent Judgment, ECF 210, No. 2:17-cv-02528, ECF 119, No. 2:18-cv-08519 (D.N.J. Mar. 24, 2021).
      187
         As with the Dr. Reddy’s settlement, it is likely that Bristol-Myers Squibb approved Celgene’s settlement
  with Zydus.
      188
           The complaint also named Hetero Labs Limited Unit-V, Hetero Drugs Limited, and Hetero USA, Inc.
  (collectively, “Hetero”).




                                                         141
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  212414 for various dosages of its generic alternative to Revlimid, which Celgene alleged would

  infringe its ’800 Patent, ’217 Patent, ’363 Patent, and ’929 Patent.189

           487.     On March 11, 2019, Hetero filed its answer and counterclaim, alleging that

  Celgene’s asserted patents are invalid, unenforceable, or uninfringed. On April 15, 2019,

  Celgene filed its answer to Hetero’s counterclaim.

           488.     On January 21, 2020, the District Court entered a stipulation dismissing without

  prejudice Celgene’s claims relating to the ’217 Patent, ’363 Patent, and the ’929 Patent, leaving

  the case at that point only pending with respect to only the ’800 Patent.190

           489.     On October 26, the parties submitted final Markman briefings.

           490.     On January 11, 2021, the District Court entered an order administratively

  terminating the docket, with the action consolidated under lead docket 2:20-cv-14389, detailed

  below.

           491.     The anticompetitive effects of Celgene’s conduct, including filing yet another

  sham litigation, are to delay and forestall price competition in the lenalidomide market.

                             (2)      Additional Methods-of-Use Patents

           492.     On July 16, 2019, Celgene filed yet another patent infringement action against

  Hetero for filing ANDA No. 212414 for various dosages of its generic alternative to Revlimid,

  which Celgene alleged would also infringe its ’740 Patent, ’569 Patent, ’717 Patent, ’498 Patent,

  ’095 Patent, ’120 Patent, ’621 Patent, and ’622 Patent.191




     189
           Celgene Corp. v. Hetero Labs Ltd. et al., No. 2:18-cv-17463 (D.N.J.).
     190
           Stipulation, Celgene Corp. v. Hetero Labs Ltd. et al., No. 2:18-cv-17463, ECF No. 54 (D.N.J Jan. 21, 2020).
     191
           Celgene Corp. Hetero Labs Ltd., et al., No. 2:19-cv-15449 (D.N.J.).




                                                          142
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            493.     On October 11, 2019, Hetero filed its answer and counterclaims against Celgene,

  for which Celgene filed an answer on November 15, 2019.

            494.     On December 18, 2019, the court issued a pretrial scheduling order. On October

  26, 2020, the parties submitted final Markman briefs.

            495.     On January 11, 2021, the District Court entered an order administratively

  terminating the docket, with the action consolidated under lead docket 2:20-cv-14389, detailed

  below.

            496.     The anticompetitive effects of Celgene’s conduct, including filing yet another

  sham litigation, are to delay and forestall price competition in the lenalidomide market.

                              (3)      Additional Litigation

            497.     On October 13, 2020, Celgene filed another patent infringement action against

  Hetero for filing ANDA No. 212414 for various dosages of its generic alternative to Revlimid,

  which Celgene alleged would infringe its ’357 Patent and ’219 Patent.192

            498.     On January 8, 2021, Celgene filed an Amended Complaint, incorporating the

  claims asserted in the other two, administratively terminated, dockets.

            499.     On May 7, 2021, the parties submitted a joint claim construction statement.

            500.     On September 27, 2021, Celgene and Hetero stipulated and consented to an entry

  of judgment and an injunction prohibiting Hetero from marketing lenalidomide, “unless and to

  the extent otherwise specifically authorized by Celgene,” until the expiration of the patents-in-

  suit listed above pursuant to a settlement agreement.193 The terms of the settlement agreement

  are not publicly available. Plaintiff believes that, given the above anticompetitive reverse


      192
            Celgene Corp. Hetero Labs Ltd., et al., No. 2:20-cv-14389 (D.N.J.).
      193
            Consent Judgment, Celgene Corp. Hetero Labs Ltd., et al., No. 2:20-cv-14389, ECF No. 51 (D.N.J. Sep. 27,
  2021).




                                                           143
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  payment agreement and complementary agreements discernible with the little public information

  available, discovery of the settlement agreements will likely reveal anticompetitive provisions

  that have shielded Celgene’s patents from judicial scrutiny and delayed and forestalled price

  competition in the lenalidomide market.194

                     d.       Celgene’s Sham Litigation Against Mylan

            501.     In winter 2019, Mylan filed its ANDA for generic lenalidomide. On November

  20, 2019, Mylan sent written notice of its Paragraph IV Certification to Celgene alleging that the

  patents-in-suit are invalid and/or will not be infringed by Mylan’s ANDA.

            502.     On December 31, 2019, Celgene filed yet another patent infringement action

  against a generic manufacturer, this time against Mylan in the District of New Jersey for filing

  ANDA No. 213912 for various dosages of its generic alternative to Revlimid, which Celgene

  alleged would infringe its ’740 patent, ’800 Patent, ’217 Patent, ’569 Patent, ’717 Patent, ’498

  Patent, ’095 Patent, ’120 Patent, ’621 Patent, and ’622 Patent (“New Jersey action”).195

            503.     Also, on January 3, 2020, Celgene filed an identical complaint against Mylan in

  the Northern District of West Virginia (“West Virginia action”), alleging infringement of the

  same patents as in the New Jersey action.196

            504.     On October 9, 2020, in the West Virginia action, Celgene submitted a covenant

  not to sue Mylan on the ’217 Patent.197




      194
         As with the Dr. Reddy’s settlement, it is likely that Bristol-Myers Squibb approved Celgene’s settlement
  with Hetero.
      195
            Celgene Corp. v. Mylan Pharmaceuticals Inc. et al., No. 2:19-cv-22231 (D.N.J.).
      196
            Celgene Corp. v. Mylan Pharmaceuticals Inc. et al., No. 1:20-cv-00003 (N.D. W. Va.).
      197
          Statement, Celgene Corp. v. Mylan Pharmaceuticals Inc. et al., No. 1:20-cv-00003, ECF No. 120 (N.D. W.
  Va. Oct. 9, 2020).




                                                          144
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            505.   On November 16, 2020, the parties submitted, in the West Virginia action, a joint

  claim construction statement agreeing that there were no disputed terms requiring claim

  construction. On April 23, 2021, Mylan filed its Amended Answer and Counterclaims to

  Celgene’s Amended Complaint.

            506.   On July 23, 2021, Mylan and Celgene stipulated and consented to an entry of

  judgment in both actions and an injunction prohibiting Mylan from marketing its generic

  lenalidomide, “unless and to the extent otherwise specifically authorized by Celgene,” until the

  expiration of the patents-in-suit listed above pursuant to a settlement agreement. The terms of the

  settlement agreement are not publicly available. Plaintiff believes that, given the above

  anticompetitive reverse payment agreement and complementary agreements discernible with the

  little public information available, discovery of the settlement agreements will likely reveal

  anticompetitive provisions that have shielded Celgene’s patents from judicial scrutiny and

  delayed and forestalled price competition in the lenalidomide market.198

                   e.       Celgene’s Sham Litigation Against Aurobindo

            507.   As part of its unlawful anticompetitive strategy, Celgene filed two patent

  infringement suits against Aurobindo. It brought the actions only because the filing would delay

  generic entry into the lenalidomide market. Although Aurobindo obtained Temporary Approval

  on March 8, 2022, it still has not launched a generic Revlimid. But for Celgene’s anticompetitive

  scheme, Aurobindo would have gained temporary and final approval far earlier and launched a

  competing product.




      198
         As with the Dr. Reddy’s settlement, it is likely that Bristol-Myers Squibb approved Celgene’s settlement
  with Mylan.




                                                         145
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                              (1)     Polymorphic Forms and Methods-of-Use Patents

            508.     In Winter 2019, Aurobindo filed ANDA No. 213885 for generic lenalidomide. On

  November 25, 2019, Aurobindo sent written notice of its Paragraph IV Certification to Celgene

  alleging that the patents-in-suit are invalid and/or will not be infringed by Aurobindo’s ANDA.

            509.     On January 8, 2020, Celgene filed yet another patent infringement action against a

  generic manufacturer, this time against Aurobindo Pharma Ltd., Aurobindo Pharma U.S.A., Inc.,

  Aurolife Pharma LLC, and Eugia Pharma Specialties Ltd. (collectively, “Aurobindo”) for filing

  its ANDA for various dosages of its generic alternative to Revlimid, which Celgene alleged

  would infringe its ’800 Patent, ’217 Patent, ’569 Patent, ’498 Patent, ’095 Patent, ’621 Patent,

  and ’622 Patent.199

            510.     On March 27, 2020, Aurobindo filed its answer and counterclaim, alleging that

  Celgene’s asserted patents are invalid, unenforceable, or uninfringed.

            511.     On July 19, 2021, Aurobindo and Celgene stipulated and consented to an entry of

  judgment and an injunction prohibiting Aurobindo from marketing its generic lenalidomide until

  the expiration of the patents-in-suit listed above pursuant to a settlement agreement. The terms of

  the settlement agreement are not publicly available. The terms of the settlement agreement are

  not publicly available. Plaintiff believes that, given the above anticompetitive reverse payment

  agreement and complementary agreements discernible with the little public information

  available, discovery of the settlement agreements will likely reveal anticompetitive provisions

  that have shielded Celgene’s patents from judicial scrutiny and delayed and forestalled price

  competition in the lenalidomide market.200


      199
            Celgene Corp. v. Aurobindo Pharma Ltd. et al., No. 2:20-cv-00315 (D.N.J.).
      200
         As with the Dr. Reddy’s settlement, it is likely that Bristol-Myers Squibb approved Celgene’s settlement
  with Aurobindo.




                                                          146
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                              (2)     Additional Litigation

            512.     On January 12, 2021, Celgene filed another patent infringement action against

  Aurobindo Pharma Ltd., Aurobindo Pharma U.S.A., Inc., Aurolife Pharma LLC, and Eugia

  Pharma Specialties Ltd. (collectively, “Aurobindo”) for filing its ANDA for various dosages of

  its generic alternative to Revlimid, which Celgene alleged would infringe its ’357 Patent, ’219

  Patent, and ’598 Patent.201

            513.     On April 15, 2021, Aurobindo filed its answer and counterclaim, alleging that

  Celgene’s asserted patents are invalid, unenforceable, or uninfringed.

            514.     On July 19, 2021, Aurobindo and Celgene stipulated and consented to an entry of

  judgment and an injunction prohibiting Aurobindo from marketing its generic lenalidomide,

  “unless and to the extent otherwise specifically authorized by Celgene,” until the expiration of

  the patents-in-suit listed above pursuant to a settlement agreement. The terms of the settlement

  agreement are not publicly available. The terms of the settlement agreement are not publicly

  available. Plaintiff believes that, given the above anticompetitive reverse payment agreement and

  complementary agreements discernible with the little public information available, discovery of

  the settlement agreements will likely reveal anticompetitive provisions that have shielded

  Celgene’s patents from judicial scrutiny and delayed generic competition.202

                     f.       Celgene’s Sham Litigation Against Lupin

            515.     In Summer 2020, Lupin filed ANDA No. 214398 for generic lenalidomide. On

  May 26, 2020, Lupin sent written notice of its Paragraph IV Certification to Celgene alleging

  that the patents-in-suit are invalid and/or will not be infringed by Lupin’s ANDA.


      201
            Celgene Corp. v. Aurobindo Pharma Ltd. et al., No. 2:21-cv-00624 (D.N.J.).
      202
         As with the Dr. Reddy’s settlement, it is likely that Bristol-Myers Squibb approved Celgene’s settlement
  with Aurobindo.




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            516.     On July 9, 2020, Celgene filed yet another patent infringement action against a

  generic manufacturer, this time against Lupin Limited for filing its ANDA for various dosages of

  its generic alternative to Revlimid, which Celgene alleged would infringe its ’800 Patent, ’217

  Patent, ’569 Patent, ’498 Patent, ’095 Patent, ’621 Patent, and ’622 Patent.203

            517.     On August 5, 2020, Lupin filed its answer and counterclaim, alleging that

  Celgene’s asserted patents are invalid, unenforceable, or uninfringed.

            518.     On February 19, 2021, the parties submitted a joint statement advising the court

  that the parties did not dispute any claim terms.

            519.     On June 30, 2021, Celgene filed an amended complaint.

            520.     On September 15, 2021, the Court entered an Amended Scheduling Order,

  requiring the parties to serve their infringement and invalidity contentions by October 12.

            521.     On December 14, 2021, Lupin and Celgene stipulated and consented to an entry

  of judgment in both actions and an injunction prohibiting Lupin from marketing its generic

  lenalidomide, “unless and to the extent otherwise specifically authorized by Celgene,” until the

  expiration of the patents-in-suit listed above pursuant to a settlement agreement. The terms of the

  settlement agreement are not publicly available. The terms of the settlement agreement are not

  publicly available. Plaintiff believes that, given the above anticompetitive reverse payment

  agreement and complementary agreements discernible with the little public information

  available, discovery of the settlement agreements may reveal anticompetitive provisions that

  have further shielded Celgene’s patents from judicial scrutiny and delayed and forestalled price

  competition in the lenalidomide market.204


      203
            Celgene Corp. v. Lupin Ltd., No. 2:20-cv-08570 (D.N.J.).
      204
         As with the Dr. Reddy’s settlement, it is likely that Bristol-Myers Squibb approved Celgene’s settlement
  with Lupin.




                                                          148
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                    g.      Celgene’s Sham Litigation Against Hikma

           522.     As part of its unlawful anticompetitive strategy, Celgene filed two patent

  infringement suits against Hikma. It brought the actions only because the filing would delay

  generic entry into the lenalidomide market.

                            (1)      Polymorphic Forms and Methods-of-Use Patents

           523.     In early 2021, Hikma filed ANDA No. 213103 for generic lenalidomide. On

  March 15, 2021, Hikma sent written notice of its Paragraph IV Certification to Celgene alleging

  that the patents-in-suit are invalid and/or will not be infringed by Aurobindo’s ANDA.

           524.     April 28, 2021, Celgene filed yet another patent infringement action against a

  generic manufacturer, this time against Hikma for filing its ANDA for various dosages of its

  generic alternative to Revlimid, which Celgene alleged would infringe its ’740 Patent, ’800

  Patent, ’217 Patent, ’569 Patent, ’717 Patent, ’498 Patent, ’095 Patent, ’120 Patent, ’621 Patent,

  and ’622 Patent.205

           525.     On June 22, 2021, Hikma filed its answer and counterclaim, alleging that

  Celgene’s asserted patents are invalid, unenforceable, or uninfringed.

           526.     On January 13, 2022, Hikma and Celgene stipulated and consented to an entry of

  judgment in both actions and an injunction prohibiting Hikma from marketing its generic

  lenalidomide until the expiration of the patents-in-suit listed above pursuant to a settlement

  agreement. The terms of the settlement agreement are not publicly available. Plaintiff believes

  that, given the above pattern of anticompetitive reverse payment agreements discernible with the

  little public information available, discovery of the settlement agreements will likely reveal




     205
           Celgene Corp. v. Hikma Pharmaceuticals USA, Inc., No. 2:21-cv-10398 (D.N.J.).




                                                        149
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  anticompetitive provisions that have shielded Celgene’s patents from judicial scrutiny and

  delayed and forestalled price competition in the lenalidomide market.206

                             (2)      Additional Litigation

            527.     On December 10, 2021, Celgene filed another patent infringement action against

  Hikma for filing its ANDA for various dosages of its generic alternative to Revlimid, which

  Celgene alleged would infringe its ‘357 Patent, ‘219 Patent, and ‘598 Patent.207

            528.     Only one month later on January 13, 2022, as above, Hikma and Celgene

  stipulated and consented to an entry of judgment in both actions and an injunction prohibiting

  Hikma from marketing, “unless and to the extent otherwise specifically authorized by Celgene,”

  its generic lenalidomide until the expiration of the patents-in-suit listed above pursuant to a

  settlement agreement.208 The terms of the settlement agreement are not publicly available.

  Plaintiff believes that, given the above anticompetitive reverse payment agreement and

  complementary agreements discernible with the little public information available, discovery of

  the settlement agreements will likely reveal anticompetitive provisions that have shielded

  Celgene’s patents from judicial scrutiny and delayed and forestalled price competition in the

  lenalidomide market.209




      206
         As with the Dr. Reddy’s settlement, it is likely that Bristol-Myers Squibb approved Celgene’s settlement
  with Hikma.
      207
            Celgene Corp. v. Hikma Pharmaceuticals USA, Inc., No. 2:21-cv-20459 (D.N.J.).
      208
            Celgene Corp. v. Hikma Pharmaceuticals USA, Inc., No. 2:21-cv-20459, ECF No. 8 (D.N.J. Jan. 13, 2022).
      209
         As with the Dr. Reddy’s settlement, it is likely that Bristol-Myers Squibb approved Celgene’s settlement
  with Hikma.




                                                         150
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                    h.       Celgene’s Sham Litigation Against Biocon

           529.     In Spring 2021, Biocon filed ANDA No. 215759 for generic lenalidomide. On

  April 1, 2021, Torrent sent written notice of its Paragraph IV Certification to Celgene alleging

  that the patents-in-suit are invalid and/or will not be infringed by Torrent’s ANDA.

           530.     On May 14, 2021, Celgene filed yet another patent infringement action against a

  generic manufacturer, this time against Biocon for filing its ANDA for various dosages of its

  generic alternative to Revlimid, which Celgene alleged would infringe its ’740 Patent, ’800

  Patent, ’217 Patent, ’569 Patent, ’717 Patent, ’498 Patent, ’095 Patent, ’120 Patent, and ’622

  Patent.210

           531.     On June 11, 2021, Biocon filed its answer and counterclaim, alleging that

  Celgene’s asserted patents are invalid, unenforceable, or uninfringed.

           532.     On September 8, 2021—less than four months after the action began—Biocon

  and Celgene stipulated and consented to an entry of judgment and an injunction prohibiting

  Biocon from marketing its generic lenalidomide, “unless and to the extent otherwise specifically

  authorized by Celgene,” until the expiration of the patents-in-suit listed above pursuant to a

  settlement agreement. The terms of the settlement agreement are not publicly available. Plaintiff

  believes that, given the above anticompetitive reverse payment agreement and complementary

  agreements discernible with the little public information available, discovery of the settlement

  agreements will likely reveal anticompetitive provisions that have shielded Celgene’s patents

  from judicial scrutiny and delayed and forestalled price competition in the lenalidomide market.




     210
           Celgene Corp. v. Biocon Pharma Ltd. et al., No. 2:21-cv-11261 (D.N.J.).




                                                         151
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                     i.       Celgene’s Sham Litigation Against Torrent

            533.     In Spring 2021, Torrent filed ANDA No. 213405 for generic lenalidomide. On

  May 10, 2021, Torrent sent written notice of its Paragraph IV Certification to Celgene alleging

  that the patents-in-suit are invalid and/or will not be infringed by Torrent’s ANDA.

            534.     On June 23, 2021, Celgene filed yet another patent infringement action against a

  generic manufacturer, this time against Torrent for filing its ANDA for various dosages of its

  generic alternative to Revlimid, which Celgene alleged would infringe its ’740 Patent, ’800

  Patent, ’217 Patent, ’569 Patent, ’717 Patent, ’498 Patent, ’095 Patent, ’120 Patent, ’621 Patent,

  and ’622 Patent.211

            535.     On August 12, 2021—less than two months after the action began—Torrent and

  Celgene stipulated and consented to an entry of judgment and an injunction prohibiting Torrent

  from marketing its generic lenalidomide until the expiration of the patents-in-suit listed above

  pursuant to a settlement agreement. The terms of the settlement agreement are not publicly

  available and Torrent officials have declined to disclose launch timelines. Plaintiff believes that,

  given the above anticompetitive reverse payment agreement and complementary agreements

  discernible with the little public information available, discovery of the settlement agreements

  will likely reveal anticompetitive provisions that have shielded Celgene’s patents from judicial

  scrutiny and delayed and forestalled price competition in the lenalidomide market.212




      211
            Celgene Corp. v. Torrent Pharmaceuticals Ltd. et al., No. 2:21-cv-12927 (D.N.J.).
      212
         As with the Dr. Reddy’s settlement, it is likely that Bristol-Myers Squibb approved Celgene’s settlement
  with Torrent.




                                                           152
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                    j.       Celgene’s Sham Litigation Against Alembic

           536.     In Fall 2021, Alembic filed ANDA No. 215759 for generic lenalidomide. On

  October 7, 2021, Alembic sent written notice of its Paragraph IV Certification to Celgene

  alleging that the patents-in-suit are invalid and/or will not be infringed by Alembic’s ANDA.

           537.     On November 18, 2021, Celgene filed yet another patent infringement action

  against a generic manufacturer, this time against Alembic for filing its ANDA for various

  dosages of its generic alternative to Revlimid, which Celgene alleged would infringe its ’800

  Patent, ’217 Patent, ’569 Patent, ’498 Patent, ’095 Patent, and ’622 Patent.213

           538.     On December 20, 2021, Alembic filed its answer and counterclaim, alleging that

  Celgene’s asserted patents are invalid, unenforceable, or uninfringed.

           539.     The anticompetitive effects of Celgene’s conduct, including filing yet another

  sham litigation, are to delay and prevent generic entry into the lenalidomide market.

   VIII. CELGENE AND BRISTOL-MYERS SQUIBB INTENDED TO AND DID HARM
                               COMPETITION

           540.     Celgene and Bristol-Myers Squibb’s scheme was intended to and did in fact block

  and delay generic thalidomide and lenalidomide entry into the market, destroy incentives for

  price competition, disrupt the normal distribution channels, and manipulate the statutory and

  regulatory mechanisms by which generic competition takes place, and otherwise exclude generic

  competitors from competitively marketing and distributing their products.

           541.     But for Celgene and Bristol-Myers Squibb’s anticompetitive scheme, generic

  Thalomid would have been brought to market possibly at least as early as spring 2009. Celgene

  illegally prevented competitors, including Mylan in 2004, Barr in 2005, and Lannett in 2007,




     213
           Celgene Corp. v. Alembic Pharmaceuticals Ltd. et al., No. 2:21-cv-20099 (D.N.J.).




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  from obtaining Thalomid samples for bioequivalence testing. When Barr filed an ANDA in

  September 2005, Celgene executed a contract with Barr’s API supplier that contained an

  anticompetitive exclusive dealing provision that created deficiencies in Barr’s ANDA application

  and required Barr to undergo new bio-studies and validation testing, delaying Barr’s ANDA one

  year. When Barr filed its ANDA in September 2006, Celgene filed a sham litigation suit to

  enforce its invalid and unenforceable patents. The litigation was halted when Celgene and Barr

  reached a confidential settlement which resulted in a continued absence of generic Thalomid

  from the market.

         542.    But for Celgene’s anticompetitive conduct, generic Revlimid would have entered

  the market in 2010 or soon thereafter. Celgene once again prevented multiple competitors

  including Mylan, Natco Pharma, Dr. Reddy’s, Teva, and Watson from obtaining Revlimid from

  Celgene for BE testing. Celgene refused to supply samples to Mylan, and Mylan has been

  unable to complete BE testing or file an ANDA for lenalidomide. Natco filed its lenalidomide

  ANDA in September 2010 and would have brought generic Revlimid to market shortly

  thereafter, but for Celgene’s sham patent infringement lawsuit and the subsequent settlement

  wherein Natco agreed not to sell generic lenalidomide until 2022, in limited quantities. Dr.

  Reddy’s filed its lenalidomide ANDA in 2016, after which Celgene once again filed a sham

  patent litigation. Lannett filed its thalidomide ANDA in December 2014, after which Celgene

  filed a sham patent litigation that resulted in a settlement wherein Lannett’s thalidomide could

  not be sold until August 2019. Zydus, Cipla, Lotus, Hetero, Apotex, Sun, Mylan, Lupin,

  Aurobindo, Hikma, Torrent, Biocon, and Alembic each filed lenalidomide ANDAs and were met

  with Celgene’s serial sham litigation tactic, delaying the entry of their generic Revlimid products

  into the market.




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           543.   All of Celgene’s patents on Revlimid are invalid under 35 U.S.C. §§ 101, 102,

  103, 112, and/or doctrines of double-patenting.

           544.   Celgene’s unjustifiable refusal to cooperate with the generic ANDA filers directly

  prevented generic filers from obtaining FDA approval. But for Celgene’s unlawful conduct,

  FDA would have given final approval to the pending generic manufacturers’ ANDAs and

  allowed them to enter the market as genuine competitors.

           545.   Celgene cannot justify its scheme by pointing to any consumer benefit. Generic

  drugs offer enormous cost savings, which outweigh any non-pretextual, if there even are any,

  justifications Celgene could possibly offer.

   IX.     CELGENE AND BRISTOL-MYERS SQUIBB’S FORECLOSURE OF GENERIC
           COMPETITION FOR THALOMID AND REVLIMID CAUSED PLAINTIFF TO
             PAY MORE THAN IT WOULD HAVE PAID IN AN UNMANIPULATED
                                   MARKET

           546.   Celgene and Bristol-Myers Squibb’s scheme suppressed the ability of generic

  Revlimid and Thalomid substitutes to compete in the market under the governing statutory and

  regulatory scheme.

           547.   The absence of generic competition injured Cigna because it would have paid less

  for Thalomid and Revlimid, or their generic alternatives, by substituting purchases of less

  expensive AB-rated generic drugs for their purchases of more expensive branded drugs,

  receiving discounts on their remaining purchases of branded drugs, and by purchasing generic

  versions of Revlimid and Thalomid at lower prices sooner.

           548.   As a result, Cigna has sustained substantial losses and damages to its business and

  property in the form of overcharges, the exact amount of which will be the subject of proof at

  trial.




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   X.         CELGENE AND BRISTOL-MYERS SQUIBB’S FORECLOSURE OF GENERIC
              COMPETITION FOR REVLIMID AND THALOMID AFFECTED INTERSTATE
                              COMMERCE FOR THOSE DRUGS

              549.   At all material times, Thalomid and Revlimid, manufactured and sold by Celgene,

  were shipped across state lines and sold to customers located outside of its state of manufacture.

              550.   Between at least 2010 and the present, in connection with the purchase and sale of

  Thalomid and Revlimid, monies as well as contracts, bills and other forms of business

  communication and transactions were transmitted in a continuous and uninterrupted flow across

  state lines.

              551.   At all material times, various devices were used to effectuate the illegal acts

  alleged herein, including the United States mail, interstate and foreign travel, and interstate and

  foreign telephone commerce. The activities of Celgene and Bristol-Myers Squibb as charged

  were within the flow of, and have substantially affected interstate commerce, money, contracts,

  and bills, and other forms of business communications were transmitted in a continuous and

  uninterrupted flow across state lines.

        XI.      CELGENE AND BRISTOL-MYERS SQUIBB MAINTAINED MONOPOLY
                  MARKET POWER OVER REVLIMID AND THALOMID AND THEIR
                                     GENERIC FORMS

              552.   At all relevant times, Celgene has had monopoly power over the market for

  Revlimid and Thalomid in all their forms and dosages, which are still only available in the form

  of branded Thalomid and branded Revlimid. Celgene has and continues to have the power to

  maintain and increase the price of Revlimid and Thalomid to supracompetitive levels without

  losing sales, because Celgene and Bristol-Myers Squibb have successfully conspired to keep

  AB-rated generic versions of Revlimid and Thalomid from reaching the U.S. market.

              553.   A small, but significant, non-transitory price increase for Revlimid or Thalomid

  by Celgene would not have caused a significant loss of sales.



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         554.     Celgene needed to control only Revlimid and Thalomid and their AB-rated

  generic equivalents, and no other products, to maintain the price of Revlimid and Thalomid at

  supracompetitive prices. Only the market entry of a competing AB-rated generic version of

  those drugs would render Celgene unable to maintain its market monopoly.

         555.     If Cigna is legally required to prove market power through circumstantial

  evidence by first defining a relevant product market, the relevant market for Thalomid is all

  dosages of thalidomide, i.e., Thalomid and its AB-rated generic equivalents, and for Revlimid is

  all dosages of lenalidomide, i.e., Revlimid and its AB-rated generic equivalents.

         556.     Revlimid and Thalomid do not exhibit significant, positive cross-elasticity of

  demand regarding price with any other product, due to FDA regulatory hurdles incident to

  securing an A-B rating and laws allowing pharmacists to substitute only AB-rated generics for

  prescribed branded drugs.

         557.     There are no interchangeable drug products available for purchasers of Thalomid

  and Revlimid.

         558.     Celgene needed to control the output of Revlimid and Thalomid and its AB-rated

  generic equivalents only, and no other products, to maintain the price of Revlimid and Thalomid

  profitably at supracompetitive prices. Only the market entry of a competing AB-rated generic

  version of Revlimid or Thalomid would render Celgene unable to profitably maintain its current

  prices of those drugs without losing substantial sales.

         559.     Celgene also sold branded Revlimid and Thalomid well over marginal costs, and

  substantially more than the competitive price, and enjoyed unusually high profit margins.

         560.     Celgene has had, and so exercised, the power to exclude and restrict competition

  for Thalomid and Revlimid.




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         561.    Without the power to exclude and restrict competition for Thalomid and

  Revlimid, and the ability to sell its own branded version of those drugs at prices well over

  marginal costs, it would not have been economically rational for Celgene to make exorbitant

  payments to settle with Natco to delay the launch of generic Thalomid and Revlimid.

         562.    At all relevant times, Celgene has enjoyed the benefits of high barriers to entry

  with respect to competition to the above-defined market due to patent and other regulatory

  protections.

         563.    The relevant geographic markets are (i) the United States and its territories, and

  (ii) each state in which Cigna purchased Revlimid and/or Thalomid and under whose laws Cigna

  asserts claims for relief. Celgene’s market share in the relevant market was 100% until March

  2022, is 100% of the non-volume limited segment of the market for lenalidomide, and remains at

  least 90% of the overall market for lenalidomide.

                                   XII.    ANTITRUST INJURY

         564.    Celgene and Bristol-Myers Squibb’s use of the regulatory process as an

  anticompetitive tool to block and delay generic competition for Revlimid and Thalomid keeps

  costs high for insurers like Cigna.

         565.    Cigna paid substantial sums to purchase Revlimid and Thalomid during the

  relevant times and its members paid additional sums in cost-sharing for Thalomid and Revlimid.

  Because of Celgene’s illegal conduct, Cigna has been compelled to pay artificially inflated prices

  for Thalomid and Revlimid. Those prices have been substantially higher than the prices Cigna

  would have paid for generic Thalomid and generic Revlimid but for the illegal conduct alleged.

  Cigna continues to pay artificially high, supracompetitive prices for Revlimid and Thalomid as a

  direct and proximate result of Celgene’s anticompetitive conduct.




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            566.    Consequently, Cigna, a purchaser of Thalomid and Revlimid, having paid for

  Thalomid and Revlimid, has sustained substantial losses and damage to its business and property

  in the form of overcharges. The full amount, forms, and components of such damages will be

  determined after discovery and upon proof at trial.

            567.    Celgene’s efforts to restrain competition in the defined relevant markets has and

  continues to substantially affect interstate and intrastate commerce throughout the United States.

            568.    Excluding generic competitors and capping their volume of sales at a small

  fraction of the market prevented price competition for Thalomid and Revlimid.

            569.    Prices for Revlimid and Thalomid have been and will continue to be inflated as a

  direct and foreseeable result of Celgene’s anticompetitive conduct. The inflated prices that

  Cigna has paid and will continue to pay are traceable to, and are the proximate foreseeable result

  of, the overcharges by Celgene.

                                         XIII. CLAIMS FOR RELIEF

                                       FIRST CLAIM FOR RELIEF
                               For Violations of Section 1 of the Sherman Act

            570.    Cigna incorporates by reference each preceding and succeeding paragraph as

  though fully set forth herein.

            571.    Defendants violated 15 U.S.C. § 1 by entering into, furthering, and/or enforcing

  an unreasonable restraint of trade. More specifically Celgene and BMS agreed with Natco and

  others214 to make a reverse payment—the royalty-free volume-limited license and an MFE

  clause—in exchange for Natco’s agreement to delay its AB-rated generic Revlimid until March



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           Cigna believes that Celgene has likely induced pay-for-delay agreements with numerous other generic
  manufacturers, as detailed throughout the Complaint. However, as of filing, Cigna can only make well-founded
  allegations as to Natco given the available public information. Cigna reserves the right to detail additional pay-for-
  delay agreements, and/or name additional defendants, with the benefit of discovery.




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  1, 2022, and to allocate the market for branded and AB-rated generic Revlimid. Defendants

  individually had market power with respect to sales of Revlimid and its AB-rated generic

  equivalents in the United States.

         572.    On or about December 22, 2015, Celgene entered into an anticompetitive reverse

  payment agreement, which was later entered into, furthered, and/or enforced by BMS, wherein

  Celgene and BMS agreed to pay, and did pay, Natco a large and unjustified payment in exchange

  for Natco’s agreement to delay unrestricted market entry of its generic version of Revlimid until

  March 2026.

         573.    The Natco settlement agreement is an unlawful horizontal market allocation

  agreement among would-be competitors and is actionable regardless of whether its

  anticompetitive terms constitute a payment.

         574.    As a result of Defendants’ unlawful conduct, Plaintiff has been harmed by being

  forced to pay artificially inflated, supracompetitive prices for Revlimid.

         575.    In formulating and carrying out the alleged agreement, understanding, contract,

  combination, and conspiracy, Defendants did those things that they combined and conspired to

  do, including but not limited to the acts, practices and course of conduct set forth herein.

         576.    Defendants’ conspiracy had the following effects, among others: the reverse

  payment agreement between Defendants and Natco delayed generic entry and robust generic

  competition (with its attendant lower prices) for Plaintiff, and the market allocation output

  restriction agreement and reverse payment effectively fixed prices at an artificially high level.

         577.    Defendants engaged in the actions described above for the purpose of carrying out

  their unlawful agreements to fix, raise, maintain, or stabilize prices of Revlimid.




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         578.      There was no legitimate, non-pretextual, pro-competitive business justification for

  this reverse payment agreement that outweighs its harmful effect on Cigna and competition.

  Even if there were some conceivable and cognizable justification, the payment was not necessary

  to achieve the purpose. Accordingly, these acts constitute violations of the antitrust laws in

  accordance with FTC v. Actavis, Inc., 570 U.S. 136 (2013).

         579.      The agreements caused lingering and persistent inflation in the prices for AB-

  rated generic Revlimid that continue to this day and, if the terms of the agreement are abided by,

  will continue through at least January 2026.

         580.      There is no procompetitive justification for the anticompetitive agreements

  challenged here. The harm to Cigna and other purchasers in the form of paying inflated prices for

  brand and AB-rated generic Revlimid outweighs any conceivable procompetitive justification for

  the agreement.

         581.      As a direct result of Defendants’ violation of 15 U.S.C. § 1, Cigna has been

  injured. Unless Cigna obtains equitable relief, Defendants’ violation will continue to injure

  Cigna in its business or property. Cigna’s injury consists of its past and continued payment of

  higher prices for Revlimid and Thalomd than they would have paid in the absence of the

  violation. Such injury, known as “overcharges,” is the type of injury the antitrust laws were

  designed to prevent. This overcharge flows from the defendants’ unlawful conduct.

                                 SECOND CLAIM FOR RELIEF
                           For Violations of Section 2 of the Sherman Act

         582.      Cigna incorporates by reference the preceding allegations.

         583.      Celgene knowingly and willfully engaged in a course of conduct designed to

  prevent generic manufacturers from entering the market, and unlawfully extend its monopoly

  power. This course of conduct included refusing to sell or otherwise provide samples of




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  Revlimid and Thalomid to generic manufacturers, fraudulently procuring patents, improperly

  listing patents in the Orange Book, and improperly and serially filing and prosecuting patent

  infringement actions against generic manufacturers seeking to compete. Celgene’s conduct was

  designed to indefinitely delay the introduction of generic formulations of Revlimid and Thalomid

  into the market and was in violation of Section 2 of the Sherman Act.

         584.    Celgene intentionally and improperly maintained its monopoly power with

  respect to Revlimid and Thalomid in violation of Section 2 of the Sherman Act, 15 U.S.C. § 2.

  Celgene’s monopoly power was maintained through exclusionary tactics, and not from growth or

  development resulting from a superior product, business acumen, or historic accident. Because of

  this unlawful maintenance of monopoly power, Cigna paid artificially inflated prices for

  Thalomid and Revlimid.

         585.    Cigna has been injured in its business or property by reason of Celgene’s antitrust

  violations. Its injury consists of having paid and continuing to pay higher prices for Revlimid

  and Thalomid from at least 2010 to the present, including by assignment from its subsidiaries

  that purchased, and continue to purchase, Revlimid and Thalomid directly from Celgene, than it

  would have paid in the absence of Celgene’s violations. Such overcharges are the type of injury

  the antitrust laws were designed to prevent and flows from that which makes Celgene’s acts

  unlawful.

         586.    Even after generic competition begins, Cigna and its subsidiaries will continue to

  pay supracompetitive prices for generic versions of Revlimid and Thalomid until the market

  achieves equilibrium.

         587.    Cigna, by assignment, seeks treble damages under Section 4 of the Clayton Act,

  15 U.S.C. § 15, for its subsidiaries’ direct purchases from Celgene of Revlimid and Thalomid




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  from at least 2010 through the present, and for Cigna’s subsidiaries’ overpayments for generic

  versions of Thalomid and Revlimid, if and when they belatedly become available.

                                    THIRD CLAIM FOR RELIEF
                   Conspiracy and Combination in Restraint of Trade Under State Law

            588.     Cigna incorporates by reference each preceding and succeeding paragraph as

  though fully set forth herein.

            589.     Defendants entered into an agreement or combination in restraint of trade in

  violation of many states’ laws. Defendants and Natco engaged in a continuing contract,

  combination or conspiracy with respect to the sale of Revlimid in unreasonable restraint of trade

  and commerce, in violation of the various state antitrust statutes set forth below.

            590.     Defendants and Natco entered into an unlawful reverse payment agreement that

  restrained, and continues to restrain, competition in the market for Revlimid and/or its AB-rated

  generic equivalents.

            591.     Defendants and Natco’s acts and combinations in furtherance of the conspiracy

  have caused unreasonable restraints in the market for Revlimid and/or its AB-rated generic

  equivalents.

            592.     As a result of Defendants and Natco’s unlawful conduct, Plaintiff has been

  harmed by being forced to pay artificially inflated, supracompetitive prices for Revlimid.

            593.     In formulating and carrying out the alleged agreement, understanding, contract,

  combination, and conspiracy, Defendants and Natco did those things that they combined and

  conspired to do, including but not limited to the acts, practices and course of conduct set forth

  herein.

            594.     Defendants and Natco’s conspiracy had the following effects, among others: the

  reverse payment agreement between Defendants and Natco delayed generic entry and its




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  attendant lower prices for Plaintiff, and the market allocation output restriction agreement and

  reverse payment effectively fixed prices at an artificially high level.

         595.    Defendants and Natco engaged in the actions described above for the purpose of

  carrying out their unlawful agreements to fix, raise, maintain, or stabilize prices of Revlimid.

         596.    There was no legitimate, non-pretextual, pro-competitive business justification for

  this reverse payment agreement that outweighs its harmful effect on Cigna and competition.

  Even if there were some conceivable and cognizable justification, the payment was not necessary

  to achieve the purpose. Accordingly, these acts constitute violations of the antitrust laws of

  various states in accordance with FTC v. Actavis, Inc., 570 U.S. 136 (2013).

         597.    By engaging the foregoing conduct, Defendants and Natco intentionally and

  wrongfully engaged in a contract, combination, or conspiracy in restraint of trade in violation of

  the following state antitrust laws:

                     a. Arizona Rev. Stat. §§ 44-1401, et seq., with respect to purchases in
                        Arizona.

                     b. Cal. Bus. & Prof. Code §§ 16700, et seq., with respect to purchases in
                        California.

                     c. C.G.S.A. §§ 35-26 and 28, et seq., with respect to purchases in
                        Connecticut.

                     d. D.C. Code §§ 28-4501, et seq., with respect to purchases in the District of
                        Columbia.

                     e. Haw. Rev. Stat. §§ 480-1, et seq., with respect to purchases in Hawaii.

                     f. 740 Ill. Comp. Stat. 10/1, et seq., with respect to purchases in Illinois.

                     g. Iowa Code § 553.1, et seq., with respect to purchases in Iowa.

                     h. Kan. Stat. Ann. § 50-101, et seq., with respect to purchases in Kansas.

                     i. Me. Rev. Stat. Ann. 10, §§ 1101, et seq., with respect to purchases in
                        Maine.




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                j. MD Code Ann., Com. Law, §§ 11-204, et seq., with respect to purchases
                   in Maryland.

                k. Mich. Comp. Laws Ann. §§ 445.771, et seq., with respect to purchases in
                   Michigan.

                l. Minn. Stat. §§ 325D.49, et seq., and Minn. Stat. §§ 8.31, et seq., with
                   respect to purchases in Minnesota.

                m. Miss. Code Ann. §§ 75-21-1, et seq., with respect to purchases in
                   Mississippi.

                n. Neb. Rev. Stat. Ann. §§ 59-801, et seq., with respect to purchases in
                   Nebraska.

                o. Nev. Rev. Stat. Ann. §§ 598A.010, et seq., with respect to purchases in
                   Nevada.

                p. N.H. Rev. Stat. Ann. §§ 356:1, et seq., with respect to purchases in New
                   Hampshire.

                q. N.M. Stat. Ann. §§ 57-1-1, et seq., with respect to purchases in New
                   Mexico.

                r. N.Y. Gen. Bus. Law § 340, et seq., with respect to purchases in New
                   York.

                s. N.C. Gen. Stat. §§ 75-1, et seq., with respect to purchases in North
                   Carolina.

                t. N.D. Cent. Code §§ 51-08.1-01, et seq., with respect to purchases in North
                   Dakota.

                u. Or. Rev. Stat. §§ 646.705, et seq., with respect to purchases in Oregon.

                v. P.R. Laws Ann. tit. 10 §§ 258, et seq., with respect to purchases in Puerto
                   Rico.

                w. R.I. Gen. Laws §§ 6-36-1 et seq., with respect to purchases in Rhode.

                x. S.D. Codified Laws §§ 37-1-3.1, et seq., with respect to purchases in
                   South Dakota.

                y. Tenn. Code Ann §§ 47-25-101, et seq., with respect to purchases in
                   Tennessee.

                z. Utah Code Ann. §§ 76-10-3101, et seq., with respect to purchases in Utah.




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                     aa. W.Va. Code §§ 47-18-1, et seq., with respect to purchases in West
                         Virginia.

                     bb. Wis. Stat. §§ 133.01, et seq., with respect to purchases in Wisconsin.

         598.    Cigna has been injured in their business or property by reason of Defendants and

  Natco’s violations of the laws set forth above, in that they were, and continue to be: (i) denied

  the opportunity to purchase lower-priced generic Revlimid; and (ii) paid higher prices for

  Revlimid than they would have paid but for Defendants and Natco’s unlawful conduct. These

  injuries are of the type that the above laws were designed to prevent and flow from that which

  makes Defendants and Natco’s conduct unlawful.

         599.    Cigna seeks damages and multiple damages as permitted by law.

                              FOURTH CLAIM FOR RELIEF
                   Monopolization and Monopolistic Scheme under State Law

         600.    Cigna incorporates by reference the preceding allegations.

         601.    Celgene possessed monopoly power in the defined relevant market at all times

  since its NDAs for Revlimid and Thalomid were respectively approved. Celgene knowingly and

  willfully engaged in a course of exclusionary conduct designed to prevent generic manufacturers

  from entering the market and unlawfully extended its monopoly power.

         602.    Celgene intentionally extended its monopoly power in the relevant market

  through its anticompetitive and illegal scheme. Thus, Cigna paid artificially inflated prices for

  its indirect purchases of Thalomid and Revlimid, including by assignment from its subsidiaries.

  There is and was no non-pretextual justification for Celgene’s anticompetitive actions.

         603.    As a direct and proximate result of Celgene’s conduct, as alleged herein, Cigna

  was injured.

         604.    By engaging in the foregoing conduct, Celgene has intentionally and wrongfully

  maintained monopoly power in the relevant market in violation of the following state laws:



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                a. Arizona Rev. Stat. §§ 44-1403, et seq., with respect to purchases of
                   Revlimid and Thalomid in Arizona.

                b. Cal. Bus. & Prof. Code §§ 17200, et seq., and California common law,
                   with respect to purchases of Revlimid and Thalomid in California.

                c. Conn. Gen. Stat. §§ 35-27 and 29, et seq., with respect to purchases of
                   Revlimid and Thalomid in Connecticut.

                d. D.C. Code §§ 28-4503, et seq., with respect to purchases of Revlimid and
                   Thalomid in the District of Columbia.

                e. Fla. Stat. §§ 501.201, et seq., with respect to purchases of Revlimid and
                   Thalomid in Florida.

                f. Hawaii Code §§ 480, et seq., with respect to purchases of Revlimid and
                   Thalomid in Hawaii.

                g. 740 Ill. Comp. Stat. 10/3, et seq., with respect to purchases of Revlimid
                   and Thalomid in Illinois.

                h. Iowa Code §§ 553.5 et seq., with respect to purchases of Revlimid and
                   Thalomid in Iowa.

                i. Md. Code, Com. Law §§ 11-204, et seq., with respect to purchases of
                   Revlimid and Thalomid in Maryland.

                j. Mass. Gen. L. Ch. 93A, et seq., with respect to purchases of Revlimid and
                   Thalomid in Massachusetts by Cigna, who paid substantially higher prices
                   for Revlimid and Thalomid in actions and transactions occurring
                   substantially within Massachusetts.

                k. Me. Rev. Stat. Ann. 10, §§ 1102, et seq., with respect to purchases of
                   Revlimid and Thalomid in Maine.

                l. Mich. Comp. Laws Ann. §§ 445.773, et seq., with respect to purchases of
                   Revlimid and Thalomid in Michigan.

                m. Minn. Stat. §§ 325D.52, et seq., and Minn. Stat. § 8.31, et seq., with
                   respect to purchases of Revlimid and Thalomid in Minnesota.

                n. Miss. Code Ann. §§ 75-21-3, et seq., with respect to purchases of
                   Revlimid and Thalomid in Mississippi.

                o. Neb. Code Ann. §§ 59-802, et seq., with respect to purchases of Revlimid
                   and Thalomid in Nebraska.




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                 p. Nev. Rev. Stat. Ann. §§ 598A.060, et seq., with respect to purchases of
                    Revlimid and Thalomid in Nevada by Cigna, who paid substantially
                    higher prices for Revlimid and Thalomid in actions and transactions
                    occurring substantially within Nevada.

                 q. N.H. Rev. Stat. Ann. §§ 356.1, et seq., with respect to purchases of
                    Revlimid and Thalomid in New Hampshire.

                 r. N.M. Stat. Ann. §§ 57-1-2, et seq., with respect to purchases of Revlimid
                    and Thalomid in New Mexico.

                 s. N.C. Gen. Stat. §§ 75-2.1, et seq., with respect to purchases of Revlimid
                    and Thalomid in North Carolina.

                 t. N.D. Cent. Code §§ 51-08.1-03, et seq., with respect to purchases of
                    Revlimid and Thalomid in North Dakota.

                 u. Or. Rev. Stat. §§ 646.705, et seq., with respect to purchases of Revlimid
                    and Thalomid in Oregon.

                 v. 10 L.P.R.A. §§ 257, et seq., with respect to purchases of Revlimid and
                    Thalomid in Puerto Rico.

                 w. R.I. Gen. Laws §§ 6-36-1, et seq., with respect to purchases of Revlimid
                    and Thalomid in Rhode Island.

                 x.   S.D. Codified Laws §§ 37-1-3.2, et seq., with respect to purchases of
                      Revlimid and Thalomid in South Dakota.

                 y. Utah Code Ann. §§ 76-10-911, et seq., with respect to purchases of
                    Revlimid and Thalomid in Utah.

                 z. Vt. Stat. Ann. 9, §§ 2453, et seq., with respect to purchases of Revlimid
                    and Thalomid in Vermont.

                 aa. W.Va. Code §§ 47-18-4, et seq., with respect to purchases of Revlimid
                     and Thalomid in West Virginia.

                 bb. Wis. Stat. §§ 133.03, et seq., with respect to purchases of Revlimid and
                     Thalomid in Wisconsin by Cigna, in that the actions and transactions
                     alleged herein substantially affected and continue to affect the people of
                     Wisconsin, whereby Cigna paid substantially higher prices for Revlimid
                     and Thalomid at Wisconsin pharmacies.

                              FIFTH CLAIM FOR RELIEF
                        Attempted Monopolization Under State Law

       605.   Cigna incorporates by reference the preceding allegations.




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         606.    Celgene, through its anticompetitive scheme, specifically intended to maintain

  monopoly power in the relevant market. It was Celgene’s conscious objective to control prices

  and exclude competition in the relevant market.

         607.    The natural, intended, and foreseeable consequences of Celgene’s anticompetitive

  scheme was to control prices and exclude competition in the relevant market, to the extent it did

  not succeed.

         608.    There is a substantial and real chance, a reasonable likelihood, and/or a dangerous

  probability that Celgene will succeed in and achieve its goal of maintaining monopoly power in

  the relevant market.

         609.    As a direct and proximate result of Celgene’s conduct, Cigna was harmed with

  respect to its indirect purchases of Revlimid and Thalomid as aforesaid.

         610.    By engaging in the foregoing conduct, Celgene has intentionally and wrongfully

  attempted to monopolize the relevant market in violation of the following state laws:

                    a. Arizona Rev. Stat. §§ 44-1403, et seq., with respect to purchases of
                       Revlimid and Thalomid in Arizona.

                    b. Cal. Bus. & Prof. Code §§ 17200, et seq., and California common law,
                       with respect to purchases of Revlimid and Thalomid in California.

                    c. Conn. Gen. Stat. §§ 35-27 and 29, et seq., with respect to purchases of
                       Revlimid and Thalomid in Connecticut.

                    d. D.C. Code §§ 28-4503, et seq., with respect to purchases of Revlimid and
                       Thalomid in the District of Columbia.

                    e. Fla. Stat. §§ 501.201, et seq., with respect to purchases of Revlimid and
                       Thalomid in Florida.

                    f. Hawaii Code §§ 480, et seq., with respect to purchases of Revlimid and
                       Thalomid in Hawaii.

                    g. 740 Ill. Comp. Stat. 10/3, et seq., with respect to purchases of Revlimid
                       and Thalomid in Illinois.




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                h. Iowa Code §§ 553.5 et seq., with respect to purchases of Revlimid and
                   Thalomid in Iowa.

                i. Me. Rev. Stat. Ann. 10, §§ 1102, et seq., with respect to purchases of
                   Revlimid and Thalomid in Maine.

                j. Md. Code, Com. Law §§ 11-204, et seq., with respect to purchases of
                   Revlimid and Thalomid in Maryland.

                k. Mass. Gen. L. Ch. 93A, et seq., with respect to purchases of Revlimid and
                   Thalomid in Massachusetts by Cigna, who paid substantially higher prices
                   for Revlimid and Thalomid in actions and transactions occurring
                   substantially within Massachusetts.

                l. Mich. Comp. Laws Ann. §§ 445.773, et seq., with respect to purchases of
                   Revlimid and Thalomid in Michigan.

                m. Minn. Stat. §§ 325D.52, et seq., and Minn. Stat. § 8.31, et seq., with
                   respect to purchases of Revlimid and Thalomid in Minnesota.

                n. Miss. Code Ann. §§ 75-21-3, et seq., with respect to purchases of
                   Revlimid and Thalomid in Mississippi.

                o. Neb. Code Ann. §§ 59-802, et seq., with respect to purchases of Revlimid
                   and Thalomid in Nebraska.

                p. Nev. Rev. Stat. Ann. §§ 598A.060, et seq., with respect to purchases of
                   Revlimid and Thalomid in Nevada by Cigna, who paid substantially
                   higher prices for Revlimid and Thalomid in actions and transactions
                   occurring substantially within Nevada.

                q. N.H. Rev. Stat. Ann. §§ 356.1, et seq., with respect to purchases of
                   Revlimid and Thalomid in New Hampshire.

                r. N.M. Stat. Ann. §§ 57-1-2, et seq., with respect to purchases of Revlimid
                   and Thalomid in New Mexico.

                s. N.Y. Gen. Bus. Law §§ 340, et seq., with respect to purchases of Revlimid
                   and Thalomid in New York.

                t. N.C. Gen. Stat. §§ 75-2.1, et seq., with respect to purchases of Revlimid
                   and Thalomid in North Carolina.

                u. N.D. Cent. Code §§ 51-08.1-03, et seq., with respect to purchases of
                   Revlimid and Thalomid in North Dakota.

                v. Or. Rev. Stat. §§ 646.705, et seq., with respect to purchases of Revlimid
                   and Thalomid in Oregon.




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                     w. 10 L.P.R.A. §§ 257, et seq., with respect to purchases of Revlimid and
                        Thalomid in Puerto Rico.

                     x. R.I. Gen. Laws §§ 6-36-1 et seq., with respect to purchases of Revlimid
                        and Thalomid in Rhode Island.

                     y. S.D. Codified Laws §§ 37-1-3.2, et seq., with respect to purchases of
                        Revlimid and Thalomid in South Dakota.

                     z. Utah Code Ann. §§ 76-10-911, et seq., with respect to purchases of
                        Revlimid and Thalomid in Utah.

                     aa. Vt. Stat. Ann. 9, §§ 2453, et seq., with respect to purchases of Revlimid
                         and Thalomid in Vermont.

                     bb. W.Va. Code §§ 47-18-4, et seq., with respect to purchases of Revlimid
                         and Thalomid in West Virginia.

                     cc. Wis. Stat. §§ 133.03, et seq., with respect to purchases of Revlimid and
                         Thalomid in Wisconsin by Cigna, in that the actions and transactions
                         alleged herein substantially affected and continue to affect the people of
                         Wisconsin, whereby Cigna paid substantially higher prices for Revlimid
                         and Thalomid at Wisconsin pharmacies.

                                SIXTH CLAIM FOR RELIEF
                     Unfair and Deceptive Trade Practices Under State Law

         611.    Cigna incorporates by reference the preceding allegations.

         612.    Celgene engaged in unfair competition or unfair, unconscionable, deceptive or

  fraudulent acts or practices in violation of the state consumer protection statutes listed below. As

  a direct and proximate result of Celgene’s anticompetitive, deceptive, unfair, unconscionable,

  and fraudulent conduct, Cigna was deprived of the opportunity to purchase generic versions of

  Revlimid and Thalomid and forced to pay artificially inflated prices for these drugs.

         613.    There was and is a gross disparity between the price that Cigna paid and continues

  to pay for its indirect purchases of Thalomid and Revlimid, including by assignment from its

  subsidiaries, and the value received, given that a much cheaper substitute generic product should




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  be available, and prices for Revlimid and Thalomid should be much lower, but for Celgene’s

  unlawful scheme.

         614.    By engaging in the foregoing conduct, Celgene has engaged in in unfair

  competition or deceptive acts and practices in violation of the following state laws:

                     a. Ark. Code §§ 4-88-101, et seq., with respect to purchases of Revlimid and
                        Thalomid in Arkansas.

                     b. Ariz. Code §§ 44-1522, et seq., with respect to purchases of Revlimid and
                        Thalomid in Arizona.

                     c. Cal. Bus. & Prof. Code §§ 17200, et seq., with respect to purchases of
                        Revlimid and Thalomid in California.

                     d. Colo. Rev. Stat § 6-1-105, et seq., with respect to purchases of Revlimid
                        and Thalomid in Colorado.

                     e. Conn. Gen. Stat. §§ 35-26, 27 and 28, et seq., with respect to purchases of
                        Revlimid and Thalomid in Connecticut.

                     f. D.C. Code §§ 28-3901, et seq., with respect to the purchases of Revlimid
                        and Thalomid in the District of Columbia.

                     g. Fla. Stat. §§ 501.201, et seq., with respect to purchases of Revlimid and
                        Thalomid in Florida.

                     h. Idaho Code §§ 48-601, et seq., with respect to the purchases of Revlimid
                        and Thalomid in Idaho.

                     i. 815 ILCS §§ 505/1, et seq., with respect to the purchases of Revlimid and
                        Thalomid in Illinois.

                     j. Ind. Code §§ 24-5-0.5-1, et seq., with respect to the purchases of Revlimid
                        and Thalomid in Indiana.

                     k. Kan. Stat. §§ 50-623, et seq., with respect to the purchases of Revlimid
                        and Thalomid in Kansas.

                     l. La. Rev. Stat. Ann. § 51:1401, et seq., with respect to the purchases of
                        Revlimid and Thalomid in Louisiana.

                     m. 5 Me. Rev. Stat. §§ 207, et seq., with respect to the purchases of Revlimid
                        and Thalomid in Maine.




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                n. Md. Code, Com. Law §§ 11-204, et seq., with respect to purchases of
                   Revlimid and Thalomid in Maryland.

                o. Mass. Ann. Laws ch. 93A, et seq., with respect to purchases of Revlimid
                   and Thalomid in Massachusetts.

                p. Mich. Stat. §§ 445.901, et seq., with respect to purchases of Revlimid and
                   Thalomid in Michigan.

                q. Minn. Stat. § 325D.43, et. seq., Minn. Stat. §§ 325F.69, et seq., and Minn.
                   Stat. §§ 8.31, et seq., with respect to purchases of Revlimid and Thalomid
                   in Minnesota.

                r. Miss. Code. Ann. §§ 75-24-1, et seq., with respect to purchases of
                   Revlimid and Thalomid in Mississippi.

                s. Missouri Stat. §§ 407.010, et seq., with respect to purchases of Revlimid
                   and Thalomid in Missouri.

                t. Neb. Rev. Stat. §§ 59-1601, et seq., with respect to purchases of Revlimid
                   and Thalomid in Nebraska.

                u. Nev. Rev. Stat. §§ 598.0903, et seq., with respect to purchases of
                   Revlimid and Thalomid in Nevada.

                v. N.H. Rev. Stat. §§ 358-A:1, et seq., with respect to purchases of Revlimid
                   and Thalomid in New Hampshire.

                w. N.M. Stat. §§ 57-12-1, et seq., with respect to purchases of Revlimid and
                   Thalomid in New Mexico.

                x. N.Y. Gen. Bus. Law §§ 349, et seq., with respect to purchases of Revlimid
                   and Thalomid in New York.

                y. N.C. Gen. Stat. §§ 75-1.1, et seq., with respect to purchases of Revlimid
                   and Thalomid in North Carolina.

                z. N.D. Cent. Code §§ 51-15-01, et seq., with respect to purchases of
                   Revlimid and Thalomid in North Dakota.

                aa. Or. Rev. Stat. §§ 646.605, et seq., with respect to purchases of Revlimid
                    and Thalomid in Oregon.

                bb. 73 Pa. Stat. Ann. §§ 201-1, et seq., with respect to purchases of Revlimid
                    and Thalomid in Pennsylvania.

                cc. S.C. Stat. Ann. §§ 39-5-10, et seq., for purchases of Revlimid and
                    Thalomid in South Carolina.




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                    dd. S.D. Code Laws §§ 37-24-1, et seq., with respect to purchases of Revlimid
                        and Thalomid in South Dakota.

                    ee. Utah Code §§ 13-11-1, et seq., with respect to purchases of Revlimid and
                        Thalomid in Utah.

                    ff. 9 Vt. §§ 2451, et seq., with respect to purchases of Revlimid and
                        Thalomid in Vermont.

                    gg. Va. Code Ann. §§ 59.1-196, et seq., with respect to purchases of Revlimid
                        and Thalomid in Virginia.

                    hh. W.Va. Code §§ 46A-6-101, et seq., with respect to purchases of Revlimid
                        and Thalomid in West Virginia.

                    ii. Wis. Stat. § 100.18; Wis. Stat. § 100.20, et. seq., with respect to purchases
                        of Revlimid and Thalomid in Wisconsin.

                    jj. Wyo. Stat. Ann. §§ 40-12-101, et seq., with respect to purchases of
                        Revlimid and Thalomid in Wyoming.

                                SEVENTH CLAIM FOR RELIEF
                               Unjust Enrichment Under State Law

         615.    Cigna incorporates by reference the preceding allegations.

         616.    Celgene has benefitted from monopoly profits on the sale of Revlimid and

  Thalomid resulting from the unlawful and inequitable acts alleged in this Complaint.

         617.    Celgene’s financial benefit resulting from its unlawful and inequitable acts is

  traceable to overpayments for indirect purchases of Revlimid and Thalomid by Cigna.

         618.    Cigna has conferred upon Celgene an economic benefit, profits from unlawful

  overcharges and monopoly profits, to the economic detriment of Cigna.

         619.    It would be futile for Cigna to seek a remedy from any party with whom they

  have privity of contract for its indirect purchases of Thalomid and Revlimid.

         620.    It would be futile for Cigna to seek to exhaust any remedy against the immediate

  intermediary in the chain of distribution from which it indirectly purchased Thalomid and




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  Revlimid, as they are not liable and would not compensate Cigna for unlawful conduct caused by

  Celgene.

         621.    The economic benefit of overcharges and monopoly profits derived by Celgene

  through charging supracompetitive and artificially inflated prices for Revlimid and Thalomid is a

  direct and proximate result of Celgene’s unlawful conduct.

         622.    The economic benefit of overcharges and monopoly profits derived by Celgene

  through charging supracompetitive and artificially inflated prices for Revlimid and Thalomid is a

  direct and proximate result of Celgene’s unlawful conduct.

         623.    It would be inequitable under unjust enrichment principles under the law of the

  District of Columbia and the laws of all states and territories in the United States, except Ohio

  and Indiana, for Celgene to be permitted to retain any of the overcharges for Revlimid and

  Thalomid derived from Celgene’s unfair and unconscionable methods, acts, and trade practices

  alleged in this Complaint.

         624.    Celgene is aware of and appreciates the benefits bestowed upon it by Cigna.

         625.    Celgene should be compelled to disgorge in a common fund for the benefit of

  Cigna all unlawful or inequitable proceeds it received.

         626.    A constructive trust should be imposed upon all unlawful or inequitable sums

  received by Celgene traceable to Cigna.

                              EIGHTH CLAIM FOR RELIEF
      Declaratory and Injunctive Relief Under Section 16 of the Clayton Act for Celgene’s
                      Violations of Sections 1 and 2 of the Sherman Act

         627.    Cigna incorporates by reference the preceding allegations.

         628.    Celgene knowingly, intentionally, and cooperatively engaged in an

  anticompetitive scheme designed to delay and block entry of AB-rated generic equivalents of

  Thalomid and Revlimid. Celgene injured Cigna through this conduct.



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         629.    Had manufacturers of generic Revlimid and generic Thalomid entered the market

  and lawfully competed with Celgene, Cigna would have substituted lower-priced generic

  Revlimid and generic Thalomid for the higher-priced brand-name drugs for most of their

  purchases.

         630.    Cigna has suffered harm and will continue to suffer harm in the future as a result

  of paying higher prices for Revlimid and Thalomid than it would have absent Celgene’s

  continuing anticompetitive conduct.

         631.    Cigna’s allegations described hereincomprise violations of Sections 1 and 2 of the

  Sherman Act, as well as state laws.

         632.    Cigna has overpaid for substantial amounts of Revlimid and Thalomid between at

  least 2010 and the present.

         633.    Cigna seeks a declaratory judgment under Federal Rule of Civil Procedure 57 and

  28 U.S.C. § 2201(a) ruling that Celgene’s conduct violates Sections 1 and 2 of the Sherman Act.

         634.    Cigna also seeks equitable and injunctive relief pursuant to Section 16 of the

  Clayton Act, 15 U.S.C. § 26, and other applicable law, to correct for the anticompetitive market

  effects caused by Celgene’s unlawful conduct and other relief to assure that similar

  anticompetitive conduct does not recur.

         635.    Cigna has no adequate alternative form of relief in the United States for its

  overpayment for Revlimid and Thalomid purchased indirectly in the states that do not provide

  damages remedies to indirect purchasers injured by Celgene’s anticompetitive agreement.

                                XIV. DEMAND FOR JUDGMENT

  WHEREFORE, Cigna demands judgment against Celgene, as follows:




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          636.    Awarding Cigna actual, consequential, compensatory, treble, punitive, and/or

  other damages, in an amount to be proven at trial, including pre- and post- judgment interest at

  the statutory rates;

          637.    Awarding Cigna equitable relief in the nature of disgorgement, restitution, and the

  creation of a constructive trust to remedy Celgene’s unjust enrichment;

          638.    Permanently enjoining Celgene pursuant to Sections 4 and 16 of the Clayton Act,

  15 U.S.C. §§ 15 (a) and 26, from continuing its unlawful conduct;

          639.    Declaring the acts alleged herein to be unlawful under the state statutes set forth

  above, and the common law of unjust enrichment of the states and territories set forth above;

          640.    Awarding Cigna its reasonable costs and expenses, including attorneys’ fees; and

          641.    Awarding all other legal or equitable relief as the Court deems just and proper.

                                       XV.     JURY DEMAND

          Cigna demands a jury trial on all claims so triable under Federal Rule of Civil Procedure

  Rule 38(b).



   Dated: May 27, 2022                                Respectfully submitted:


                                                      By:




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                                   CERTIFICATE OF SERVICE

         I, Peter D. St. Phillip, Jr., certify that, on this date, the foregoing document was filed

  electronically via the Court’s CM/ECF system, which will send notice of the filing to all counsel

  of record, and parties may access the filing through the Court’s system.


  Dated: May 27, 2022                                            /s/Peter D. St. Phillip, Jr.
                                                                 Peter D. St. Phillip, Jr.




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